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      1               IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
      2                         EASTERN DIVISION
      3    IN RE NATIONAL PRESCRIPTION |     MDL No. 2804
                                         |
      4    OPIATE LITIGATION             |   Case No. 17-MD-2804
                                         |
      5    This Document Relates to:     |   Judge Dan Aaron Polster
                                         |
      6    The County of Summit, Ohio, |
           et al., v.                    |
      7    Purdue Pharma L.P., et al.    |
           Case No. 17-op-45004          |
      8                                  |
           The County of Cuyahoga v.     |
      9    Purdue Pharma L.P., et al.    |
           Case No. 18-op-45090          |
     10                                  |
           City of Cleveland, Ohio v.    |
     11    Purdue Pharma L.P., et al.    |
           Case No. 18-op-45132          |
     12                                  |
     13
                            Thursday, January 10, 2019
     14
                                          - - -
     15
                     HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
     16
                                CONFIDENTIALITY REVIEW
     17
                                          - - -
     18
                     Videotaped deposition of SABRINA SOLIS, held
     19         at Foley & Lardner LLP, One Biscayne Tower,
                2 Biscayne Boulevard, Suite 1900, Miami, Florida,
     20         commencing at 10:27 a.m., on the above date,
                before Susan D. Wasilewski, Registered
     21         Professional Reporter, Certified Realtime
                Reporter, Certified Realtime Captioner.
     22
                                          - - -
     23
                            GOLKOW LITIGATION SERVICES
     24                877.370.3377 ph | 917.591.5672 fax
                                 deps@golkow.com
     25

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      1     ALSO PRESENT:

      2         ANTHONY BARBARO, Videographer

      3         MICHAEL PIGGINS, Weitz & Luxenberg

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     16                      Anda_Opioids_MDL_0000453833
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     11                      Anda_Opioids_MDL_0000850138 and
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      1                            E X H I B I T S

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      1                                 - - -

      2               THE VIDEOGRAPHER:      We are now on the record.

      3         My name is Anthony Barbaro.        I am a videographer

      4         for Golkow Litigation Services.         Today's date is

      5         January 10th, 2019, and the time is 10:27 a.m.

      6               This video deposition is being held today in

      7         Miami, Florida, In Re:       The National Opiate

      8         Prescription Litigation, MDL Number 2804, for the

      9         United States District Court, Northern District

     10         of Ohio, Eastern Division.

     11               The deponent is Sabrina Solis.

     12               Counsel, would you please introduce

     13         yourselves for the video record?

     14               MS. ELLIS:     Yes.   This is Tiffany Ellis,

     15         Michael Piggins, and Paul Novak of Weitz &

     16         Luxenberg on behalf of the MDL plaintiffs.

     17               MS. KOSKI:     Katy Koski, Foley & Lardner in

     18         Boston, on behalf of Anda, Inc., and the witness.

     19               MS. CARDENAS:     Cristina Cardenas from Reed

     20         Smith on behalf of AmerisourceBergen.

     21               MR. ALLEGAERT:      Christopher Allegaert,

     22         Allegeart Berger & Vogel, on behalf of Rochester

     23         Drug Co-Op.

     24               MS. ELLIS:     I think we have some people on

     25         the phone.    Could they introduce themselves?

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      1                MR. HENNESSY:     Good morning.     This is Sean

      2         Hennessy from Arnold & Porter here today on

      3         behalf of the Endo and Par Pharmaceutical

      4         defendants.

      5                MR. BARRIENTOS:     Hello.    This is Alejandro

      6         Barrientos from Covington & Burling for McKesson.

      7                MR. HUNTER:    This is Tucker Hunter from

      8         Kirkland & Ellis on behalf of Allergan Finance,

      9         LLC.

     10                MS. McDONALD:     Hello.   This is Sofia

     11         McDonald at Ropes & Gray on behalf of

     12         Mallinckrodt.

     13                MR. HODGES:    This is Nick Hodges with Jones

     14         Day for Walmart.

     15                THE VIDEOGRAPHER:      The court reporter is

     16         Susan Wasilewski and she will now swear in the

     17         witness.

     18                THE COURT REPORTER:      Would you raise your

     19         right hand?

     20                Do you solemnly swear or affirm the

     21         testimony you're about to give will be the truth,

     22         the whole truth, and nothing but the truth?

     23                THE WITNESS:    Yes.

     24                THE COURT REPORTER:      Thank you.

     25                SABRINA SOLIS, called as a witness by the

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      1     Plaintiffs, having been duly sworn, testified as

      2     follows:

      3                          DIRECT EXAMINATION

      4     BY MS. ELLIS:

      5         Q.    Good morning, Ms. Solis.        May I call you

      6     Sabrina?

      7         A.    Sure.

      8         Q.    Will you please introduce yourself for the

      9     record, please?

     10         A.    I'm Sabrina Solis.

     11         Q.    What is your address?




     14         Q.    And what do you do for a living?

     15         A.    I'm the current manager for DEA compliance

     16     at Anda, Inc.

     17         Q.    How long have you had that position?

     18         A.    I've had this current role for about

     19     14 months.

     20               MR. ALLEGAERT:      Could I just ask the witness

     21         to try to keep your voice up a little bit?            There

     22         is a noise coming off this machine, and we've got

     23         a whole bunch of counsel who are on the phone.

     24         Thank you.

     25               MS. ELLIS:     That brings up a good time to go

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      1         over some ground rules.

      2     BY MS. ELLIS:

      3         Q.    Have you ever had your deposition taken

      4     before?

      5         A.    No.

      6         Q.    So to make it easier for the court reporter,

      7     we'll just go over a few things.

      8               When I ask you questions, just try to wait

      9     until I finish my question before you begin to

     10     answer.    Even if you think you know the answer, just

     11     wait so we don't talk over each other.            Okay?

     12         A.    Okay.

     13         Q.    And then please use "yes" or "no" answers so

     14     that she can record it.        It's being recorded both by

     15     video and audio today, so that the record can pick

     16     it up.    Okay?

     17         A.    Uh-huh.    Yes.

     18               MS. KOSKI:     She means no head nods and "ums"

     19         or "ahs."

     20               THE WITNESS:      Right.

     21         Q.    So if I -- if we sometimes find ourselves

     22     doing that anyway, I may remind you from time to

     23     time.    I'm not trying to be rude.        Okay?

     24         A.    Okay.

     25         Q.    And similarly, I may ask you sometimes a

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      1     question that leads you into different directions in

      2     your answers.      I want to ensure that I still get the

      3     answer to my original question, so if I direct you

      4     back, I'm not trying to be rude.          We'll come back to

      5     what you're saying.        I know you enjoy your job and

      6     you think it's important.         I want to make sure you

      7     have a chance to say everything that you want, but

      8     just don't think I'm being rude if I try to, you

      9     know, get you back to the original question.             Okay?

     10         A.    Okay.

     11         Q.    And then one last point:        At -- from time to

     12     time your attorney may object, and unless she tells

     13     you not to answer, you should go ahead and answer

     14     the question.      Okay?

     15         A.    Okay.

     16         Q.    Do you ever work remotely?

     17         A.    Yes.

     18         Q.    You do?

     19         A.    Yes.

     20         Q.    Do you have a laptop that you work from?

     21         A.    Yes, I do.

     22         Q.    Where is your primary office?

     23         A.    In Weston.

     24               (Anda - Solis Exhibit 1 was marked for

     25     identification.)

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      1     BY MS. ELLIS:

      2         Q.    I'm going to show you what's been marked as

      3     Exhibit 1.      Have you seen this before?

      4         A.    No, I have not.

      5         Q.    This is your notice of deposition for this

      6     case.    You have not seen it?

      7         A.    I have not seen this.

      8               MS. ELLIS:     We'll just enter in the record

      9         that it's to be used for all applicable purposes

     10         under the appropriate pretrial and case

     11         management orders in the proceedings.

     12     BY MS. ELLIS:

     13         Q.    Did you do anything to prepare for today's

     14     deposition?

     15         A.    We had a conversation yesterday.

     16         Q.    When you say "we," who is that?

     17         A.    Attorney, client.

     18         Q.    Your attorney, Katy, sitting next to you?

     19         A.    Yes.

     20         Q.    Was anybody else involved in that

     21     conversation?

     22         A.    No.

     23         Q.    How long did it last?

     24         A.    A couple of hours.

     25         Q.    Did you review any documents?

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      1         A.    There were some e-mails.

      2         Q.    Do you remember what they were?

      3               MS. KOSKI:     Objection.

      4         Q.    You do?    You can answer.

      5               MS. KOSKI:     I'm sorry.

      6               THE WITNESS:     Yeah.

      7               MS. KOSKI:     Unless I tell you not to

      8         answer --

      9               THE WITNESS:     Okay.

     10               MS. KOSKI:     -- you can answer, yeah.

     11         A.    Yes, some of them I do.

     12         Q.    Anything other than e-mails?

     13         A.    Nothing other than e-mails.

     14         Q.    Did you do any independent research besides

     15     your meeting with your attorney to prepare for

     16     today's deposition?

     17         A.    I did not do research.

     18         Q.    You said you've been in your position now

     19     for about 12 months; is that right?

     20         A.    Yeah, about.

     21         Q.    What is your job responsibility?

     22         A.    I oversee a team of, you know, analysts,

     23     what I would call analysts, who review the current

     24     consumer base that is either requesting access to

     25     controlled substance eligibility or we are currently

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      1     servicing.

      2         Q.    When you say "we," you mean Anda?

      3         A.    Anda.

      4         Q.    How many people are on your team?

      5         A.    Right now, there are -- there's five of us,

      6     including myself.

      7         Q.    Are the other four all analysts?

      8         A.    They have a variety of different titles.            So

      9     one of them is considered an auditor, and there's

     10     two specialists.      The other is a clerk 3.

     11         Q.    I'll ask you about what those mean in a

     12     moment, but in general, can you tell me, what is the

     13     role of the compliance department at Anda?

     14         A.    The role of the compliance department is to

     15     ensure compliance, to adhere to what is regulated,

     16     and to ensure that we're doing what we need to do to

     17     operate.

     18         Q.    Anything else?

     19         A.    I think that sums it up.

     20         Q.    And who do you report to?

     21         A.    Jay Spellman.

     22         Q.    How long -- have you reported to Jay

     23     Spellman the entire time you've been in that role?

     24         A.    Yes.

     25         Q.    So you said the role of the compliance

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      1     department is to ensure compliance, adhere to what

      2     is regulated, and to do what you need to do to

      3     operate; is that right?

      4         A.    Yes.

      5         Q.    Okay.    So let's go through those one by one.

      6     When you say "ensure compliance," what do you mean?

      7         A.    Meaning that in order to be licensed and

      8     operate, there are certain statutes or laws that you

      9     have to adhere to, to ensure compliance.

     10         Q.    Compliance with those laws, right?

     11         A.    With those laws.

     12         Q.    Are those both federal and state?

     13         A.    Yes, they are.

     14         Q.    Are there any locals, local laws?

     15               MS. KOSKI:     Object to form.

     16               You can answer.

     17         A.    I focus on the state and federal.

     18         Q.    The next thing you said was to adhere to

     19     what is regulated.       That ties into what you just

     20     said, to ensure compliance, right?

     21         A.    Yes.

     22         Q.    Is there anything else that you to do to

     23     adhere to what is regulated in the compliance

     24     department?

     25               MS. KOSKI:     Object to form.

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      1         A.    I'd like to understand the question better.

      2         Q.    Well, I'm just trying to use your words to

      3     understand what the compliance department does.              And

      4     we'll break this down, I guess, into some specific

      5     tasks, but I guess generally speaking right now, I

      6     want to understand what you mean.

      7         A.    Generally speaking, I mean, our job to

      8     operate is to understand what is required to

      9     operate.     So each day we try to maintain and do what

     10     is required for us to operate.

     11         Q.    So what is required for you to operate?

     12         A.    I like to think of it as who licenses you,

     13     whether it's state or federal.          They set certain

     14     requirements, and in order for us to engage in the

     15     type of business that we do, we adhere to those

     16     requirements.

     17         Q.    If I were to ask you what those requirements

     18     are, sitting here today, could you tell me them?

     19         A.    I could round and about tell you, but it

     20     would be specific to what you're looking for.

     21         Q.    Well, let's just start with roundabout.

     22     What are the requirements that you, as a compliance

     23     department and the leader of the compliance

     24     department, need to adhere to ensure that Anda can

     25     operate?

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      1               MS. KOSKI:     Object to form.

      2         A.    I think we need to be familiar with the

      3     customers that either seek to do business with us or

      4     we have approved to do business with.           In addition,

      5     we need to be mindful of who we're selling to after

      6     our review of them.

      7         Q.    Anything else?

      8         A.    That's the round and about.

      9               MR. HENNESSY:      I apologize, I don't mean to

     10         interrupt.     I'm having a hard time hearing on the

     11         phone.

     12         Q.    I'll just ask you to try to keep your voice

     13     up.

     14         A.    Okay.

     15               MS. ELLIS:     And I'll try to do the same for

     16         those on the phone.       Please let us know if it

     17         dies down at any point.

     18               THE COURT REPORTER:        Can I ask who that was?

     19         This is the court reporter.

     20               MR. HENNESSY:      Sure.    This is Sean Hennessy,

     21         and again, I apologize for interrupting.

     22                    (Discussion off the record.)

     23               MS. ELLIS:     Could we go off the record for a

     24         second?

     25               THE VIDEOGRAPHER:       Off the record at 10:38.

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      1              (Recess from 10:38 a.m. until 10:40 a.m.)

      2                THE VIDEOGRAPHER:      We're now back on the

      3         video record at 10:40 a.m.

      4     BY MS. ELLIS:

      5         Q.     Before we took a break, you said you -- in

      6     order to adhere to regulations, your role in the

      7     compliance department was to be familiar with

      8     customers who seek to do business with Anda or have

      9     been approved to do business with Anda, correct?

     10         A.     Correct.

     11         Q.     And also be mindful of who Anda is selling

     12     to after the review of those customers, right?

     13         A.     Correct.

     14         Q.     Anything else?

     15         A.     That's the round and about.

     16         Q.     And what is your understanding of what

     17     requires you to do those things?

     18         A.     My understanding is the different laws or

     19     regulations.

     20         Q.     Do you know what those laws or regulations

     21     are?

     22                MS. KOSKI:    Object to form.

     23         A.     I would need you to be more specific because

     24     there are so many.

     25         Q.     Are there ones that you think are more

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      1     important than others?

      2               MS. KOSKI:     Object to form.

      3         A.    There are not.

      4         Q.    Are there laws and regulations specific to

      5     the -- specific to controlled substances that you're

      6     aware of?

      7         A.    Yes.

      8         Q.    What are those?

      9         A.    For example, understanding who you do

     10     business with, and understanding meaning

     11     understanding based on your review of the customer,

     12     being knowledgeable of what you are selling to them.

     13         Q.    Anything else?

     14         A.    That's the majority of what we're doing.

     15         Q.    Are you familiar with the term due

     16     diligence?

     17         A.    Yes.

     18         Q.    What does that mean to you?

     19         A.    To me, it means an overall review of the

     20     customer and what we collect in order to feel that

     21     we understand our customer well enough to engage in

     22     business with them.

     23         Q.    Are you familiar with the term "know your

     24     customer"?

     25         A.    I'm familiar.

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      1         Q.    What does that mean to you?

      2         A.    I believe that that means that we have to

      3     collect enough information to feel that we know our

      4     customer, who they are, what their business looks

      5     like, what they want from Anda, and ultimately where

      6     the product is going.

      7         Q.    So you said know your customer, who they

      8     are, what their business looks like, what they want,

      9     and where the product is going.          Anything else?

     10               MS. KOSKI:     Object to form.

     11         A.    That's a good summary.

     12         Q.    Is there any other information that you

     13     would include on that list of "know your customer"?

     14               MS. KOSKI:     Object to form.

     15         A.    I'm -- please elaborate.        Like, what we

     16     review or --

     17         Q.    We'll talk about what you review --

     18         A.    Okay.

     19         Q.    -- specifically, but generally those things.

     20         A.    Generally, yes.

     21         Q.    If I were to say the term "public health,"

     22     what does that mean to you?

     23         A.    The overall good.

     24         Q.    What about safety?

     25         A.    Overall safety.

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      1         Q.    For who?

      2         A.    Public.

      3         Q.    Are you familiar with the name Rannazzisi

      4         A.    I've heard the name.

      5         Q.    In what context?

      6         A.    I've just heard the name.

      7         Q.    Who have you heard it from?

      8         A.    I don't know who I've heard it from.           I've

      9     heard the name, so I'm unfamiliar with the person.

     10         Q.    Would you agree that part of the role of

     11     Anda's compliance department is to ensure that the

     12     company is abiding by federal and state rules?

     13               MS. KOSKI:     Object to form.      Are you asking

     14         her opinion?

     15               MR. NOVAK:     I asked if she would agree with

     16         that statement.

     17         A.    I would agree that you attempt to do that at

     18     all times.

     19         Q.    Would you agree that that's important?

     20         A.    Of course.

     21         Q.    Why?

     22               MS. KOSKI:     Object to form.      Are you asking

     23         her opinion about why it's important to follow

     24         laws?    How is -- how is that within the scope of

     25         a deposition, given the special master's orders

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      1         about the law?

      2               MS. ELLIS:     She is the manager of

      3         compliance.     I'm asking her understanding of what

      4         the role of the compliance department is.

      5               MS. KOSKI:     That's not what you asked her.

      6         You asked her her opinion about why someone

      7         follows the law.      That's -- that's -- Special

      8         Master Cohen's order is to not ask people's

      9         opinions about the law, what it means.           I think

     10         you're -- you've run afoul of that order.

     11               If you want to ask her what you said in

     12         response to me, her understanding of what the

     13         role of the compliance department is, that's a

     14         different question.

     15               MS. ELLIS:     Okay.    I'll move on.

     16     BY MS. ELLIS:

     17         Q.    Would you agree that recordkeeping is

     18     important in the -- in the compliance department of

     19     Anda?

     20         A.    Yes.

     21         Q.    Why?

     22         A.    Because it reflects the different records

     23     that come into the department.

     24         Q.    Why does that matter?

     25         A.    Because you're keeping them to show that you

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      1     have taken in those records.

      2         Q.    Would you agree that consistency in that

      3     process is important?

      4               MS. KOSKI:     Object to form.

      5         A.    It should be important.

      6         Q.    Why?

      7         A.    Because being consistent, I believe, is

      8     always good.

      9         Q.    Why?

     10         A.    Because you're wanting to do the right

     11     thing.

     12         Q.    What does that mean?

     13         A.    So I'm not really --

     14               MS. KOSKI:     Object to form.

     15         A.    -- following the "why," actually.

     16         Q.    Well, I'm just following up on what you

     17     said.    You want to do the right thing.          What does

     18     that mean to you?

     19         A.    Consistency.

     20               MS. KOSKI:     Object to form -- excuse me for

     21         a second.

     22               Object to form.      You're asking in general,

     23         in the universe, what's --

     24               MS. ELLIS:     I'm asking --

     25               MS. KOSKI:     -- the right thing?

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      1               MS. ELLIS:     -- for clarification on what she

      2         just testified to.

      3               MS. KOSKI:     You can answer if you understand

      4         the question.

      5     BY MS. ELLIS:

      6         Q.    You just testified a moment ago that

      7     consistency is important because you want to do the

      8     right thing.      Is that right?

      9               MS. KOSKI:     You're talking about a

     10         consistency in recordkeeping --

     11               MS. ELLIS:     Yes.

     12               MS. KOSKI:     -- specifically?

     13               You can answer that question.

     14         A.    Correct.

     15         Q.    And why is that important?

     16         A.    Because recordkeeping is important to a

     17     compliance department.

     18         Q.    To ensure that federal rules are followed?

     19               MS. KOSKI:     Object to form.

     20         A.    Not necessarily.      It's in order to show that

     21     you are collecting documents and doing appropriate

     22     due diligence to the customer base that you're

     23     reviewing.

     24         Q.    As manager of DEA compliance, are you in

     25     charge of that process for Anda?

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      1         A.    I am in charge of the review of customers

      2     for controlled substances at this point in time.

      3         Q.    When you say "this point in time," what do

      4     you mean?

      5         A.    Because I've been in this role specifically

      6     since December of last year.

      7         Q.    So since December of last year, you've been

      8     in charge of that process?

      9         A.    Correct.

     10               MS. KOSKI:     I don't know that it matters,

     11         but I think by last year, she means 2017, not

     12         2018.

     13         A.    I'm sorry.     2017.

     14         Q.    Thank you for that clarification.

     15               (Anda - Solis Exhibit 2 was marked for

     16     identification.)

     17     BY MS. ELLIS:

     18         Q.    I'm handing you Exhibit 2.         I apologize,

     19     these came from you.       Do you recognize this?        This

     20     is a résumé that came from your personnel file.

     21         A.    This is very old.

     22         Q.    It's marked Anda Solis Personnel 019.

     23         A.    Yeah.    This is maybe nine or ten years old.

     24               (Anda - Solis Exhibit 3 was marked for

     25     identification.)

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      1     BY MS. ELLIS:

      2         Q.    I'll go ahead and hand you Exhibit 3 as

      3     well.    Is this a more recent copy of your résumé

      4     from your personnel file?

      5         A.    I would say that this is maybe eight years

      6     old.

      7         Q.    So let's focus on Exhibit 2 first.          You said

      8     this one is nine to ten years old?

      9         A.    Correct.

     10         Q.    Do you remember preparing this?

     11         A.    I didn't even know it existed to this point.

     12         Q.    Are you familiar with the information that's

     13     on it?    And I'll just say, I'm not trying to trick

     14     you with any of these questions.

     15         A.    Yes.

     16         Q.    These were in the materials that were

     17     provided to us by Anda as part of your personnel

     18     file.

     19         A.    Yes, I'm familiar, but I just haven't seen

     20     them in many years.       So I wanted to review it.

     21         Q.    Have you had a chance to look it over?

     22         A.    Yes.

     23         Q.    At this point, it looks like you had been

     24     working as a pricing assistant for Anda; is that

     25     right?

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      1         A.    Correct.

      2         Q.    When did you first start working for Anda?

      3         A.    2003.

      4         Q.    And what did you do in that -- or what did

      5     you do when you first began your employment with

      6     Anda?

      7         A.    I worked in the pricing department.

      8         Q.    Doing what?

      9         A.    I did a bunch of different things.          I had a

     10     miscellaneous sort of a role.         So I pretty much

     11     assisted the people who were making the decisions on

     12     pricing within the company, and I played more of an

     13     analytical role in providing materials to them to

     14     assign pricing.

     15         Q.    You did that from 2003 until 2008?

     16         A.    Yes.

     17         Q.    At that point, had you received any training

     18     to fulfill those responsibilities?

     19               MS. KOSKI:     Object to form.

     20         A.    Training to be in the pricing department?

     21         Q.    Yes.

     22         A.    I'm not following, like, the exact question.

     23     So once I was in the role, did I receive training

     24     once I was there?

     25         Q.    Yes.

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      1         A.    Yes.

      2         Q.    What sort of training did you receive?

      3         A.    Training on the job requirements and what I

      4     needed to do to fulfill those requirements.

      5         Q.    Had you had any formal education?          Did you

      6     go to college before that?

      7         A.    I had gone to college two years or so.

      8         Q.    What did you study?

      9         A.    At one point -- at that point in time, I had

     10     studied journalism.

     11         Q.    Did you have a degree then?

     12         A.    I was working on that.

     13         Q.    Do you have a degree now?

     14         A.    Yes.

     15         Q.    When did you get your degree?

     16         A.    2014.

     17         Q.    And what is it in?

     18         A.    It's -- the major is called University

     19     Without Walls, and it's a concentration on business

     20     studies.

     21         Q.    And where is that from?

     22         A.    University of Massachusetts Amherst.

     23         Q.    And that's a degree you did online?

     24         A.    I completed it online.

     25         Q.    So when you started working for the pricing

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      1     department, you were still in school, correct?

      2         A.    I was not in school at the time, but I had

      3     already gone to college for over two years.

      4         Q.    Did you know anybody at Anda when you

      5     started working for the company?

      6         A.    Yes.

      7         Q.    Who?

      8         A.    I had an acquaintance where I worked at that

      9     time, and I had family.

     10         Q.    Who was it?     Who in your family?

     11         A.    A parent.

     12         Q.    Mom?    Dad?

     13         A.    Yes, uh-huh.

     14         Q.    Which one?

     15         A.    My mother.

     16         Q.    What did she do?

     17         A.    She was an assistant in the finance area.

     18         Q.    Do you know who she was an assistant to?

     19         A.    Brian Witte.

     20         Q.    Is your mom still in that role?

     21         A.    No, she's not.

     22         Q.    Did she retire or left the company?

     23         A.    She left the company.

     24         Q.    When did she leave the company?

     25         A.    I don't recall.      I think it was in 2016.

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      1         Q.    Was she a -- do you know if she was an

      2     assistant for Brian Witte the whole time that she

      3     was there?

      4         A.    Yes.    But she also worked with different

      5     people, but primarily, she reported to Brian Witte.

      6         Q.    Did you know anybody else at the company?

      7         A.    I just knew one person that was with the

      8     company only one year, so --

      9         Q.    You said that was an acquaintance?

     10         A.    Yes.

     11         Q.    And what did that person do?

     12         A.    They were an assistant, and I don't even

     13     recall who they were reporting to at the time.

     14         Q.    Angela Boucher; is that right?

     15         A.    Yes.

     16         Q.    Is that your sister?

     17         A.    Yes.

     18         Q.    Did she work for the company?

     19         A.    Yes.

     20         Q.    What did she do?

     21         A.    She had a variety of different roles.           She

     22     worked for -- I believe it was the accounts

     23     receivable department, and then she transitioned to

     24     more of the contracts area.

     25         Q.    Does she still work for the company?

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      1         A.    No, she does not.

      2         Q.    Let's go back to Exhibit 2 for a moment.            As

      3     a pricing assistant from 2003 to 2008, you list a

      4     number of things that you did in that role; is that

      5     right?

      6         A.    Yes.

      7         Q.    You said you direct -- you were a direct

      8     contact for major brand manufacturer regarding

      9     contract price changes, new products, and new

     10     customer eligibility for direct -- on direct

     11     pricing.

     12         A.    Correct.

     13         Q.    What brand manufacturer was that?

     14         A.    At that time, it was GlaxoSmithKline.

     15         Q.    Were there certain products that you were

     16     responsible for?

     17         A.    I do not remember right now.         It was more of

     18     understanding which customers were approved for

     19     those products with GlaxoSmithKline.

     20         Q.    Do you recall if any of those products were

     21     controlled substances?

     22         A.    I do not recall.

     23         Q.    You also say that you were responsible for

     24     maintenance of the eligibility matrix on the

     25     customer, and then the item level to avoid negative

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      1     margins.

      2               What does that mean?

      3         A.    So manufacturers determine which customers

      4     they will or will not provide back-end discounts to,

      5     charge-backs, rebates, PMs.

      6               So for example, if a customer lives in

      7     Puerto Rico, and the manufacturer has determined

      8     they will not give anything on the back end to a

      9     customer in Puerto Rico, if we were to allow at that

     10     time a person to get a certain price assuming you

     11     would be receiving something in the back end, it

     12     would turn into a negative margin.           So you would

     13     have to make sure that that customer is not eligible

     14     for that product.

     15         Q.    What is the eligibility matrix?          Is that a

     16     document or a database?

     17         A.    It's a -- it's a system that's maintained in

     18     another department at Anda where a customer is or is

     19     not eligible based on outside factors, apart from

     20     compliance, that have to do with the vendor

     21     relationship and customer types.

     22         Q.    So when you say "another department," you

     23     mean outside of compliance?

     24         A.    Yes.

     25         Q.    Yes?

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      1         A.    Yeah.    It's maintained by, I believe,

      2     database management or customer maintenance.

      3         Q.    You then say:      Submitted ISR requested to

      4     the IS department for all system requests and

      5     enhancements.

      6               What does that mean?

      7         A.    At that time, I would work with new

      8     employees to get them set up.         And if we needed to

      9     enhance something within the department, I would

     10     work with IT, at that time with management

     11     direction, to do whatever they wanted done.

     12         Q.    What is ISR?

     13         A.    That is an internal form that at that

     14     time -- again, we're talking about now 11 years ago.

     15     That was what we would do to request a change to the

     16     system for an employee or our internal database.

     17         Q.    What you say "system," what do you mean?

     18         A.    System meaning e-mail or TPS specifically.

     19         Q.    Any other systems?

     20         A.    It's been so long.       I think those are the

     21     two that we focused on.

     22         Q.    Earlier in that list, you say:          Design TPS

     23     enhancements which created a one-stop location to

     24     review a customer's profile and pricing structure,

     25     product cost, retail price, and profit margin.

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      1               Did you work with TPS the entire time you

      2     were in the contracts and pricing department?

      3               MS. KOSKI:     Object to form.

      4         A.    TPS is just the computer system.          I do not

      5     know what that statement means at this time.

      6         Q.    Okay.    Well, let's break it down.        TPS is

      7     the computer system.       What computer system?

      8         A.    That's the internal database for Anda's

      9     customers and items, products sold.

     10         Q.    Do you know what TPS stands for?

     11         A.    I don't know.

     12         Q.    Do you remember when you first started

     13     working with TPS?

     14         A.    Yes, when I started working at Anda.

     15         Q.    Do you recall ever being trained in TPS?

     16         A.    When I took the job with Anda, we were

     17     trained in TPS.

     18         Q.    Who trained you?

     19         A.    At the time, probably my manager.

     20         Q.    What did -- what were you trained to do in

     21     TPS?

     22         A.    I'd have to think about the department

     23     specifically.      We were looking at items, customers,

     24     pricing contracts that they were eligible for, that

     25     sort of thing.

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      1         Q.    Were you given a user manual or anything

      2     like that?

      3         A.    No.

      4         Q.    Throughout today's deposition, I'm going to

      5     try to be as specific as possible on our time

      6     frames.    I'm not trying to confuse you --

      7         A.    Uh-huh.

      8         Q.    -- but we'll -- when I ask you questions,

      9     we'll try to keep it isolated to that job what we're

     10     talking about, and then we'll catch up to what you

     11     do now.

     12         A.    Uh-huh.

     13         Q.    Okay?

     14         A.    Uh-huh.

     15         Q.    So you say "design TPS enhancements."           I

     16     understand that you don't recall the full meaning of

     17     what you say in this statement.          But do you know

     18     what you would have meant when you said "design TPS

     19     enhancements"?

     20         A.    I do not recall.

     21         Q.    Are you a computer programmer?

     22         A.    My function usually was if something could

     23     be enhanced so that it was more system friendly for

     24     what we did day-to-day, I would request a change to

     25     make it more user friendly for what we did.

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      1         Q.    So day-to-day, in the pricing and contracts

      2     department, what did you use TPS for?

      3         A.    TPS is the heart of all of Anda's internal

      4     items carried and customers carried, so we used TPS

      5     for whatever it was we were working on.

      6         Q.    Would it include information about

      7     customers, like their biographical or geographical

      8     location?

      9         A.    At that time, I don't believe the focus was

     10     customers.     In that department, it's the items

     11     you're selling.

     12         Q.    So it would include information both on

     13     product as well as customers?

     14         A.    I don't believe we were dealing with

     15     customers at that time, other than the fact that a

     16     customer may or may not be eligible for a certain

     17     pricing contract.       But other than that, we didn't

     18     get into anything that had to do with the customer's

     19     profile.

     20         Q.    Higher on Exhibit 2, in the areas of

     21     strengths, you say:       Ability to assimilate large

     22     amounts of data and to prioritize into cohesive and

     23     actionable recommendations.

     24               What do you mean by that?

     25         A.    So the product catalog at Anda -- and I

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      1     don't recall how many were at that time.            We could

      2     say thousands of items.        You would have to have the

      3     ability to analyze whatever it was that I was

      4     getting a direction to analyze, talking about a

      5     large volume of products.

      6         Q.    Do you have any formal training in data

      7     processing?

      8         A.    What does data processing mean?

      9         Q.    Well, what does it mean to you?

     10         A.    I'm --

     11               MS. KOSKI:     Object to form.

     12         A.    I guess I'm not following the question.

     13         Q.    Well, let me ask you this:         You say ability

     14     to assimilate large amounts of data.           What do you

     15     mean by that?

     16         A.    So I guess at that time, it was working

     17     through large amounts of data through Excel and

     18     being able to analyze and review specifically what

     19     management was targeting at the time.

     20         Q.    And then you say:       Prioritize into cohesive

     21     and actionable recommendations.

     22               What do you mean by that?

     23         A.    So in the example where you mentioned

     24     negative margins, for example, you would look into

     25     this information, look at what you're being asked to

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      1     look at, and show this could potentially be where an

      2     issue is.

      3         Q.    Would you make recommendations at that time

      4     to your management?

      5         A.    I had no say in pricing at all.          So all I

      6     was doing was reviewing current pricing and giving

      7     it to them to determine what they would -- would or

      8     would not do going forward with any product we were

      9     selling.

     10         Q.    Did you have any contact with compliance

     11     matters at this point in time?

     12         A.    I did not.

     13         Q.    Why -- did you leave this position in 2008?

     14         A.    Actually, I had a child, and so different

     15     circumstances happened where I wasn't able to come

     16     back.

     17         Q.    Sounds like a good reason.

     18         A.    Yeah.    It -- that could be debated.

     19         Q.    Okay.    So what did you do after you left the

     20     contracts and pricing department?

     21         A.    I was just working from home with

     22     acquaintances that we had, helping to translate

     23     books.    This was not a job.       It was something

     24     part-time where I was helping translate from Spanish

     25     to English.

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      1         Q.    Let's go to Exhibit 3 now.         Is this a more

      2     recent copy of your résumé?

      3         A.    This is -- this national account

      4     representative?

      5         Q.    Yes.

      6         A.    This is probably prior to 2011 or around

      7     that time.

      8         Q.    But it's more recent than what we went

      9     over --

     10         A.    Yes.

     11         Q.    -- on Exhibit 2?

     12               In Exhibit 3 you say -- it says you went

     13     back to Anda in 2009?

     14         A.    Uh-huh.

     15         Q.    As a national accounts representative?

     16         A.    Yes.

     17         Q.    What is a national accounts representative?

     18         A.    So I would say that my background is data

     19     and analytics.      And so at the time, I worked for

     20     people who were on the front end.          And when I say

     21     front end, they were actually engaging with the

     22     customer.     They had the customer relationship, and I

     23     was, like, running reports for them.

     24         Q.    Why did you go back to Anda?

     25         A.    I guess because I like the company.

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      1         Q.    Are there certain things about the company

      2     you like?

      3         A.    Yes.

      4         Q.    What?

      5         A.    I think that it's a great company.          I think

      6     they care about their employees, and I like the

      7     business.

      8         Q.    The business of distributing drugs?

      9         A.    I like pharmaceuticals.

     10         Q.    When you went back to Anda in 2009, had you

     11     continued your formal education outside the company

     12     at all?

     13         A.    When I went back in 2009, that was the

     14     intention, to continue on.         And as soon as I became

     15     eligible, I did.

     16         Q.    When you say you "became eligible," what do

     17     you mean?

     18         A.    Because the company allows you to become

     19     eligible after a certain amount of time you work

     20     there and I had to start all over again.

     21         Q.    So the company would help you pay for your

     22     education, is what you mean?

     23         A.    Tuition reimbursement, yeah.

     24         Q.    Let's go to the second page of Exhibit 3.

     25     One of the bullet points, you say:           Cross-trained in

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      1     departmental responsibilities.

      2               What does that mean?

      3         A.    So, for example, there was different

      4     customers that were managed through national

      5     accounts, because these are -- national accounts is

      6     chain business.      And there were different people

      7     that worked in the department that specifically

      8     worked with different chains.         So I became familiar

      9     with different roles in the department.

     10         Q.    So were there people that worked with chains

     11     and then people that worked with independent

     12     retailers?

     13         A.    We had no engagement with independent

     14     retailers.

     15         Q.    National accounts was limited to chains?

     16         A.    Yes.    Corporate sales.

     17         Q.    NAM, what does that stand for?

     18         A.    National account manager.

     19         Q.    You said as a national accounts

     20     representative, you did not work with customers

     21     directly, correct?

     22         A.    I did not participate in any sort of, like,

     23     sale where something is being pitched, but I would

     24     support the person who had pitched to the customer

     25     directly.

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      1         Q.    So what sort of -- I think you said:           Use

      2     your ability to analyze and process data to do that?

      3         A.    Uh-huh.

      4         Q.    Yes?

      5         A.    So for example, at the time, if there was a

      6     new-to-market product, and it was shipped to each

      7     store location within a chain, I would just relay

      8     back to their corporate, this shipped, this is where

      9     it shipped, this is when it arrived, sort of thing.

     10         Q.    Did you do any work specific to controlled

     11     substances in this role?

     12         A.    Not that I recall.

     13         Q.    Were you familiar at all with regulations or

     14     compliance requirements related to controlled --

     15     controlled substances when you were in this role?

     16         A.    At that time, I wasn't a subject matter

     17     expert.

     18         Q.    Well, subject matter expert I understand.

     19     Were you familiar?

     20         A.    It wasn't my world.

     21         Q.    Did you receive any training as a national

     22     account representative related to controlled

     23     substances that you remember?

     24         A.    No, I did not.

     25         Q.    You worked with TPS also in this role,

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      1     correct?

      2         A.    Yes.    Anyone who pretty much works at Anda

      3     deals with TPS.

      4         Q.    When you sign in -- do you sign into TPS?

      5     How does that work?

      6         A.    Yes.    You have log-on information.

      7         Q.    Do you -- are you aware of whether or not

      8     there are different profiles that people have when

      9     signing into TPS?

     10         A.    I'm not aware.

     11         Q.    You're not aware?

     12         A.    Like, if -- please explain.

     13         Q.    Well, are there different permission levels

     14     that you're aware of?

     15         A.    So, yes, not -- every department is only

     16     approved for whatever executive management says

     17     they're approved for.

     18         Q.    Are you aware if -- whether TPS is something

     19     that Anda developed or if it's something that they

     20     purchased from somebody else?

     21         A.    I'm unaware.

     22         Q.    Did you receive any training related to TPS

     23     when you were in your role as national accounts

     24     representative?

     25         A.    Department training once you're hired, yes.

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      1         Q.    Do you remember what that was?

      2         A.    Sitting alongside someone and following

      3     instructions on what the task was and how to do it.

      4         Q.    So what did you use TPS for as a national

      5     accounts representative?

      6         A.    We -- we did have more, like, order entry.

      7     You could see order entry.         I don't remember if we

      8     could see, like, customer information, like, profile

      9     information.      But again, it's been so many years.

     10         Q.    Anything else?

     11         A.    I don't recall.

     12         Q.    You said on the second page of Exhibit 3:

     13     Process mass load updates in TPS.

     14               What does that mean?

     15         A.    So because you're dealing with chain

     16     corporate locations, and there are multiple stores

     17     that fall within a corporation, we use the term

     18     "mass load" when you're making changes to a large

     19     group of customers.

     20         Q.    What sort of changes would you be making?

     21         A.    I don't recall at the time what -- what

     22     exactly it was, but -- I don't know specifically

     23     what I was doing.

     24         Q.    How would you do a mass load update?

     25         A.    So, for example, you would put whatever it

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      1     is that you're wanting to change in the system into

      2     a spreadsheet, which would then run through the IT

      3     department, and they would change whatever it is in

      4     the system.

      5         Q.    So this isn't something that you would do by

      6     hitting a button in TPS?

      7         A.    No.

      8         Q.    You would have to send it to somebody, and

      9     they would do it?

     10         A.    Correct.

     11         Q.    On the first page you say:         Process mass

     12     load files for NTM products.

     13               What is NTM?

     14         A.    New to market.

     15         Q.    And also DEA license updates.

     16               What do you mean by that?

     17         A.    Because any customer who wants to be

     18     on-boarded to Anda, they have to provide licensure.

     19     Not every new customer who comes to Anda is

     20     interested in controls, or controlled substances.

     21     But if they are wanting to load their -- all of

     22     their licensing at the same time, we would have to

     23     set up licensing when reviewing new customers.

     24         Q.    Why is that?

     25         A.    Because it's part of the customer setup at

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      1     Anda, that you enter licensing for a new customer.

      2         Q.    How do you know that, or how did you know

      3     that at that time?

      4         A.    Because you're not able to sell to anyone

      5     who is not licensed.

      6         Q.    Was there a rule within Anda that told you

      7     that or --

      8               MS. KOSKI:     Object to form.

      9         A.    Yes.

     10               MS. KOSKI:     Sorry.    Object to form.

     11               You can answer.

     12         A.    Yes.

     13         Q.    What -- do you know what that role was

     14     called or anything like that?

     15         A.    It's a system rule.       You can't sell to

     16     anyone that doesn't have a license to operate.

     17         Q.    And then you also say you helped with

     18     opening new accounts by processing mass load files;

     19     is that right?

     20         A.    Yes.

     21         Q.    At that time, were you familiar with

     22     compliance requirements for new accounts?

     23         A.    The focus at that time was that a customer

     24     was licensed to operate.

     25         Q.    Were you aware of any -- of Anda's due

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      1     diligence efforts at that point?

      2         A.    I was not.

      3         Q.    Were you aware of any "know your customer"

      4     efforts that Anda had at that time?

      5         A.    I was not.

      6         Q.    Were the salespeople that you were working

      7     with that were on the front end, as you said, with

      8     customers using the same title, national accounts

      9     representative, as you were?         Do you know?

     10         A.    I believe at that time, they were called

     11     national account managers, and there were a few

     12     directors as well.

     13         Q.    How many representatives were there at that

     14     point?    Do you know?

     15         A.    I don't know the number.

     16         Q.    Has the company grown over the time since

     17     you've been with it?

     18               MS. KOSKI:     Object to form.

     19         A.    I mean, we're -- how many years are you

     20     talking about?

     21         Q.    I mean, is the company bigger now than it

     22     was when you started as a national account

     23     representative in 2009?

     24         A.    I don't know if it's bigger than at that

     25     time.    It's bigger from maybe the time that I first

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      1     started.

      2         Q.    From 2003?

      3         A.    Probably.

      4         Q.    Okay.    What makes you say that?

      5         A.    Because it's a different -- it's almost --

      6     how many years is that?        I'd have to do some math

      7     there.    It's 20 -- 16 years.

      8         Q.    Things have changed a bit?

      9         A.    There's -- I don't know how to answer that

     10     question.

     11         Q.    Who did you report to when you were a

     12     national accounts representative?

     13         A.    Elizabeth Shefferman.

     14         Q.    And when did you leave that position?

     15         A.    2011.

     16         Q.    Why did you leave that position?

     17         A.    It wasn't challenging enough.

     18         Q.    Okay.    What did you want to do?

     19         A.    So I had returned back to school, and I had

     20     more of an interest specifically in business.

     21         Q.    Any particular type of business?

     22         A.    Business analytics.

     23         Q.    What did you do after you left that

     24     position?

     25         A.    I went into the compliance area.

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      1         Q.    Do you recall what position that was?

      2         A.    DEA compliance analyst.

      3         Q.    Did you specifically want to work in the

      4     compliance area?

      5         A.    No.

      6         Q.    Why did you go in?       Just because there was

      7     an open position?

      8         A.    I was actually referred to the position when

      9     I spoke to HR.

     10         Q.    Who referred you?

     11         A.    Lisa Anderson.

     12         Q.    Do you know why, or did she tell you why?

     13         A.    She felt that I was qualified with my work

     14     history at Anda.

     15         Q.    Did she give you a job description at that

     16     point of what the position in compliance would be?

     17         A.    It was posted online, public.

     18         Q.    What was that for, what position?

     19         A.    DEA compliance analyst.

     20         Q.    What was your understanding of what your job

     21     would be as a DEA compliance analyst?

     22         A.    Being compliant with the people that you

     23     sold controlled substances to.

     24         Q.    Did you ultimately get that job?

     25         A.    Yes.

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      1         Q.    When did you start?

      2         A.    I believe it was July of 2011.

      3         Q.    When you started in July of 2011, did you

      4     receive any training specific to compliance?

      5         A.    I received training for the responsibilities

      6     that I had.

      7         Q.    What were your responsibilities at that

      8     time?

      9         A.    It was learning how to review customers that

     10     you're asked to approve to engage in business with

     11     or continued engaging in business with.

     12         Q.    Anything else?

     13         A.    That sums it up.

     14         Q.    So as a DEA compliance analyst, your

     15     responsibility was to review customers that you were

     16     asked to engage in business with or that Anda was

     17     already engaged in business with, right?

     18         A.    We were not, like, for example, asked to do

     19     business with someone, but if a customer wanted to

     20     do business with Anda, it -- the sales department

     21     would request a review.

     22         Q.    Any other responsibilities that you had as a

     23     DEA compliance analyst?

     24         A.    That is -- that's where I started with the

     25     training.

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      1         Q.    Who trained you?

      2         A.    Emily Schultz.

      3         Q.    How long did that training last?

      4         A.    I would say that it was a good one year of

      5     working through different facets of the department.

      6         Q.    What did the training consist of?

      7         A.    Reviewing customers, reviewing due diligence

      8     provided to us by the customer, such as their

      9     dispensing information questionnaire, reviewing

     10     their limits.

     11         Q.    Anything else?

     12         A.    That's about what I recall.

     13         Q.    So your training was reviewing customers,

     14     which meant reviewing the due diligence provided by

     15     the customer -- customer including dispensing

     16     information?

     17         A.    Uh-huh.

     18         Q.    Yes?

     19         A.    Yes.

     20         Q.    And customer questionnaires?

     21         A.    Yes.

     22         Q.    Yes.    And then reviewing customer limits,

     23     correct?

     24         A.    Correct.

     25         Q.    Would customer limits also be called

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      1     thresholds?

      2         A.    I don't refer to it as a threshold, but it's

      3     what we assign and what we allow a customer to

      4     purchase.

      5         Q.    When you say "we," you mean the compliance

      6     department --

      7         A.    The --

      8         Q.    -- at Anda?

      9         A.    -- compliance department, uh-huh.

     10               MS. KOSKI:     That was a good example of wait

     11         until she finishes just so the court reporter can

     12         get the full question and answer.

     13               MS. ELLIS:     Thank you.

     14     BY MS. ELLIS:

     15         Q.    So you said this was part of training.           Did

     16     you continue to do these responsibilities after a

     17     year?

     18         A.    Yes.

     19         Q.    What made it training, then, in the first

     20     year?

     21               MS. KOSKI:     Object to form.

     22         A.    It was an understanding of the department

     23     and what the department's responsibilities are.

     24         Q.    Were there, like, webinars that you did to

     25     understand these things or sessions that you

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      1     participated in?

      2         A.    Yes.    We went to different sessions.

      3         Q.    Who would present at those sessions?

      4         A.    We went to a couple of Buzzeo seminars, and

      5     there was various presenters, and we went to DEA

      6     seminars specific to distributors.

      7         Q.    When you say "we," who do you mean?

      8         A.    Everyone in the department.

      9         Q.    At that time, how many people were in the

     10     department?

     11         A.    So when I started the position, it was

     12     myself, and it was Emily Schultz and Michael

     13     Cochrane specific to controlled substances.

     14         Q.    Anybody else?

     15         A.    Not -- not in my day-to-day.         I don't know.

     16         Q.    Was your position as DEA compliance analyst

     17     specific to controlled substances?

     18         A.    Yes.

     19         Q.    Was that the -- that was part of the

     20     position that you had applied to, was a controlled

     21     substances-specific position?

     22         A.    It was not called controlled substances.            It

     23     was a DEA compliance analyst.

     24         Q.    Were there other DEA compliance analysts

     25     there?

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      1         A.    At the -- they started shortly after I was

      2     hired.

      3         Q.    So who did you report to when you started in

      4     2011 as a DEA compliance analyst?

      5         A.    Michael Cochrane.

      6         Q.    Do you know what his role was at that time?

      7         A.    I believe it was executive director of

      8     regulatory compliance.

      9         Q.    Do you know if Emily Schultz also reported

     10     to Michael Cochrane at that time?

     11         A.    Yes.

     12         Q.    So the three of you were the ones

     13     responsible for Anda's controlled substance

     14     compliance at that time?

     15               MS. KOSKI:     Object to form.

     16         A.    We were the three in that area of the

     17     department at that time.

     18         Q.    What were the other areas of the department?

     19         A.    There is regulatory compliance as well.

     20         Q.    What's the difference?

     21         A.    Regulatory compliance is customer

     22     licensing-specific, facility licensing, FDA issues.

     23         Q.    So you said you went to a couple of seminars

     24     as part of your training done by Buzzeo and the DEA,

     25     right?

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      1         A.    Yes.

      2         Q.    Was that within the first year that you were

      3     a DEA compliance analyst?

      4         A.    I believe so.

      5         Q.    Do you remember specifically any of those

      6     seminars, what they were?

      7         A.    They were specific to distributors.

      8         Q.    Do you remember when they were?

      9         A.    I don't recall the exact dates.

     10         Q.    Do you remember where any of them were?

     11         A.    They were all in Maryland, outside of DC.

     12         Q.    Who -- was there anybody besides Emily,

     13     Michael, and yourself that went to these seminars at

     14     that time?

     15         A.    As we hired more people, they attended as

     16     well.

     17         Q.    But initially, it was you and Emily and

     18     Michael?

     19         A.    Yes.

     20         Q.    Did you ever go to seminars done by HGMA or

     21     HGA?

     22         A.    No.

     23         Q.    Do you know what those acronyms stand for?

     24         A.    Yes.

     25         Q.    How do you know?

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      1         A.    I know Healthcare Distribution Alliance, and

      2     HGMA is just part of the industry.

      3         Q.    Were any -- did you ever receive materials

      4     from either of those groups as part of your

      5     training?

      6         A.    We follow, like, various news topics, and we

      7     keep up to speed with different bulletins, yes.

      8         Q.    So I want to take you back to -- let's just

      9     say your first day as a DEA compliance analyst.

     10     What did it look like?        What did you do?

     11               MS. KOSKI:     Object to form.

     12         A.    Understanding the customers, the -- what the

     13     department is responsible for.

     14         Q.    How would you get that understanding?

     15         A.    So can you please be more specific, like, of

     16     what --

     17         Q.    What is -- I'm just asking day-to-day, you

     18     know, I want to understand how you evolved from the

     19     pricing department and the national accounts

     20     management department into the compliance

     21     department.

     22         A.    So basically, I would say a lot of it is

     23     analytics and looking at data.

     24         Q.    We'll come back to your responsibilities and

     25     what you did as a DEA compliance analyst in a

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      1     moment, but that brings us to a good point to ask

      2     you about some Anda systems.

      3               You've already mentioned TPS?

      4         A.    Uh-huh.

      5         Q.    Yes?

      6         A.    Yes.

      7         Q.    And that's something that you've used

      8     consistently throughout your time at Anda?

      9         A.    Yes.

     10         Q.    Are you aware of any user guides that exist

     11     now or at any point for using TPS?

     12         A.    I am not.

     13         Q.    Have you ever done any formal training,

     14     besides people sitting with you at a computer

     15     terminal, into how to use TPS?

     16               MS. KOSKI:     Object to form.

     17         Q.    Meaning have you been trained?

     18         A.    That's --

     19               MS. KOSKI:     Go ahead.

     20         A.    The training consists of sitting down with

     21     people who are showing you the responsibility in the

     22     department.

     23         Q.    You said earlier that almost anybody who

     24     works for Anda would use TPS; is that right?

     25         A.    I believe that most departments utilize TPS.

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      1         Q.    Do they use it for different functions?

      2         A.    Every department has a different function.

      3         Q.    And they would use TPS accordingly?

      4         A.    Yes.

      5         Q.    Is there one particular department that

      6     controls the TPS system, that you know of?

      7               MS. KOSKI:     Object to form.

      8         A.    I believe that everything falls within the

      9     IT department if it's -- if it's a computer system

     10     or software.

     11         Q.    When you used TPS in the DEA -- as a DEA

     12     compliance analyst, was it different than how you

     13     used it in the -- as a national accounts

     14     representative?

     15         A.    Yes.

     16         Q.    How so?

     17         A.    Because your access is different, and your

     18     job responsibilities are different, so you have

     19     access in TPS only to what your current

     20     responsibilities are.

     21         Q.    So when you became a DEA compliance analyst,

     22     how did your access in TPS change?

     23         A.    It was very limited.

     24         Q.    What do you mean?

     25         A.    Meaning that it was specific to my role with

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      1     the customer.

      2         Q.    As a customer account manager, you mean, or

      3     as a DEA compliance analyst?

      4         A.    Sorry.    Which one are you asking about?

      5         Q.    Well, my initial question was:          How did

      6     it -- how did your access in TPS change?            So you

      7     said it was limited.       Was it limited when you were

      8     an account manager or when you were in the

      9     compliance department?

     10         A.    In the compliance department.

     11         Q.    That's when it was limited?

     12         A.    You have different access because you're

     13     only using basically a customer master.

     14         Q.    What do you mean, customer master?

     15         A.    You're focused on the customer and their

     16     eligibility to do business at Anda.

     17         Q.    What is customer master?

     18         A.    Like, the customer's information.

     19         Q.    Is master a term for, like, a data set, or

     20     is it --

     21         A.    I refer to it as the customers that we do

     22     business with.

     23         Q.    So when you say "customer master," is that

     24     everybody who's -- every customer of Anda who's

     25     eligible to purchase controlled substances?

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      1         A.    No.

      2         Q.    What -- is it every customer of Anda at all?

      3         A.    It's every customer that has probably come

      4     through Anda and been set up at Anda as a customer.

      5         Q.    At any point in time?

      6         A.    At any point in time.

      7         Q.    Is it your understanding that TPS has

      8     historical data in it?

      9               MS. KOSKI:     Object to form.

     10         A.    I -- that has to be more specific.

     11         Q.    So let's talk about your time as an

     12     account -- national account representative.             Could

     13     you see a customer's purchase history, for example,

     14     when you were in that role?

     15         A.    I don't recall.

     16         Q.    Could you see how a customer's activity with

     17     Anda had changed over time when you were in that

     18     role?

     19         A.    No.

     20         Q.    When you came to the compliance department,

     21     could you see a customer's purchase history through

     22     TPS?

     23         A.    Yes.

     24         Q.    Are there other things that you could see

     25     when you came to the compliance department that you

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      1     could not see when you were at the national

      2     account -- when you were a national account

      3     representative?

      4         A.    Yeah.    I stated before, every department is

      5     able to see what is specific to that department.

      6         Q.    So I guess I'm asking you for some specific

      7     examples of what you would see in compliance that

      8     you had not seen in national accounts, or vice

      9     versa.

     10         A.    So you would see -- you would have access to

     11     the customer's licensing, whether or not they're

     12     allowed controls or not.

     13         Q.    You're talking about when you're in

     14     compliance, right?

     15         A.    Yes.

     16         Q.    Okay.    Anything else?

     17         A.    Anything that the -- has to do with the

     18     customer's setup.

     19         Q.    Such as?

     20         A.    It's also maybe the controlled substances,

     21     if they're allowed those items.

     22         Q.    You said anything that has to do with the

     23     customer's setup.       What would that be?

     24         A.    So the department, again, they focus on

     25     licensing.     They focus on whether or not a person is

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      1     allowed controls or not, and they focus on, if they

      2     are allowed controls, what would they be eligible

      3     for.

      4         Q.     Are you aware of any reporting capabilities

      5     in TPS?

      6         A.     Yes.

      7         Q.     What are those?

      8                MS. KOSKI:    Object to form.

      9         A.     TPS has the -- you are able to report in

     10     TPS.     And every department is different, and

     11     everything that they want to do is different.

     12         Q.     So let's talk about national accounts

     13     representative for a moment.         Do you recall any

     14     reports that you were capable of running when you

     15     were a national account representative in TPS?

     16         A.     Yes.

     17         Q.     What were those?

     18         A.     Proof of delivery reports.

     19         Q.     Anything else?

     20         A.     Something referred to as an invoice file.

     21         Q.     Anything else?

     22         A.     That's what I recall.

     23         Q.     Okay.   Were those reports that you would

     24     just push a button in TPS and they would run?

     25         A.     No.

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      1         Q.    How would you run a report?

      2         A.    You would have to say what it is that you're

      3     trying to pull.      So is it a specific customer?         Is

      4     it a specific customer type?         Is it a specific date

      5     range?    Is it a specific item?

      6         Q.    Were there ever reports, when you were a

      7     national accounts representative, that you wanted to

      8     see, but the system was not capable of?

      9         A.    No.    I mean, I wasn't so much into a variety

     10     of different reporting factors.          It was whatever was

     11     my job responsibility.

     12         Q.    When you came to the compliance department

     13     in 2011, were there certain reports that you were

     14     aware TPS was capable of?

     15         A.    Yes.

     16         Q.    Do you recall what those were?

     17         A.    There were -- I have -- I have to think

     18     about that.      I'll come back with that.

     19         Q.    Is there something that would help you

     20     recall what reports were available at that time?

     21         A.    Well, it's because it's 10 years ago, so I'm

     22     trying to remember what those reports were then

     23     specifically.

     24         Q.    I understand it's been some time.

     25         A.    Yeah.    It's --

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      1         Q.    Is it fair to say that the system's ability

      2     to -- strike that.

      3               Is it fair to say that the reports that are

      4     available in TPS now are different than the ones

      5     that were available at that time?

      6               MS. KOSKI:     Object to form.

      7         A.    There are new reports created with time.

      8         Q.    So there have been reports created since

      9     2011 in TPS?

     10         A.    Probably, yes.

     11         Q.    Can you think of any off the top of your

     12     head?

     13         A.    No, I cannot think off the top of my head.

     14         Q.    How would you know what reports the system

     15     was capable of in 2011 anyway?          Was there, like, a

     16     list or something that you were given?

     17         A.    No.

     18         Q.    How would you know what the system could do,

     19     then?

     20         A.    So TPS reports -- something called a query,

     21     and there are different reports that were already

     22     created.     So you could see a report created.

     23         Q.    Do you know who was responsible for creating

     24     those reports?

     25         A.    Any --

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      1         Q.    Go ahead.

      2         A.    It could be any employee who was capable of

      3     creating a report in any department.

      4         Q.    When you were a national account

      5     representative, were you capable of creating a

      6     report?

      7         A.    No.

      8         Q.    When you became a DEA compliance analyst,

      9     were you capable of creating a report?

     10         A.    Capable of authoring a report to be created.

     11         Q.    What does that mean?

     12         A.    So it was a little bit more complex, and so

     13     I partnered with IT.       I partnered with our sales

     14     reporting department.

     15         Q.    Was that part of what you understood your

     16     job to be as a DEA compliance analyst?

     17         A.    Yes.

     18         Q.    Were you told that the -- were you told

     19     about any specific focuses that the compliance

     20     department had at the time you became an analyst in

     21     2011?

     22         A.    Yes.

     23         Q.    What were those?

     24         A.    Knowing a customer's business, who they are,

     25     what they want from Anda, whether or not we would

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      1     choose to do business with them.

      2         Q.    Were you told, when you started with

      3     compliance, if the department was facing any

      4     challenges?

      5               MS. KOSKI:     Object to form.

      6         A.    I was told that we wanted to maintain

      7     standards.

      8         Q.    What standards?

      9         A.    Standards of knowing our customers.

     10         Q.    According to what?

     11               MS. KOSKI:     Object to form.

     12         A.    Knowing our customers and being familiar

     13     with them at all times.

     14         Q.    Were you told, when you became a DEA

     15     compliance analyst, whether there were specific

     16     areas that the department needed to improve upon in

     17     order to do that?

     18               MS. KOSKI:     Object to form.

     19         A.    We wanted to collect updated information on

     20     everyone that we were doing business with.

     21         Q.    Were you told that was part of your job

     22     responsibility back in 2011?

     23         A.    Yes.

     24         Q.    When you say "wanted to collect updated

     25     information," what do you mean?

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      1         A.    Information in 2011, at that time.

      2         Q.    Why is that?

      3         A.    To have updated recordkeeping.

      4         Q.    Earlier you said that recordkeeping and

      5     being thorough is important, correct?

      6         A.    Correct.

      7         Q.    And that was part of what you understood

      8     your job to be, yes?

      9         A.    Yes.

     10         Q.    So was it your understanding that

     11     information had not been updated as well as it could

     12     have been previously?

     13         A.    No.

     14         Q.    It had not been?

     15         A.    It -- that was not pointed out to me.

     16         Q.    Well, you said you wanted to collect updated

     17     information.      Does -- was it your understanding that

     18     there was information that was out of date?

     19               MS. KOSKI:     Object to form.

     20         A.    No.

     21         Q.    Then what would the information you were

     22     collecting be updating?

     23         A.    So, for example, if you're reviewing a

     24     customer, they're required to provide updated

     25     information to you in order for you to conduct your

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      1     review.

      2         Q.    Was that entitled a specific project of some

      3     sort?

      4               MS. KOSKI:     Object to form.

      5         A.    So please help me understand.         Is there a

      6     project that you're talking about or --

      7         Q.    No.    I'm just asking you.      At the time, was

      8     there a project, in 2011, that you were working on

      9     that was focused on up -- collecting updated

     10     information on customers?

     11         A.    I did collect updated information in a

     12     project, yes.      And then I also collected updated

     13     information depending on the different requests that

     14     came to our department.

     15         Q.    So what was the -- was there a name for the

     16     project that you collected updated information

     17     through?

     18         A.    So we collected questionnaires, and we

     19     collected dispensing data.

     20         Q.    Was there a name for that project?

     21         A.    Not anything formal, no.

     22         Q.    If I said Customer Questionnaire Project,

     23     was -- does that mean anything?

     24         A.    Yes.

     25         Q.    What does that mean?

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      1         A.    I mean, a project to collect questionnaires.

      2         Q.    Let's go back to TPS for a second.          You said

      3     you could author a report in TPS when you were a DEA

      4     compliance analyst; is that right?

      5         A.    Correct.

      6         Q.    So if you wanted to author a report, what

      7     would you do?

      8         A.    You would identify what you're wanting to

      9     see in the report, and then you would create a

     10     report to see what you're wanting to see.

     11         Q.    How would you know whether there was a

     12     report that already existed that included what you

     13     wanted to see?

     14         A.    I wanted to create my own, so I -- at that

     15     time, there was a new type of reporting, and so I

     16     used that type of reporting.

     17         Q.    So let's break that down.        Back in 2011, you

     18     said you wanted to create your own report, right?

     19         A.    Correct.

     20         Q.    What kind of report did you want to create?

     21         A.    It's called a Cognos report.

     22         Q.    What does that mean?

     23         A.    It's a different means of reporting.           It's

     24     not using TPS to report.        It's just -- it's better

     25     looking, and it's more efficient.

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      1         Q.    Is it a different program?

      2         A.    It's a different way of reporting.

      3         Q.    What does Cognos stand for, do you know?

      4         A.    No.

      5         Q.    And when you say it's a different way of

      6     reporting to some agency or to someone or --

      7         A.    No.   It's just -- to be honest, like, TPS is

      8     an older system, and so Cognos is just easier to

      9     look at.

     10         Q.    So it's a different program?

     11         A.    Correct.

     12         Q.    So when you open your desktop, you would

     13     have an icon for TPS, correct?

     14               MS. KOSKI:     Object to form.

     15         Q.    Or how would you get into TPS?

     16         A.    Sign in.

     17         Q.    Through, like, clicking on a computer icon

     18     or sign into what, online?

     19         A.    Icon.

     20         Q.    If I were to hand you a laptop today, could

     21     you sign into TPS?

     22         A.    I'm unaware because I'm off-site, and

     23     there's different security measures.           I'm not sure.

     24         Q.    When you work from home, are you able to

     25     access TPS?

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      1         A.    Yes.

      2         Q.    How do you do that?

      3         A.    Through a secured website.

      4         Q.    You sign in with your own credentials?

      5         A.    Yes.

      6         Q.    Those are specific to you at your permission

      7     level, correct?

      8         A.    Correct.

      9         Q.    And you do that through the Internet?

     10         A.    Correct.

     11         Q.    When you say "a secured website," do you

     12     have a secured work environment that you access for

     13     Anda, or is it just on your home computer, you go to

     14     a web browser, and you type in a web address?

     15         A.    Anda has various security measures.

     16         Q.    Okay.    Well, I'm trying to understand what

     17     they are.

     18         A.    Yeah.

     19         Q.    So when you -- say you're at home.          You're

     20     working from home, and you want to access TPS.             Walk

     21     me through the steps of what you would do.

     22         A.    So you have to sign on to Teva-secured

     23     environment, and then the Internet, and then TPS.

     24         Q.    So sitting here today, if you had a laptop,

     25     and you could access the Internet, you could sign

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      1     into Teva's secured environment?

      2         A.    I'm unsure of that.

      3         Q.    Why are you unsure of that?

      4         A.    Because I haven't tried it.

      5         Q.    You have done it from home?

      6         A.    From home.

      7         Q.    On your own computer?

      8         A.    Yes.

      9         Q.    Have you done it from any other location

     10     besides that?

     11         A.    No, I have not.

     12         Q.    Are you aware of your sign-in credentials

     13     from Teva?

     14               MS. KOSKI:     Object to the form of the

     15         question.

     16         Q.    Do you know what they are, sitting here

     17     today?

     18         A.    Sorry.    So which -- there's so many

     19     sign-ons.     Which environment?

     20         Q.    So if you wanted to access Teva in your home

     21     computer sitting at your house, just sitting here

     22     today, could you do that?

     23         A.    I could attempt to get into their secured

     24     website.

     25         Q.    Is there something that would prevent you

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      1     from doing that, that you're aware of?

      2         A.    I have had difficulty getting into that

      3     sometimes, yes.

      4         Q.    Such as what?      What would cause a

      5     difficulty?

      6         A.    Something that I don't understand.          It has

      7     to do with Teva allowing you to do it.

      8         Q.    So to access TPS, once you sign into the

      9     secure environment, you said you would go into a

     10     website, and then you would sign into TPS?

     11         A.    TPS is actually not a website, so it's just

     12     signing into the application.

     13         Q.    So it would be in your start menu or on your

     14     desktop or something like that?

     15         A.    Correct.

     16         Q.    And what about Cognos, is that something

     17     that you would sign into separately?

     18         A.    I'm unable to access Cognos from home.

     19         Q.    But whether you're at home or not --

     20         A.    Uh-huh.

     21         Q.    -- how would you access Cognos?

     22         A.    Cognos is Internet access.

     23         Q.    And you can only access that one when you're

     24     onsite at Anda?

     25         A.    Yes.

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      1         Q.    Okay.    What is CSOS?

      2         A.    It's an electronic controlled substance

      3     ordering.

      4         Q.    Do you have access to that program?

      5         A.    No, I do not.

      6         Q.    Do you know who uses CSOS?

      7         A.    It's various customers who have gone through

      8     with the program.

      9         Q.    What do you mean, "that have gone through

     10     with the program"?

     11         A.    Having it installed and wanting to do

     12     business with Anda using CSOS.

     13         Q.    So what is your understanding of what CSOS

     14     does?

     15         A.    It's electronic controlled substance

     16     ordering.

     17         Q.    So that's how customers would order

     18     controlled substances from Anda?

     19         A.    If they were set up to do business that way.

     20         Q.    What other way would they order controlled

     21     substances from Anda?

     22         A.    Is there, like, a specific controlled

     23     substance that you're talking about?           Like a

     24     schedule or, like, CII, CIII, CIV, CV.

     25         Q.    Does it make a difference?

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      1         A.    Yes.

      2         Q.    Why?

      3         A.    Because if they order CIIs, the only other

      4     way is, like, a 222 form, rather than electronic

      5     ordering.

      6         Q.    That's a DEA form, correct?

      7         A.    Correct.

      8         Q.    So you said Schedule IIs were a 222 form?

      9         A.    Correct, if not CSOS.

     10         Q.    Are there any other ways somebody could

     11     order -- an Anda customer could order a Schedule II

     12     besides a 222 form or CSOS?

     13         A.    I'm unaware.

     14         Q.    So do you understand how -- what happens

     15     once a customer puts an order in CSOS, how does

     16     it -- do you ultimately see that in the compliance

     17     department?

     18         A.    We don't have visibility to that.

     19         Q.    You don't have visibility into CSOS?

     20         A.    Correct.

     21         Q.    But you would have visibility into a

     22     customer's order, correct?

     23         A.    Correct.

     24         Q.    How would -- and just -- I'll stop you.

     25     Let's try not to talk over each other.            I know that

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      1     this is the part where you probably are going to

      2     know the answers to my questions before I ask them.

      3     But for the record to be clear, let's just try not

      4     to talk over each other.

      5               So let's just walk through the process.            If

      6     a customer puts an order into CSOS, what is your

      7     understanding of how it comes to Anda so that you

      8     can review that order?

      9         A.    It's ordered electronically, and should it

     10     need review, if it is flagged in our system to be

     11     reviewed, then we review it.

     12         Q.    So is it your understanding that CSOS talks

     13     to -- when I say "talk," I just mean communicates

     14     with electronically in some way some Anda system or

     15     program?

     16               MS. KOSKI:     Object to form.

     17         A.    I would assume that orders -- not specific

     18     to CSOS, orders speak to the system.

     19         Q.    What system would that be, TPS?

     20         A.    Yes.

     21         Q.    So an order -- a customer places an order

     22     through CSOS that you do not have access to,

     23     correct?

     24         A.    Correct.

     25         Q.    But you and the compliance department would

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      1     be able to see that order at some point, right?

      2         A.    If it was needing reviewed.

      3         Q.    If it were flagged, per se?

      4         A.    Correct.

      5         Q.    And TPS is the program that would flag it?

      6     Let's say back in 2011.

      7         A.    Yes.

      8         Q.    Now it's a Buzzeo cloud-based program?

      9         A.    Correct.

     10         Q.    So we'll talk about these two separate

     11     periods separately.        Okay?   For the time being,

     12     unless I ask you about Buzzeo, let's assume we're

     13     talking about pre-Buzzeo.

     14         A.    Okay.

     15         Q.    So a customer places an order through CSOS,

     16     and you would see it within TPS, right?

     17         A.    No.

     18         Q.    No.    Why --

     19         A.    So --

     20         Q.    -- or what would you -- what would happen?

     21               MS. KOSKI:      Object to form.

     22         A.    Not every order is reviewed by compliance.

     23         Q.    I apologize.      If an order was flagged, you

     24     would then see it in TPS?

     25         A.    Yes.

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      1         Q.    What about Remedy, what is that?

      2         A.    Remedy is a task management system.           It's a

      3     part of our suspicious order monitoring system where

      4     we take the approach of approving customers and

      5     reviewing them on the front end, and we have control

      6     of any requests that come from a customer to their

      7     sales rep, and we review and determine whether we

      8     will allow or not allow.

      9         Q.    Are you aware if TPS and Remedy communicate

     10     with each other electronically?

     11               MS. KOSKI:     Object to form.

     12         A.    I'm unaware of behind the scenes.

     13         Q.    Is there any overlap between TPS and Remedy?

     14         A.    Remedy is specific to customers'

     15     information.      And for our purposes, again, Remedy

     16     has different purposes in different departments.

     17     For our purpose, it's a request-based purpose.

     18         Q.    When you say "our," you mean the compliance

     19     department?

     20         A.    The compliance department.

     21         Q.    Is that a computer program that you are able

     22     to access if you're working virtually?

     23         A.    Sometimes, yes.

     24         Q.    Why sometimes?

     25         A.    Because, as I mentioned before, sometimes

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      1     there are hurdles with getting into different

      2     systems from home that I can't explain.

      3         Q.    So the system might be down, and it just

      4     doesn't let you sign in?

      5         A.    Yes.

      6         Q.    Or you may be having some problem with the

      7     company intranet or something like that?

      8         A.    Yes.

      9         Q.    But on a day where things are running

     10     smoothly, you could sit at your home computer and

     11     sign into Remedy, yes?

     12         A.    Yes.

     13         Q.    And you could also sign into TPS?

     14         A.    Yes.

     15         Q.    And you could access the same information in

     16     each of those programs as you would as if you were

     17     sitting at your desk at work?

     18         A.    I believe so.

     19         Q.    And you've done that before?

     20         A.    Yes.

     21         Q.    Did you use Remedy when you were a national

     22     accounts representative?

     23         A.    Sparingly.

     24         Q.    What did you use it for?

     25         A.    There were requests to open a new store

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      1     within a chain, and that was all that was done.

      2         Q.    When you would use Remedy to open a new

      3     store within a chain, what would you do as a

      4     national accounts representative?

      5         A.    You were asking the company and another

      6     department within the company to review customers'

      7     information to create an account at Anda.            And it

      8     went through numerous processes, but in national

      9     accounts, you pulled the licensing and provided it

     10     to other departments to load, review and load.

     11         Q.    When you say "other departments," do you

     12     mean compliance?

     13         A.    Yes.

     14         Q.    Who -- were you aware of who was working in

     15     compliance at that point?

     16         A.    I did not have a relationship with anyone in

     17     compliance.      We sent our requests to a group e-mail

     18     or a group fax machine.

     19         Q.    Do you remember what that was?

     20         A.    Warehouse --

     21               MS. KOSKI:     Object to form.

     22               Sorry.    Go ahead.

     23         A.    Warehouse 20 Compliance.        It's an e-mail

     24     group.

     25         Q.    So what would you e-mail?

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      1         A.    Hard copies of customers' licenses.

      2         Q.    And you said it was Warehouse 20 Compliance?

      3         A.    Yes.

      4         Q.    @Anda?

      5         A.    @Andanet.

      6         Q.    So you would e-mail hard copy of a

      7     customer's license.       Anything else?

      8         A.    That was all.

      9         Q.    When you were at national accounts, did you

     10     ever help collect customer questionnaires?

     11         A.    No.

     12         Q.    Did you help collect dispense data?

     13         A.    No.

     14         Q.    Were you aware of whether new accounts -- or

     15     customer questionnaires at that point were required

     16     for new accounts?

     17         A.    I don't recall.

     18         Q.    Do you recall whether dispense data was

     19     required for new accounts when you were a national

     20     accounts representative?

     21         A.    I don't recall.

     22         Q.    Is there anything that would refresh --

     23     refresh your recollection?

     24         A.    We had nothing to do with controlled

     25     substances at that point.         This was just opening a

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      1     customer to Anda.

      2         Q.    So if a customer came in, it didn't matter

      3     whether they wanted to purchase controlled

      4     substances or not; you just did basic things?

      5         A.    Basic.

      6         Q.    Would somebody else vet, then, them for

      7     controlled substances?

      8         A.    If that were to happen, it would be probably

      9     a manager who was in charge of the relationship.              It

     10     wasn't my role.

     11         Q.    It would have been one of the salespeople

     12     that worked with the customer?

     13         A.    Correct.

     14         Q.    Were you aware, as a representative, whether

     15     a customer was purchasing controls or wanted to

     16     purchase controls or not?

     17         A.    I was not aware of that process.

     18         Q.    Okay.    So we've talked about TPS, Remedy,

     19     CSOS, and Cognos.       Are there any other programs

     20     that you're -- computer programs at Anda that you're

     21     aware of or that you've used on a regular basis,

     22     either as a national accounts representative or in

     23     the compliance department?

     24               MS. KOSKI:     Object to form.

     25         A.    Those are most frequently used.

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      1         Q.    You said Cognos is another program, correct?

      2         A.    It's another source of reporting.

      3         Q.    A source of reporting?

      4         A.    Uh-huh.

      5         Q.    Yes?

      6         A.    Yes.

      7         Q.    Who within Anda uses Cognos?

      8         A.    I have no idea.

      9         Q.    Did you use Cognos when you were a national

     10     accounts representative?

     11         A.    No, I did not.

     12         Q.    Did you receive any training in Cognos at

     13     any point in your time with Anda?

     14         A.    Yes.

     15         Q.    When?

     16         A.    I don't recall the time.        There were

     17     training sessions.

     18         Q.    Who would have done those training sessions?

     19     Do you recall?

     20         A.    The sales reporting department.

     21         Q.    Do you recall what sort of things they

     22     trained you on?

     23         A.    Report capabilities.

     24         Q.    And this is when you were -- you came to the

     25     compliance department?

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      1         A.    I believe so.

      2         Q.    What sort of report capabilities do you

      3     recall being trained on through Cognos?

      4         A.    Understanding what you could pull by

      5     customer or by item.

      6         Q.    So what sort of information could you pull

      7     by customer from Cognos?

      8         A.    The training doesn't consist of them telling

      9     you what you could or could not pull.           It's what you

     10     are wanting to pull.       And again, all accesses are

     11     different.

     12         Q.    So the training consisted of showing you how

     13     you could pull things, right?

     14         A.    Correct.

     15         Q.    But not necessarily what it was that you

     16     were able to pull?

     17         A.    Correct.

     18         Q.    So as a DEA compliance analyst, were you

     19     able to pull things from Cognos?

     20         A.    Yes.

     21         Q.    What things would you pull from Cognos?

     22         A.    Customer information or item information.

     23         Q.    What sort of customer information?

     24         A.    Specific to our department, control

     25     eligibility.

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      1         Q.    When you say "control eligibility," is

      2     that -- what does that mean?

      3         A.    So if I were wanting to look and see, is

      4     this customer currently allowed controls or not.

      5         Q.    So if you were to pull a customer

      6     information from Cognos through a report, would it

      7     be as simple as a "yes" or "no"?

      8               MS. KOSKI:     Object to form.

      9         A.    Say -- please repeat.

     10         Q.    So I guess I'm trying to understand when you

     11     say the reporting capability of customer

     12     information.      Like, what would that include?

     13         A.    Things that we managed in our area, so if

     14     you wanted to look at licensing, if you wanted to

     15     look at control eligibility.

     16         Q.    And so control eligibility, if you wanted to

     17     look at that, what would the report include?

     18         A.    It would include a "yes" or "no" flag, if

     19     they are allowed controlled substances or not.

     20         Q.    Anything else?

     21         A.    Whatever information that you felt was

     22     important to your report.

     23         Q.    Have you pulled these reports before?

     24         A.    Yes.

     25         Q.    What sort of information have you included

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      1     that you felt was important?

      2         A.    If they had various documents, so

      3     questionnaire, dispensing data, and if I wanted to

      4     see what was sold to them.

      5         Q.    Anything else?

      6         A.    That sums it up.

      7         Q.    And you used Cognos to pull that?

      8         A.    Yes.

      9         Q.    And then you also said item information, you

     10     could pull reports, correct?

     11         A.    Yes.

     12         Q.    What sort of information would you be able

     13     to pull out of items?

     14         A.    What was sold.

     15         Q.    What was sold to a particular customer?

     16         A.    Yes.

     17         Q.    Would that include what was sold over a

     18     period of time?

     19         A.    If that's how the report was written.

     20         Q.    What are ways that the report could be

     21     written?

     22         A.    That's however the report author wants to

     23     see the information they're reporting on.

     24         Q.    I understand that these questions are kind

     25     of complicated, and it's hard.          Why don't I try to

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      1     ask you this a different way.

      2               If I were a new employee coming into your

      3     compliance department, and you were training me on

      4     Cognos, how would you show me what I could do in

      5     Cognos?

      6         A.    So new employees are not in the Cognos

      7     world.

      8         Q.    If I were an employee who needed to access

      9     Cognos whether -- at any point, I guess what would

     10     my role be, is the first question?

     11         A.    It would be discussing capabilities for

     12     reporting based on what your training and what you

     13     want to see.

     14         Q.    So you said you have five employees in your

     15     compliance department right now, correct?

     16         A.    Including myself.

     17         Q.    So yourself and then four other employees?

     18         A.    Uh-huh.

     19         Q.    Correct?

     20         A.    Yes.

     21         Q.    Which, if any, of those employees need to

     22     know or are able to use Cognos?

     23         A.    There is one employee.

     24         Q.    Who is that?

     25         A.    Latoya Laroche.

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      1         Q.    Why did Latoya need to know?

      2         A.    Because she's, like, an analyst --

      3         Q.    So --

      4         A.    -- senior analyst.

      5         Q.    If I were Latoya starting in the position

      6     that she has now, and you were training me on using

      7     Cognos, how would you show me what the system was

      8     capable of?

      9         A.    We would sit together and go through the

     10     different ways to pull the report.

     11         Q.    Would you give me a list of any reports that

     12     are currently available?

     13         A.    Maybe.

     14         Q.    Where would you get that list from?

     15         A.    Training, just speaking and training.

     16         Q.    It's one that you could create perhaps off

     17     the top of your head?

     18         A.    Not off the top of my head.

     19         Q.    Is it one that would be in a file that's

     20     already been created?

     21         A.    There's reports that have been created.

     22         Q.    But do you have a list of reports that have

     23     been created anywhere?

     24         A.    I don't believe there's a list anywhere.

     25         Q.    Are there any other programs besides TPS,

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      1     Remedy, CSOS, and Cognos that the compliance

      2     department -- you have used in the compliance

      3     department at any point in time on a regular basis?

      4               MS. KOSKI:     Object to form.

      5         A.    Those are the ones that are most frequently

      6     used.

      7         Q.    Are those -- are there others that are not

      8     as frequently used?

      9         A.    I can't think off the top of my head.

     10         Q.    So what's the difference between Cognos and

     11     TPS besides, you said, Cognos being a little bit

     12     more user friendly and look -- looking differently?

     13         A.    To put it in, like, easy form, it's fancier.

     14     It just looks better.

     15         Q.    Do you know if there is a reason why they're

     16     both used?

     17         A.    It was just a preference for the person

     18     running the report and how they want to view the

     19     data.

     20         Q.    So you could -- is it your understanding

     21     that the same data is in TPS as it is in Cognos?

     22         A.    Correct.

     23         Q.    Is it your understanding that TPS and Cognos

     24     share the same information?

     25         A.    Yes.

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      1               MS. KOSKI:     Object to form.      Sorry.

      2         Objection to form.

      3         Q.    Do you have an understanding of how they

      4     share that information?

      5         A.    No, I do not.

      6         Q.    Is it your understanding that if you update

      7     something in Cognos, it will automatically be

      8     updated in TPS?

      9         A.    You can't update in Cognos.

     10         Q.    Is it your understanding that if you update

     11     something in TPS, it will automatically be updated

     12     in Cognos?

     13         A.    Not all the time.

     14         Q.    Sometimes?

     15         A.    So that's maintained by IT, and you're not

     16     always able to pull, in Cognos, what is in TPS.

     17         Q.    TPS includes more information?

     18         A.    No.   TPS maintains its own information.

     19         Q.    So let's try the other approach again.           If I

     20     am Latoya, and in my --

     21         A.    Uh-huh.

     22         Q.    -- new role as an analyst, I need to

     23     understand these programs, how would you explain the

     24     difference between TPS and Cognos to me?

     25         A.    I would say Cognos looks better.          And if

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      1     you're pulling information from TPS, there's a lot

      2     of activity in the company, because it's the heart

      3     of the company's information, that sometimes if you

      4     try to run information, the report will cancel

      5     itself because it's too busy, too much traffic.

      6     Cognos gives you an ability to run information and

      7     not have to worry about that at -- as often.

      8         Q.    If I'm Latoya or somebody in her position,

      9     what would you tell me to use TPS for?

     10               MS. KOSKI:     Object to form.

     11         A.    TPS is the internal information for the

     12     customers and the items that we sell.

     13         Q.    So what would you tell me to use it for

     14     specific to my job?

     15         A.    We review a customer's profile; we review

     16     their eligibility; we review sales.

     17         Q.    If I'm Latoya or somebody in her position,

     18     what would you tell me to use Cognos for?

     19         A.    Reporting.

     20         Q.    When you access Cognos, whether you're

     21     Latoya or yourself, can you make changes to

     22     information in Cognos?

     23         A.    Changes?

     24         Q.    Well, you said previously you can't update

     25     things in Cognos.       I guess I want to understand what

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      1     you mean by that.

      2         A.    No, I cannot make any changes to information

      3     that you're reporting on.

      4         Q.    Can you make changes to, say, customer

      5     information?

      6         A.    No.

      7         Q.    So Cognos is simply a program that you pull

      8     information from, not one that you put information

      9     into?

     10         A.    Correct.

     11         Q.    If you want to put information in about a

     12     customer, that would go into TPS?

     13         A.    Correct.

     14         Q.    Is there any other way that you understand

     15     information goes into Cognos besides TPS?

     16         A.    I believe they have information -- the

     17     reporting capabilities, there is information, but

     18     it's not something that I use.

     19         Q.    You said you believe they have information,

     20     the reporting capabilities.         What do you mean by

     21     that?    It's not something you -- what do you --

     22     explain that to me.

     23         A.    They call it, like, a data warehouse, and

     24     different departments have different needs and

     25     different things that they're looking at and

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      1     reporting on in that -- in their data warehouse that

      2     I don't -- I'm unfamiliar with, I don't use.

      3         Q.    When you say "they," who is "they"?

      4         A.    All the other departments at Anda.

      5         Q.    So that's in Cognos?

      6         A.    Yes.

      7         Q.    Got it.    So let's go back for second.         In

      8     2011 -- we'll just spend a little bit -- and by way

      9     of background, we'll spend a little while longer on

     10     reports, and then we'll probably take a break for

     11     lunch --

     12         A.    Uh-huh.

     13         Q.    -- once we get done with this section.

     14               But let's go back to 2011.         You said that

     15     there was a report you wanted to create in Cognos

     16     that didn't exist; is that right?

     17         A.    I don't know if it existed or not.          I had a

     18     preference to view the report in a different way.

     19         Q.    What report was that?       Do you recall?

     20         A.    The report that I wanted to view was looking

     21     at a customer's profile and sales.

     22         Q.    Why did you want to do that?

     23         A.    Because it's part of the job

     24     responsibilities within the department.

     25         Q.    Do you recall the first time you wanted to

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      1     look at that report?

      2               MS. KOSKI:     Object to form.

      3         A.    The -- the report had to be created first.

      4         Q.    The report had to be created.         Okay.

      5         A.    In that -- in that environment.

      6         Q.    Because it did not exist before?

      7         A.    In the Cognos environment.

      8         Q.    It did exist in the TPS?

      9         A.    Perhaps.

     10         Q.    Was this report your idea, or was it someone

     11     else's?

     12         A.    It was my idea and preference to report in

     13     that environment.

     14         Q.    Is that the first report you remember

     15     creating in Cognos?

     16         A.    Yes.

     17         Q.    And when did you do that, when you first

     18     started?

     19               MS. KOSKI:     Object to form.

     20         A.    I don't recall the time frame.

     21         Q.    When you first started as a DEA compliance

     22     analyst, were you told by Michael Cochrane or Emily

     23     Schultz that there are certain reports that you're

     24     going to need to look at on a regular basis as a

     25     compliance analyst?

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      1         A.    I was tasked with standards that Anda wanted

      2     with regards to the review of our customers and how

      3     I would ultimately adhere to those standards.

      4         Q.    What specific standards were you tasked

      5     with?

      6         A.    Recordkeeping, reviewing customers for

      7     eligibility, reviewing their sales, and collecting

      8     the due diligence that was required to engage in

      9     controlled substance business.

     10         Q.    When you started as a compliance analyst --

     11     or a DEA analyst in the compliance department, were

     12     you given a list of, say, procedures that you were

     13     to follow to do your job?

     14         A.    We were familiar with the procedures in the

     15     department, yes.

     16         Q.    Do you recall what those were at that time?

     17         A.    I don't recall what they were at the time.

     18         Q.    Do you recall if they had certain names?

     19         A.    No, I do not.

     20         Q.    Do you recall if they were given to you

     21     orally or on a piece of paper?

     22         A.    I do not recall.

     23         Q.    Are you familiar with the company's, Anda's,

     24     standard operating procedures now --

     25         A.    Now, yes.

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      1         Q.    -- sitting here today?

      2         A.    Today, yes.

      3         Q.    Were you trained in the company's standard

      4     operating procedures when you first started as a DEA

      5     analyst?

      6         A.    I don't recall.

      7         Q.    Do you know what SOP 40 is?

      8         A.    Yes, I do.

      9         Q.    When do you first remember becoming aware of

     10     SOP 40?

     11         A.    So those -- the SOP is guidelines for what's

     12     required of our department and our position.             So I

     13     immediately became aware of the requirements and the

     14     guidelines for the department.

     15         Q.    How did you become aware of them?

     16         A.    Training.

     17         Q.    By whom?

     18         A.    By Emily and Michael.

     19         Q.    You said earlier your training over the

     20     course of the year was learning about, you know, the

     21     different ways that you needed to do your job, going

     22     to some different conferences sponsored by the DEA

     23     and Buzzeo.     And now you've added to that list Emily

     24     and Michael would have trained you in Anda internal

     25     company procedures, correct?

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      1         A.    Correct.

      2         Q.    Are there other things that your training

      3     consisted of in 2011 when you became a DEA

      4     compliance analyst?

      5         A.    It's not training, but we monitor news.            We

      6     monitor anything pertinent to what we do.

      7         Q.    At that time, how many people were in the

      8     compliance department?        Do you recall?

      9               MS. KOSKI:     Object to form.

     10         A.    So compliance -- specifically DEA compliance

     11     or regulatory compliance?

     12         Q.    DEA compliance, that was you and Michael and

     13     Emily.

     14         A.    Yes, for a short period of time.

     15         Q.    Did that change?

     16         A.    Yes.

     17         Q.    When?

     18         A.    Within a month or so.

     19         Q.    How did that change?

     20         A.    There was a new hire.

     21         Q.    Who was that?

     22         A.    It was, I believe, Howard, and I don't

     23     remember his last name.        He was there for a short

     24     period of time.

     25         Q.    Okay.    What was his role?

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       1         A.    He was brought in as the director.

       2         Q.    Did you have an understanding why they were

       3     hiring a director?

       4         A.    No, I did not.

       5         Q.    Were you told when you took the job as a

       6     compliance analyst that they would be hiring a

       7     director?

       8         A.    There was a job posted.

       9         Q.    There was a job posted, and that's how you

      10     were aware of it?

      11         A.    Correct.

      12         Q.    Did you have a meeting with Emily and

      13     Michael, when you started as a compliance analyst,

      14     that talked about what was going to be happening in

      15     the compliance department in the next few months?

      16         A.    No.

      17         Q.    Did you have any conversations about what to

      18     expect in the coming months?

      19         A.    No.

      20         Q.    They just said:      This is your job; this is

      21     what you need to do; start doing it?

      22         A.    Correct.

      23         Q.    You said that Howard was there for just a

      24     short period of time?

      25         A.    Correct.

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       1         Q.    How long would you say?

       2         A.    I really don't know.        It was less than

       3     probably three months.

       4         Q.    Do you have any understanding of why it was

       5     such a short period of time?

       6         A.    I do not.

       7         Q.    Did you report to Howard?

       8         A.    No, I did not.

       9         Q.    Did you interact with Howard?

      10         A.    Yes.

      11         Q.    In what way?

      12         A.    He worked in the same department.

      13         Q.    Did you have an understanding of what his

      14     job was as director?

      15         A.    The same as ours, same reviews and same

      16     responsibilities.

      17         Q.    Is that the job that you hold now?

      18         A.    No.    He was a director.

      19         Q.    So what would make him a director and you an

      20     analyst, then?

      21               MS. KOSKI:     Object to form.

      22         A.    At that time?      I don't know.

      23         Q.    What was your understanding of Emily's role

      24     at that time?

      25         A.    Emily -- I don't -- I don't recall her title

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       1     at the time.

       2         Q.    What was your understanding of her role?

       3         A.    She was a manager.

       4         Q.    So what did that mean?

       5         A.    She was a manager within the compliance

       6     department.

       7         Q.    And what was your understanding of Michael's

       8     role at that time?

       9         A.    He was an executive director of the

      10     compliance department.

      11         Q.    Sitting here today, do you use TPS or Cognos

      12     to report -- pull reports?

      13         A.    I use both.

      14         Q.    What sort of reports do you pull from TPS?

      15               MS. KOSKI:     Object to form.

      16         A.    Sales and customer information.

      17         Q.    What sort of -- any -- anything else?

      18         A.    That's specific to what we do.

      19         Q.    So sales -- what do you mean by sales?

      20         A.    Customer sales.

      21         Q.    So a customer's sales history with --

      22         A.    Correct.

      23         Q.    -- Anda?     And then you said customer

      24     information you would also pull from TPS?

      25         A.    Correct.

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       1         Q.    What would that include?

       2         A.    The customer's profile, so licensing,

       3     eligibility for controls.

       4         Q.    What would you -- what reports would you

       5     pull today from Cognos?

       6         A.    So as a report, like, author, it depends on

       7     what I needed to see.

       8         Q.    When you go into TPS, are there certain

       9     reports that are created in the system that you can

      10     just hit a button and say this is the report that I

      11     want?

      12         A.    So nothing is, like, a button.          It's --

      13     there are reports that are created, and you have to

      14     go into these reports.        And even though the report

      15     is created, you would have to specify what it is

      16     you're wanting to pull.

      17         Q.    And if I were, say, someone in Latoya's

      18     position and you were to show me how to do that,

      19     how -- you would sign into TPS, correct?

      20         A.    Correct.

      21         Q.    And you would just walk her through those

      22     steps, right?

      23         A.    Correct.

      24         Q.    And you said, sitting here today, you're not

      25     sure if you could do that or not?

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       1         A.    Here?

       2         Q.    Yes.

       3         A.    I'm not sure.

       4         Q.    Because you're just not sure if you can

       5     access that environment?

       6         A.    Correct.

       7         Q.    But you know that you are able to access it

       8     at home?

       9         A.    Yes.

      10         Q.    And then in Cognos, are there -- is a report

      11     created every time, or are there certain saved

      12     reports that you can just access at any point?

      13               MS. KOSKI:     Object to form.

      14         A.    So reports are created, but we -- we refer

      15     to something as a prompt, meaning the person who is

      16     pulling the report has to use prompts and specify

      17     what you're pulling.

      18         Q.    Okay.    So give me an example of what you

      19     mean by that.

      20         A.    So am I wanting to look at all active

      21     customers at Anda?       I would have to specify that I'm

      22     wanting to see active customers at Anda.

      23         Q.    Would you specify anything else?

      24         A.    It depends on the business needs of what I

      25     was wanting to pull.

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       1         Q.    When you mean "active customers at Anda,"

       2     what do you mean?

       3         A.    So we have customers that are now out of

       4     business.     They're not active at Anda.

       5         Q.    Active means eligible to purchase or that

       6     are actively purchasing?

       7         A.    Active meaning eligible to purchase at Anda

       8     because they are an active customer at Anda.

       9         Q.    Do you know what ARCOS is?

      10         A.    Yes.

      11         Q.    What is it?

      12         A.    They -- it's reporting directly to the DEA

      13     specific to narcotics.

      14         Q.    Is it a program?

      15         A.    No.

      16         Q.    Is it -- is it a database?

      17         A.    No.

      18         Q.    Is it something that you have responsibility

      19     for?

      20         A.    It's the responsibility of the compliance

      21     department, yes.

      22         Q.    How does Anda report information to ARCOS?

      23               MS. KOSKI:     Object to form.

      24         Q.    If you know.

      25         A.    I don't -- I'm not a part of that.

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       1         Q.    Who is a part of that?

       2         A.    IT.

       3         Q.    Do you under -- do you have an understanding

       4     of how IT gets the information to report to ARCOS?

       5         A.    I do not.     I would assume it's transactions

       6     and sales.

       7         Q.    Through TPS?

       8         A.    Yes.

       9               (Anda - Solis Exhibit 4 was marked for

      10     identification.)

      11     BY MS. ELLIS:

      12         Q.    I'm handing you what's been marked as

      13     Exhibit 4, labeled -- starting with Bates Number

      14     453833.    This is an e-mail from Natashia

      15     Jean-Charles to yourself, Mary Barber, and Latoya

      16     Samuels, correct?

      17         A.    Correct.

      18         Q.    Who is -- who's Natashia?

      19         A.    She no longer works with Anda.

      20         Q.    Did she work with Anda at some point?

      21         A.    Yes.

      22         Q.    What did she do?

      23         A.    She was a compliance clerk.

      24         Q.    Did she -- was she in the compliance

      25     department?

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       1         A.    Yes.

       2         Q.    And what did she do?

       3         A.    At this point, looking at this e-mail, she

       4     was helping to -- the e-mail group that I mentioned,

       5     where you can submit information to the compliance

       6     department, she was helping to take in data and save

       7     it.

       8         Q.    Save it where?

       9         A.    To our records.

      10         Q.    Which are saved where?

      11         A.    They're saved within our O drive.

      12         Q.    And that's what this e-mail, in fact, says,

      13     correct?     The following DD report has been added to

      14     the O drive.      Right?

      15         A.    Yes.

      16         Q.    And then there's a TPS number in

      17     parenthesis, right?

      18         A.    Yes.

      19         Q.    What is that TPS number?

      20         A.    That's the customer number at Anda.

      21         Q.    Okay.    There's some information that's

      22     highlighted below the customer information.             Do you

      23     see that?

      24         A.    Yes.

      25         Q.    What -- is that a copy-and-paste from

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       1     somewhere?

       2               MS. KOSKI:     Object to form.

       3         A.    This is compliance notes.

       4         Q.    Where would that come from?

       5         A.    TPS.

       6         Q.    So is this a report that you could run

       7     through TPS, is compliance notes?

       8         A.    It could be pulled.

       9         Q.    Have you been -- ever been asked to pull

      10     that report?

      11               MS. KOSKI:     Object to form.

      12         A.    I've never been asked to pull a report.

      13         Q.    Have you ever pulled that report before?

      14         A.    I do not pull that report.

      15         Q.    Who does?

      16         A.    I could get that information with IT.

      17         Q.    But it is a report you're aware TPS is

      18     capable of producing?

      19         A.    So it's not a report, but it's -- you

      20     could -- you could request that someone report on

      21     that information.

      22         Q.    I guess I don't understand what the

      23     difference is.      What -- can you explain that to me?

      24         A.    So, like, I think of a report as being

      25     something created, and there's a certain output

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       1     there.    There is no, like, report specifically for

       2     this, but you can ask for this information to be

       3     reported on.

       4         Q.    So you could go to IT and say, I want all of

       5     this information from any customer that has

       6     information there?

       7         A.    Correct.

       8         Q.    Have you ever done that before?

       9         A.    I have -- we -- in our department, our focus

      10     is on our notes, so we look at it customer by

      11     customer.

      12         Q.    You wouldn't look at them as a -- as a

      13     group, per se?

      14         A.    It's not important to our function.

      15         Q.    So, for example, using Exhibit 4, you

      16     were -- you, Natashia, Mary Barber, and Latoya

      17     and presumably Robert Brown were looking at Reams

      18     Palace Drug, correct?

      19         A.    This e-mail seems to indicate that the

      20     customer provided new information to Anda.

      21         Q.    Is this the sort of e-mail that you recall

      22     receiving on a regular basis?

      23         A.    At the time, Natashia was assisting with

      24     this, because there was, like, an inbox for our

      25     department where a customer is able to submit that

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       1     information.      So, yes, we currently still have an

       2     inbox where we are able to take in information

       3     provided by a customer.

       4         Q.    So Natashia would get something from the

       5     inbox, right?

       6         A.    Correct.

       7         Q.    And then she would copy some of that

       8     information from the inbox?

       9         A.    She would save the information to our files.

      10         Q.    And then what would she do?

      11         A.    So this example that is here, she's

      12     explaining that new information has been received,

      13     and she's communicating that to the DEA team since

      14     she was in a clerical role, and then it's -- as an

      15     FYI.

      16         Q.    So you know that the information has been

      17     received and that she checked TPS customer notes?

      18         A.    Correct.

      19         Q.    Would you do anything with an e-mail like

      20     this once you received it?

      21               MS. KOSKI:     Object to form.

      22         A.    You -- so the way it worked is if a customer

      23     is requesting something from Anda, that request is

      24     initiated by the customer to the sales rep, and then

      25     it's passed over to the compliance department to

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       1     review.    So sometimes information comes into the

       2     department, and we're not clear on what's being

       3     asked from the department.

       4         Q.    Let's walk through that process, and then we

       5     may be at a good point to break.

       6               So when a customer makes a request to

       7     someone in sales, what is your understanding of how

       8     they do that?

       9         A.    If a customer is an existing Anda customer,

      10     and they've never been eligible for controls, they

      11     may have this conversation with our sales rep.              And

      12     the sales rep will tell the customer what is

      13     required for review of controlled substance

      14     eligibility.      And then that information is put in a

      15     queue of sorts for the compliance department to

      16     review the customer.

      17         Q.    Would the customer use any sort of computer

      18     program to communicate with the sales reps, that

      19     you're aware of?

      20         A.    I'm not aware of that.

      21         Q.    So it would be a conversation over the phone

      22     or perhaps --

      23         A.    Right.

      24         Q.    -- by e-mail, correct?

      25         A.    Correct.

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       1         Q.    And then the sales rep would communicate

       2     with the compliance department by sending things to

       3     a particular e-mail?

       4         A.    It's possible the customer could submit the

       5     information to the sales rep, and they also have the

       6     option to submit it directly to compliance by

       7     preference.

       8         Q.    How would -- is there a way that they should

       9     do it, according to Anda policy?

      10         A.    No.

      11         Q.    How would a customer know the compliance

      12     information?      Do you talk to customers on a regular

      13     basis?

      14         A.    No.

      15               MS. KOSKI:     Object to form.

      16               Go ahead, sorry.

      17         A.    No, we do not.

      18         Q.    Then how would a customer just know to send

      19     something directly to compliance?

      20         A.    So on our questionnaire, there is a section

      21     that indicates how they're able to submit

      22     information to the compliance department, and the

      23     questionnaire indicates different requirements that

      24     are needed in order to be reviewed for a controlled

      25     substance eligibility.

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       1               And the sales representatives, if we're

       2     speaking of today, they're -- they're aware of

       3     compliance requirements because if those

       4     requirements are not received, then it's not

       5     reviewed by compliance.

       6         Q.    So in 2011, what were the requirements that

       7     needed to be received to set up a new customer?

       8               MS. KOSKI:     Object to form.

       9         A.    Sorry.    So for a person who --

      10         Q.    When you started in 2011 in this role, and

      11     you were to receive this in --

      12         A.    Uh-huh.

      13         Q.    -- what sort of information would you expect

      14     to see from a new customer?

      15         A.    If a customer was wanting to be approved for

      16     controls, they would need to provide dispensing

      17     information.      They would need to have a customer

      18     questionnaire on file.        It's also asked that they

      19     provide policies, procedures, pictures, and anything

      20     other, that they're specifically requesting to be

      21     reviewed.

      22         Q.    And how did you know, as a new DEA

      23     compliance analyst, that that's what the customer

      24     needed to submit?

      25         A.    Remedy indicates what is required, and you

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       1     know because that's part of your training to the

       2     standards that are required to review a new customer

       3     to controls.

       4         Q.    So when you say "standards," what are you

       5     referring to?

       6         A.    Procedures, standards, requirements.

       7         Q.    Is there a specific procedure?

       8         A.    The procedure to -- so, sorry, if I'm

       9     following, are you saying, like, is there something

      10     outlined or in training?

      11         Q.    Outlined, is there something outlined that

      12     you would know as a reference?          Say, I'm a new DEA

      13     compliance analyst.       I need to know what it takes to

      14     set up a new customer.        Is there something I can go

      15     to see what that list required?

      16         A.    At the time, it was training, and again,

      17     Remedy states those requirements.           So any time that

      18     you're reviewing any task on the front end as part

      19     of our suspicious order monitoring, it's required

      20     that those documents are provided in order for us to

      21     review it.

      22         Q.    So when you say it was training, you mean

      23     there wasn't, like, a procedure you could look at to

      24     say this is what's required, correct?

      25               MS. KOSKI:     Object to form.      You mean a

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       1         written procedure?

       2                MS. ELLIS:    Yes.

       3         A.     At the time, it was training on what are the

       4     standards and requirements.

       5         Q.     Are you aware of who had set the

       6     requirements in Remedy at that point?

       7         A.     I'm not aware.

       8         Q.     Are you aware of whether there were any

       9     written procedures that governed the requirements

      10     that were in Remedy at that time?

      11         A.     At that point, no.

      12         Q.     You don't know, or there weren't any?

      13         A.     At that point, it was not something that I

      14     was aware of.

      15                MS. ELLIS:    This is probably a good time for

      16         a break.

      17                MS. KOSKI:    Okay.    I heard noise at the

      18         door.

      19                THE VIDEOGRAPHER:      The time is 12:27 p.m.

      20         We're going now off the record.

      21              (Recess from 12:27 p.m. until 1:06 p.m.)

      22                THE VIDEOGRAPHER:      The time is 1:06 p.m.

      23         We're now back on the video record.

      24     BY MS. ELLIS:

      25         Q.     Sabrina, I'm going to direct you back to

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       1     Exhibit 4 for a moment.

       2         A.    Okay.

       3         Q.    So you testified prior to the break that the

       4     highlighted information on this e-mail is from the

       5     TPS system customer notes field, correct?

       6         A.    Correct.

       7         Q.    Is this typical of the information that you

       8     would find in that field?

       9         A.    Those notes indicate compliance reviews of

      10     customers.

      11         Q.    What else might those notes include?

      12               MS. KOSKI:     Object to form.

      13         Q.    If anything?

      14         A.    It's any comment or determination upon a

      15     review of a customer.

      16         Q.    So when you say compliance review of

      17     customers, what do you mean by that?

      18         A.    Those are specifically compliance notes.

      19         Q.    So a compliance review of a customer,

      20     there's two examples, I guess -- or three examples

      21     right here on Exhibit 4 that we can -- we can look

      22     at.   A compliance note might include whether a

      23     customer was approved or denied for a purchase of a

      24     controlled substance, right?

      25         A.    Correct.     So that first comment seems to

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       1     indicate that the customer or sales rep initiated a

       2     request for oxycodone family, and it was denied by

       3     compliance.

       4         Q.    And the initials -- or it looks like there's

       5     a name next to the "oxy denied."           Is that right?

       6         A.    Yes.

       7         Q.    And that is -- what does that indicate to

       8     you?

       9         A.    The name of the person who entered the

      10     compliance note.

      11         Q.    That's Mary Barber?

      12         A.    Correct.

      13         Q.    Who is Mary Barber?

      14         A.    She was a compliance analyst.          She's no

      15     longer with Anda.

      16         Q.    Did she work -- did she work under you?            Did

      17     she report to you?

      18         A.    No, she did not.

      19         Q.    Were you in the same position?

      20         A.    She was a compliance analyst, and we were in

      21     the same position for a short time.

      22         Q.    So your jobs would have been the same?

      23         A.    Correct.

      24         Q.    So your name could have just as easily been

      25     there as hers?

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       1               MS. KOSKI:     Object to form.

       2         A.    I could enter compliance notes.

       3         Q.    And then there's a date next to her name

       4     there on the left-hand side.          What does that

       5     indicate to you?

       6         A.    The date of the compliance note entry.

       7         Q.    And that's 1/10/13 in this case, correct?

       8         A.    Correct.

       9         Q.    And then the second line of information here

      10     has a date of 1/8 -- or 11/8/12; is that right?

      11         A.    Yes.

      12         Q.    So the compliance notes don't just take the

      13     last entry into account; it includes all previous

      14     entries as well.       Is that your understanding?

      15               MS. KOSKI:     Object to form.

      16         A.    It should show any compliance note entered.

      17         Q.    So any compliance note entered since the

      18     customer had been purchasing products from Anda?

      19         A.    I -- I can't answer when that capability was

      20     available to compliance to make notes.            So just from

      21     my experience, it should show any notes that we've

      22     made.

      23         Q.    When you started as a DEA compliance analyst

      24     in 2011, were you able to make compliance notes?

      25         A.    Yes.

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       1         Q.    Since you've been in the compliance

       2     department, have you seen compliance notes in TPS

       3     prior to -- that were dated prior to 2011?

       4         A.    I believe so.

       5         Q.    Do you recall the earliest or any sort of

       6     date prior to 2011 that you recall seeing in a

       7     compliance note field?

       8         A.    I don't recall how -- how old they are.

       9         Q.    And so on this line, the next over from the

      10     date, 11/18 -- or 11/8/12 is EA Schultz.             Would that

      11     be Emily Schultz?

      12         A.    Correct.

      13         Q.    And so this -- that would indicate to you

      14     that she's the one that entered this compliance --

      15     particular compliance note?

      16         A.    Yes.

      17         Q.    And this particular compliance note says:

      18     No controls ever reported to the DEA.            Right?

      19               MS. KOSKI:     Object to form.

      20         A.    That's what it says.

      21         Q.    What does that mean to you?

      22         A.    So what had occurred at a certain point in

      23     time is if a person was reported to the DEA, you did

      24     not sell controls to them.

      25         Q.    So -- and when -- and when you say person,

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       1     you mean customer, correct?

       2         A.    Correct.

       3         Q.    A customer who was buying --

       4         A.    Right.

       5         Q.    -- controlled products from Anda.

       6         A.    Uh-huh.

       7         Q.    Yes?

       8         A.    Yes.

       9         Q.    So this is two types of information, one,

      10     that this customer was reported to the DEA, right?

      11         A.    Correct.

      12         Q.    And then, two, that no controls should be

      13     sold to that customer going forward from

      14     November 8th of 2012, right?

      15               MS. KOSKI:     Object to form.

      16         A.    That is what the comments show.

      17         Q.    Well, beyond the comments showing that, if

      18     you were to later look at this customer, say, and

      19     they placed an order for controlled substances, and

      20     you saw that, what would that mean to you?

      21               MS. KOSKI:     Object to form.

      22         A.    So with the evolving times, there are

      23     instances where it is possible that a customer

      24     provides additional information.           It's possible that

      25     you reinstate controls.        I'm not familiar with this

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       1     customer.

       2         Q.    What do you mean, "with the evolving times"?

       3         A.    Meaning that today, in 2019, it is possible

       4     that you made a determination at one point in time,

       5     and with new review of the customer and a sufficient

       6     amount of time, it's possible that you could

       7     reinstate controls.       But I don't know what happened

       8     in this situation.

       9         Q.    Well, taking collectively these two entries

      10     from November 8th, 2012 and January 10th, 2013, are

      11     you able to understand compliance's -- Anda

      12     compliance's interaction with Reams Palace Drug?

      13               MS. KOSKI:     Object to form.

      14         A.    No, I'm not.

      15         Q.    What does this -- what do these two entries

      16     say to you, sitting here today?

      17         A.    In and of themselves, it looks like one

      18     person said they would not sell controls at one

      19     point in time, and they were reported.            And at

      20     another point in time, it says that they were denied

      21     a control family.

      22         Q.    If you were not sitting here in a deposition

      23     today, but sitting in your office and looking at

      24     this from a compliance perspective, would you have

      25     any reason to believe that that -- that those two

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       1     things had not happened?

       2               MS. KOSKI:     Object to form.

       3         A.    I would have to research it further.

       4         Q.    You would rely on these, though, to start

       5     your research, correct?

       6         A.    It would be the beginning of research.

       7         Q.    And you would potentially -- potentially

       8     talk to these people as part of your research?

       9         A.    We don't ever speak to customers on a --

      10         Q.    I'm sorry, let me rephrase.         I meant the

      11     other people in the compliance department.

      12         A.    I could do that, or I could research

      13     recordkeeping.

      14         Q.    How would you research?

      15         A.    I would research recordkeeping and see what

      16     we have on file, what could have been reviewed, what

      17     could have been looked at.

      18         Q.    Okay.    So walk me through that process.

      19     When you say "research recordkeeping," what do you

      20     mean by recordkeeping?

      21         A.    The due diligence that is collected for a

      22     customer at the time of review.

      23         Q.    So you testified earlier that due diligence

      24     can happen at two times:         One, when a customer

      25     applies to purchase controls for the first time,

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       1     correct?

       2         A.    Correct.

       3         Q.    And, two, if a customer would like -- has

       4     not purchased controls before and would like to

       5     purchase controls, correct?

       6         A.    Correct.

       7         Q.    And so that might be an existing customer

       8     that just wants to add a new product, right?

       9         A.    A new product family, correct.

      10         Q.    Any other times that you might do due

      11     diligence for a customer?

      12         A.    Upon request.

      13         Q.    What do you mean by "request"?

      14         A.    If compliance requests it for whatever

      15     reason.

      16         Q.    What sort of reasons would compliance

      17     request it for?

      18         A.    It could be a sales rep-initiated request.

      19     It could be a customer's question through their

      20     sales rep.     I can't speculate, but something would

      21     make us look into something further.

      22         Q.    Well, I'm not asking you to speculate.            I'm

      23     asking you if you can recall some examples of when

      24     you might have received one of those requests from

      25     the sales department and what those requests would

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       1     have been.

       2         A.    So, like, in this example, if oxycodone was

       3     denied, somebody seemed to have requested it.              And

       4     if you see the previous note, you would probably be

       5     interested in understanding their current state of

       6     business, their business overall, and you would want

       7     to look into it.

       8         Q.    Okay.    So let's use this as an example.

       9     Let's assume for a moment that the entry from

      10     January 10th, 2013 is not there, and you are the

      11     compliance analyst that received a request from

      12     Reams Palace Drug.       Okay?

      13         A.    Uh-huh.    Yes.

      14         Q.    Yes.    So you would receive a request through

      15     the e-mail inbox that you referenced before, right?

      16         A.    Requests typically come through Remedy since

      17     it's a task management system.

      18         Q.    So when you log into Remedy, do you -- is

      19     there, like, a -- what do you see?

      20         A.    It's a queue of sorts where the different

      21     types of requests are entered by the sales rep for

      22     our review.

      23         Q.    So you log into Remedy, and you see sort of

      24     a queue.     Is that a queue that's shared with you

      25     alone as a compliance analyst, or is it shared with

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       1     the compliance department, and multiple analysts see

       2     the same thing?

       3         A.    Compliance analysts have access to the same

       4     queue.

       5         Q.    So is this something, as a compliance

       6     analyst, that you would do on a daily basis, log

       7     into Remedy?

       8         A.    No.

       9         Q.    When would you log into Remedy?

      10         A.    So it would be the person who is -- that is

      11     their core responsibility, is reviewing the pharmacy

      12     sales rep requests.

      13         Q.    And in this circumstance, it was Natashia?

      14         A.    Natashia only took in the data that was

      15     provided by the customer to the department.             It

      16     looks like Mary was the analyst who reviewed the

      17     oxycodone request.

      18         Q.    So when you began in the compliance

      19     department in 2011, was this the system that was

      20     followed at that point?

      21         A.    Please explain "the system" as far as --

      22         Q.    Well, you said there was one person assigned

      23     to review the sales rep requests that came through

      24     Remedy.    Was that what was done in 2011?

      25         A.    No.   In 2011 it was a shared effort.

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       1         Q.    So what does that mean?

       2         A.    That means that in 2011, Emily Schultz was

       3     there, and I came into the department.            And then in

       4     addition, Mary came, I believe, in in 2012, so --

       5         Q.    So in 2011, if a Anda customer who had been

       6     a customer, but had never purchased controls and

       7     wanted to purchase controls, that customer would

       8     talk to their sales rep, right?

       9         A.    Correct.

      10         Q.    And then that sales rep would put in a

      11     request to the compliance department, right?

      12         A.    Correct.

      13         Q.    And they would do that using Remedy,

      14     correct?

      15         A.    That is what should happen, yes.

      16         Q.    There are other ways that it could happen?

      17         A.    It should not, no.       That should be how it

      18     works, yes.

      19         Q.    But were there other ways?         Whether it

      20     should happen or not, did it --

      21         A.    I can't answer that.        You would hope it's

      22     not in an e-mail, but this is what was required at

      23     the time.

      24         Q.    But it could have been in an e-mail?

      25         A.    I don't know.

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       1         Q.    Do you ever recall it being in an e-mail?

       2         A.    There have been instances where people

       3     request something in an e-mail, but it was always

       4     asked to be entered into Remedy.

       5         Q.    So in any event, this system that -- the

       6     Anda compliance system, whether -- as it was laid

       7     out through training that you testified earlier, was

       8     that sales reps would make requests through Remedy,

       9     right?

      10         A.    Correct.

      11         Q.    And you don't know that that was on any sort

      12     of written policy or paper anywhere, right?

      13         A.    Sorry?

      14         Q.    So, like, if a sales rep e-mailed you a

      15     request from a customer, and you wanted them to put

      16     it in Remedy instead --

      17         A.    Uh-huh.

      18         Q.    -- would you just tell them to put it in

      19     Remedy instead, or would you say, per this policy

      20     located in this place?

      21         A.    It would not be a policy.         It would be a

      22     compliance requirement.

      23         Q.    So those weren't written down somewhere for

      24     sales reps to reference?

      25         A.    Other than instruction by our department and

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       1     an awareness of what's required by our department.

       2         Q.    That's the only way a sales rep would know?

       3         A.    Right.

       4         Q.    So at that point, let's assume that the

       5     sales rep makes the request through Remedy, and it

       6     was you and Emily Schultz.         You said it was a shared

       7     responsibility to review that request, right?

       8               MS. KOSKI:     Object to form.

       9         A.    There was shared access to Remedy.

      10         Q.    So you each had your own log-in?

      11         A.    Correct.

      12         Q.    But you would see the same information?

      13         A.    You could see the same information.

      14         Q.    So do you recall when that changed?

      15         A.    Sorry.    When what part changed?

      16         Q.    I guess it was when you -- when you couldn't

      17     see the same information.         You didn't have shared

      18     access.

      19         A.    Well, the department -- anyone in the

      20     department has access to log into Remedy within the

      21     DEA compliance side.

      22         Q.    But I think you testified earlier that at

      23     some point in time, it changed, like, you

      24     individually could only see certain things at some

      25     point now, or you all still see the same

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       1     information?

       2         A.    You could -- you could still all log into

       3     Remedy.

       4         Q.    Okay.    So a sales rep puts a request in

       5     Remedy.    You and Emily log in, right?

       6         A.    At this point in time?

       7         Q.    Yes.

       8         A.    At this point in time, I can't speak to who

       9     reviewed it because Mary was in the department at

      10     the time, too.      And at that point in time, Emily was

      11     reporting to the DEA.        But I don't know who the

      12     analyst is that indicated to report it to the DEA.

      13     I don't know who -- who reviewed and made that

      14     determination.

      15         Q.    Based on this entry, what is your

      16     understanding that Emily did?

      17         A.    Reported it to the DEA, because she would do

      18     that.

      19         Q.    But based on what you see here, you don't

      20     know what happened prior to that point?

      21         A.    I don't -- I don't know who analyzed the

      22     customer and made the determination to report it.

      23         Q.    Okay.    Fair enough.     Let's assume that you

      24     are the analyst, after November 8th of 2012, that

      25     logs into Remedy and sees a request from this

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       1     customer to order oxy.        Let's pretend for a second

       2     that January 10th, 2013 entry is not here.             Okay?

       3         A.    Uh-huh.

       4         Q.    So what would you do first?

       5         A.    Well, first you would see that they were

       6     declined or -- controls/no controls, and then you

       7     would look into their request and examine the amount

       8     of time between the requests, and make a

       9     determination based on the information you have.

      10         Q.    And you said you would do that, earlier, by

      11     looking at the recordkeeping, right?

      12         A.    After -- if I researched, yes.

      13         Q.    Okay.    So let's -- just walk me through

      14     this.    We're pretending again that the Mary Barber

      15     entry isn't there; that the 11/8/2012 entry is; and

      16     you've received a request for an OxyContin order

      17     from this customer.       What would the first thing be

      18     that you would do in order to determine how to

      19     respond to that request?

      20         A.    I would -- we always, as a standard

      21     practice, if a person is allowed -- this is not in

      22     this instance.      If a person is eligible for

      23     controls, a new customer eligible for controls, they

      24     are not immediately eligible for oxycodone.

      25               So in this instance, most likely you -- it's

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       1     a different situation.        You would want to collect

       2     dispensing information, or you would make a

       3     determination based on the previous note.

       4         Q.    So let's take those one at a time.           You

       5     would, one, collect dispensing data, you said,

       6     right?

       7         A.    But the time difference is not -- is not --

       8     in this situation, it's within, it looks like, three

       9     months, so --

      10         Q.    And why -- why is that significant to you?

      11         A.    It's significant because the data is not

      12     outdated.

      13         Q.    When does it become outdated?          Is there a

      14     certain time frame?

      15         A.    It's your discretion with each customer.

      16         Q.    But you think that three months is not

      17     enough time?

      18         A.    If we're speaking about this situation, and

      19     I saw that note, I would say, yes, that's not enough

      20     time.

      21         Q.    Would four months be enough time?

      22         A.    That note saying no controls are reported,

      23     that would make me more conservative in my review of

      24     that customer.

      25         Q.    So would six months be enough time?

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       1         A.    Typically, it's not common that a person who

       2     is reported is reinstated unless there is a

       3     significant amount of time, new ownership, business

       4     changes.

       5         Q.    So what is a significant amount of time?

       6     I'm just trying to understand.

       7         A.    Years.

       8         Q.    Would it be five years?

       9         A.    There is no -- there's nothing defined.

      10     It's discretion with each customer that you're

      11     reviewing.

      12         Q.    So the period of time that would pass after

      13     a customer had been denied controls is discretionary

      14     based on the analyst's own discretion?

      15         A.    So in this specific example, if it has been

      16     reported to the DEA, you would not most likely want

      17     to immediately sell to a customer that was reported

      18     to the DEA unless whoever was analyzing it felt that

      19     there was a significant change to the business.

      20         Q.    And is there a written policy that would

      21     guide that analyst as to what a significant change

      22     meant?

      23         A.    There's no written policy to say that.            You

      24     would be looking at the due diligence and making

      25     that determination.

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       1         Q.    So one analyst could potentially find that

       2     enough time had passed; whereas a different analyst

       3     would find that enough time had not passed.             Is that

       4     fair?

       5         A.    I -- I don't know that.        I don't know what

       6     they would feel.

       7         Q.    You are -- you've talked to other analysts

       8     in your department, right?

       9         A.    Yeah.    But in this specific situation, I

      10     don't know what happened with Mary in January of

      11     2013.    I don't know --

      12         Q.    I'm not asking about --

      13         A.    -- that, yeah.

      14         Q.    -- this specific situation at this point.

      15     I'm just talking generally.         Because there's no

      16     written policy, you said, outlining what those

      17     changes might need to be so that controls could be

      18     reinstated, it's understandable, would you agree,

      19     that one analyst could find enough time had passed,

      20     and another analyst could find that not enough time

      21     had passed?

      22         A.    Most reinstatements are a bigger discussion,

      23     so it's usually -- there's a lot more looked into.

      24         Q.    Okay.    That's fair.     But I'm, again, asking

      25     you -- and remember, I'm not trying to be difficult

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       1     here.    But at the beginning, I said I want to talk

       2     about those things, but first I want to ensure we

       3     get this question answered.

       4               Analysts could come to different

       5     conclusions, right?

       6         A.    Of course.

       7         Q.    So you said you would look at dispensing

       8     data.    There would be changes in the business that

       9     you would look at, such as ownership or new

      10     locations or other information like that.             Right?

      11         A.    So when you're reviewing a customer for

      12     control eligibility, you're looking at control and

      13     noncontrol ratio.

      14         Q.    And what do you mean by that?

      15         A.    The ratio of controlled pills dispensed in

      16     relation to the nonprescription or prescription

      17     drugs that are not controlled substances.

      18         Q.    And what are you looking for in that ratio?

      19         A.    Pills, like, the pills -- pill volume

      20     dispensed.

      21         Q.    So a certain percentage of pills dispensed

      22     being controlled substances would raise a red flag,

      23     per se?

      24         A.    It's not necessarily a percentage.           It's

      25     looking at the top items and top pill volume

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       1     dispensed.

       2         Q.    Why is that important?

       3         A.    Because it indicates the majority of the

       4     pill volume going in and out of a pharmacy.

       5         Q.    Why is that important?

       6         A.    Because for the purposes of our department,

       7     we're reviewing someone for controlled substances.

       8         Q.    And so what would the pill volume going out

       9     of a pharmacy, if there was a higher number of

      10     controls and noncontrols, indicate to you, as a

      11     compliance analyst?

      12         A.    It can indicate a lot of things.           So if it's

      13     a special pharmacy, if it's oncology, if there's

      14     different situations, it could make total sense and

      15     be justified.

      16               If there isn't anything that stands out as

      17     an explanation or a justification, based on the type

      18     of specialization a pharmacy has, then you would

      19     look at it and say there's a lot of controlled

      20     substances.

      21         Q.    And if there were a lot of controlled

      22     substances, what would that indicate to you, as a

      23     compliance analyst?

      24         A.    We're always looking to evaluate risk.

      25         Q.    And a lot of controlled substances would

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       1     indicate a higher risk?

       2         A.    Of course.

       3         Q.    Why?

       4         A.    Because we're discussing selling to a

       5     customer controlled substances.

       6         Q.    And when you say "risks," what do you mean,

       7     risks of what?

       8         A.    So we're supposed to be knowing who we're

       9     selling to, and we're supposed to be aware of who

      10     we're selling to.       And we have to feel comfortable

      11     with their business, so if they're wanting to apply

      12     for controlled substance eligibility with us, and we

      13     see that they're dispensing a lot of controlled

      14     substances, we would need to understand, number one,

      15     why they want to do business with Anda, number two,

      16     why they have that volume.

      17         Q.    And the risk that you're referring to is

      18     that somehow those controlled substances would be

      19     misused?

      20         A.    That's always a possibility.

      21         Q.    That somehow they would not go into

      22     treatment as they were intended?

      23         A.    That's always a possibility.

      24         Q.    So you would look at the control to

      25     noncontrol ratio based on the dispensing data,

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       1     right?

       2         A.    Correct.

       3         Q.    And then you said changes in business or

       4     ownership you would look at, right?

       5         A.    Yes.

       6         Q.    Anything else in the recordkeeping that you

       7     would look at if a customer had come -- if this

       8     particular customer came back to you, as a analyst,

       9     sometime after November 8th, 2012?

      10         A.    If an analyst is reviewing a customer, a

      11     part of what they're able to do is ask more

      12     questions.

      13         Q.    Of whom?

      14         A.    Of the customer.

      15         Q.    So you -- at this point in time, you

      16     could -- you, as the analyst, could contact Reams

      17     Palace and ask them questions?

      18         A.    No.    You would indicate to the sales rep

      19     that you're wanting to know more information.

      20         Q.    So you would talk through the sales rep as a

      21     middle person?

      22         A.    Correct.

      23         Q.    Okay.    So you would look at dispensing data.

      24     You would determine whether there was a change in

      25     business or ownership.        You would potentially ask

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       1     questions from the sales rep.          Anything else that

       2     you would do?

       3         A.    And then research all of the documentation

       4     that we have in our possession.

       5         Q.    And so when you research the documentation,

       6     what documentation would that include?

       7         A.    Dispensing information, policies and

       8     procedures, those are the most pertinent, and the

       9     customer questionnaire.

      10         Q.    And where would you find that information,

      11     as a sales analyst?

      12         A.    That's warehoused on the O drive.

      13         Q.    Would you expect to find policies and

      14     procedures, dispensing information, customer

      15     questionnaire -- and I think that those were the

      16     three that you said -- for every customer on -- that

      17     was attempting to purchase controls?

      18         A.    Those are the guidelines.

      19         Q.    According to what?

      20         A.    To what the department is -- it does upon

      21     review of a customer.

      22         Q.    And where are those guidelines located?

      23         A.    The procedures.

      24         Q.    That would be one of the standard operating

      25     procedures?

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       1         A.    Correct.

       2         Q.    Would that -- do you know which number that

       3     would be?

       4         A.    40.3.

       5         Q.    What do you mean when you say 40.3?

       6         A.    It's a version of the SOP, but I would have

       7     to see if there's other versions.

       8         Q.    What's the difference in the versions, or

       9     what would that mean to you?

      10         A.    Because there's a number of different DEA

      11     compliance SOPs that are out there.

      12         Q.    So are there multiple versions of the same

      13     SOP that could apply at the same time?

      14         A.    There should not be.

      15         Q.    So when you say "versions," do you mean one

      16     version would replace an earlier version?

      17         A.    Correct.

      18         Q.    It's not as if there is one version that

      19     applies to certain customers and another version

      20     that applies to other customers of the same SOP

      21     number?

      22         A.    Not that I'm aware of.

      23         Q.    Okay.    So you would -- say, after this

      24     request came in to renew the controls, you would

      25     look at the recordkeeping, including the due

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       1     diligence.     You would review the ratio of controls

       2     to noncontrols.      You would potentially ask the sales

       3     rep to ask the customer for additional information.

       4               Anything else that you would do in order to

       5     determine whether or not you would allow a customer

       6     to purchase controls?

       7         A.    That's among what we use as a guideline,

       8     yes.

       9         Q.    Is there anything else?

      10         A.    I'm not thinking of anything right now.

      11         Q.    After you did all of those things, what

      12     would you do next?

      13         A.    Make a determination.

      14         Q.    A determination of whether that customer

      15     should buy -- be able to -- be allowed to use

      16     controls or not?

      17         A.    We would make a determination on whatever

      18     the request was, yes.

      19         Q.    And once you made that determination, how

      20     would you indicate that to the customer?

      21         A.    If it came through Remedy, and it was a

      22     sales rep-initiated request, what the -- what

      23     happens is the sales rep communicates to the

      24     customer with compliance's determination.

      25         Q.    Would you record your determination

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       1     anywhere?

       2         A.    If there was a determination made in Remedy,

       3     it's an outcome disposition, and that is recorded.

       4         Q.    You will have to bear with me because I'm a

       5     little dense when it comes to corporate speak

       6     sometimes.     What does -- what does that mean?

       7         A.    So Remedy has something called an outcome

       8     disposition.      This is a sales-initiated request.

       9     This is what the request is, and this is

      10     compliance's determination.

      11         Q.    And that's what you mean by outcome

      12     disposition?

      13         A.    Yes.

      14         Q.    So it sends it back to the sales rep?

      15         A.    Correct.

      16         Q.    And then the sales rep would communicate it

      17     to the customer?

      18         A.    Right.

      19         Q.    Would you then record that information

      20     anywhere so that you would know in the future that

      21     you had made that decision?

      22         A.    It's possible that it would be in the

      23     compliance notes.

      24         Q.    Why do you say it's possible?

      25         A.    Because that's where -- if a note is

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       1     entered, that's where it's entered.

       2         Q.    Would there be occasions where it's not

       3     entered?

       4         A.    Not that I'm aware of, but it depends on the

       5     person who is making a determination to enter a note

       6     or not.

       7         Q.    You would agree that if it's not entered,

       8     that a person later looking at the account may not

       9     have the most accurate information about what had

      10     happened with that account, right?

      11         A.    Correct.

      12         Q.    And that could be problematic in making

      13     decisions about whether or not controls should be

      14     allowed for purchase or not?

      15               MS. KOSKI:     Object to form.

      16         A.    Correct.

      17         Q.    Is it your understanding that -- is it your

      18     understanding that DEA compliance analysts were

      19     required to enter this information into TPS for

      20     those very reasons that you just said?

      21               MS. KOSKI:     Object to form.

      22         A.    Compliance analysts were aware that there is

      23     an area for entering notes.

      24         Q.    That was something you became aware of

      25     during training, right?

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       1         A.    Correct.

       2         Q.    But your -- it was not a requirement that

       3     they include that information?

       4         A.    It's a part of your training that it should

       5     be done.

       6         Q.    Are you aware or were you aware, when you

       7     were trained that it should be done, of any

       8     consequences if you didn't enter that information?

       9               MS. KOSKI:     Object to form.

      10         A.    I'm not aware of a consequence.          Probably a

      11     best practice is what you would say.

      12         Q.    So at that point in time, in 2011, when you

      13     started as a DEA compliance analyst, and you

      14     theoretically did not enter your determination into

      15     TPS, you're not aware that you were violating any

      16     written policy, correct?

      17               MS. KOSKI:     Object to form.

      18         A.    There's no written policy about what -- a

      19     comment, I don't -- I don't believe.

      20         Q.    Your understanding would have been that you

      21     were just violating a best practice?

      22               MS. KOSKI:     Object to form.

      23         A.    Correct.

      24         Q.    And that wouldn't necessarily be anything

      25     that you could be disciplined for?

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       1               MS. KOSKI:     Object to form.

       2         A.    Correct.

       3         Q.    Did that change at any point, that it became

       4     a requirement that an analyst needed to enter

       5     information and keep track of their determinations

       6     in TPS?

       7         A.    There's multiple ways of tracking what an

       8     analyst does.      So because Remedy is a task

       9     management system with an outcome disposition, you

      10     could also go in there and track an outcome.

      11     Another way of tracking an outcome is using the

      12     compliance notes.

      13         Q.    So there's multiple ways of tracking what an

      14     analyst did; is that right?         That's what you said?

      15         A.    An outcome of something that was requested.

      16         Q.    So let's set this Exhibit Number 4 aside for

      17     a -- for a second and just think about a

      18     hypothetical customer, a customer who was a customer

      19     of Anda and a requisite time had passed when they

      20     were eligible to purchase OxyContin.            Okay?

      21               MS. KOSKI:     Object to form.

      22         Q.    Do you follow the hypothetical?

      23         A.    No, I'm sorry.      I missed that.

      24         Q.    That's okay.      I just want to run you through

      25     a hypothetical situation so that I can understand

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       1     how to get an accurate picture of what compliance's

       2     interaction was with that customer.           Okay?

       3         A.    Okay.

       4               MS. KOSKI:     Object to form.

       5         Q.    So let's assume that there is a customer of

       6     Anda's that has not -- that has purchased products

       7     from Anda in the past.        Follow me so far?

       8         A.    Yes.

       9         Q.    You said earlier that a customer who has

      10     purchased products is not able to purchase Anda --

      11     or is not able to purchase OxyContin until a certain

      12     period of time goes by; is that right?

      13         A.    When a customer -- from the time that I've

      14     been there, and you're doing a part of the upfront

      15     review, that is correct.

      16         Q.    Do you know what that period of time is?

      17         A.    It's discretionary upon the person reviewing

      18     the account.      Typically, we like to wait around

      19     three months.

      20         Q.    Why three months?

      21         A.    It's something that we determined

      22     internally.      One of the big asks in our department

      23     is knowing why our customer wants to do business

      24     with Anda.

      25         Q.    Why is that important?

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       1         A.    It's important because you want to know why,

       2     as a secondary supplier, a customer is asking to

       3     have a relationship with your company.

       4         Q.    What difference does it make?

       5               MS. KOSKI:     Object to form.

       6         A.    I'm not following.

       7         Q.    Why does it matter why a customer wants to

       8     have a relationship with your company?

       9         A.    Because you're a secondary supplier, so you

      10     can presume that in most cases, they are getting

      11     supply other places as well.

      12         Q.    Are there reasons that you would think are

      13     bad for a customer to want to have a relationship

      14     with Anda?

      15         A.    It's not necessarily bad.         When you're --

      16     when you're analyzing it, your job is to find out

      17     why that is.

      18         Q.    I understand, but I'm trying to understand

      19     why that matters.

      20         A.    So you -- in this specific example, if this

      21     customer was only coming to Anda for oxycodone, and

      22     the customer had just been turned on as an Anda

      23     customer overall, you would not know at the time

      24     that they only wanted oxycodone.

      25         Q.    Could there be other reasons why you would

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       1     want to know; for example, if they had been denied

       2     purchases of a product from another place that they

       3     could purchase it?

       4         A.    That's important information.

       5         Q.    You would want to know that, right?

       6         A.    You would want to know that.

       7         Q.    And you would try to ask questions that

       8     would help you know that, right?

       9         A.    There is a possibility that you can ask

      10     supplemental questions to ask that information, yes.

      11         Q.    But the goal of this whole process is to

      12     prevent customers, in one way, from coming to Anda

      13     after they've been denied from purchasing controls

      14     from other companies, right?

      15         A.    Correct.

      16         Q.    So the requisite amount of time to purchase

      17     oxycodone, you said, was usually around three

      18     months, but it's discretionary?

      19         A.    Correct.

      20         Q.    Is there any written policy that you're

      21     aware of that guides what that time frame is or

      22     should be?

      23         A.    I believe that it is a part of the

      24     procedures, because oxycodone review is typically a

      25     separate review, apart from a new customer review.

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       1         Q.    So the requisite amount of time has passed

       2     with our -- with our hypothetical customer, right?

       3     They've purchased products from Anda in the past,

       4     they now want to purchase oxy, around three months

       5     has passed and you get the request as an analyst.

       6     Okay?

       7         A.    Uh-huh.

       8         Q.    You follow me?

       9         A.    Yes.

      10         Q.    You would then look at what's on file in the

      11     compliance recordkeeping, right?

      12         A.    Yes.

      13         Q.    And that would be located where?

      14         A.    So if we're talking about due diligence, the

      15     due diligence would be on the O drive.

      16         Q.    And then you said that there were a couple

      17     of other places where you could also look to find

      18     information about a customer in your research.              One

      19     of those would be the customer notes in TPS, right?

      20         A.    Correct.

      21         Q.    And one of those would also be the customer

      22     history in Remedy; is that right?

      23         A.    Correct.

      24         Q.    Are there other places that you would look,

      25     in your research as an analyst, to determine the

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       1     history of Anda's relationship with that customer?

       2         A.    That's typically where you would go to do

       3     your research.

       4         Q.    Would you, as an analyst, try to look at all

       5     three of those places in order -- before you made a

       6     decision?

       7         A.    Me, as an analyst, yes, I would.

       8         Q.    You would think that it's important to get a

       9     complete picture of what had happened with that

      10     customer at Anda in the past, right?

      11         A.    Based on these notes, yes.

      12         Q.    Because these notes contain vital

      13     information that you need to understand to make your

      14     determination?

      15         A.    Correct.

      16         Q.    If an analyst had made a decision on that --

      17     on our hypothetical account prior to the time you

      18     were reviewing it, and didn't enter that information

      19     into one of those three systems, it might lead to an

      20     inaccurate picture for you, as the analyst, right?

      21         A.    So, like, the most important thing is the

      22     due diligence, because you're looking at the

      23     customer's business.        It's helpful to see previous

      24     information, of course, but you're reviewing the

      25     information that you have on file if you're the

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       1     person reviewing it.

       2               This only helps you know what someone

       3     previously entered, but you would look at what you

       4     have on file as well.

       5         Q.    It would help you understand what you had on

       6     file and why it was there or why it wasn't there?

       7         A.    The -- if you saw this note, you would look

       8     on the O drive to see what information was collected

       9     to make that note.

      10         Q.    Are there other things, besides the two

      11     examples in Exhibit 4, that would be entered in the

      12     customer notes, that you can think of, other types

      13     of information?

      14         A.    Anything could be added there that a

      15     compliance analyst felt to enter upon review of a

      16     customer.

      17         Q.    Can you give me some examples of things that

      18     you've entered in that field upon review that you

      19     thought would be important?

      20         A.    Typically, that's when you say -- you're --

      21     upon review, something is approved or denied.

      22         Q.    Anything else?

      23         A.    That's usually what it's used for.

      24         Q.    What about limits for a purchase of certain

      25     controlled substances?

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       1         A.    If a customer's limits went through a review

       2     process, it's ideal that a note is entered that

       3     there was a review process, and this is what the

       4     limit was changed to.

       5         Q.    Why is that ideal?

       6         A.    Because it's just a history of the review in

       7     one of these areas that it could be recorded.

       8         Q.    And so that's so an analyst, at any point,

       9     could go back and look at the account and understand

      10     what had happened with it, right?

      11         A.    Correct.

      12         Q.    Has that always been the case, that that

      13     should be what analysts should be entered in TPS

      14     notes?

      15         A.    Has it always been the case that analysts

      16     know --

      17         Q.    Should enter that information.

      18         A.    It's always been the case that review notes

      19     should be entered.

      20         Q.    But that was just something you learned in

      21     your training, right?

      22         A.    Correct.

      23         Q.    There's not a piece of paper that you can

      24     point to that says you should enter X, Y, and Z if

      25     they occur?

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       1         A.    I don't recall right now.

       2         Q.    You don't know of one, sitting here as you

       3     are today?

       4         A.    I know that we talk about a review process,

       5     and we do talk about notes, yes.

       6         Q.    But you don't recall any place that, if a

       7     new analyst were to start tomorrow, that you could

       8     say, here, as part of this packet, this is what

       9     you're supposed to enter into TPS?

      10         A.    There is a procedure that does indicate that

      11     notes should be entered.

      12         Q.    Generally, but not necessarily according to

      13     what specific criteria those notes should be?

      14         A.    It's -- the criteria is review

      15     determinations.

      16         Q.    Okay.    Has that -- has this process of

      17     entering notes and tracking information for a

      18     particular customer over time changed throughout

      19     your time in the compliance department?

      20         A.    Can you please help me understand?           Are

      21     you -- are you saying that has it changed that they

      22     should not be entered?

      23         Q.    No.   Just that -- has there been more of an

      24     emphasis on entering notes placed on analysts at one

      25     point versus another?

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       1         A.    I'm not --

       2               MS. KOSKI:     Object to form.

       3         A.    I'm not aware.

       4               (Anda - Solis Exhibit 5 was marked for

       5     identification.)

       6     BY MS. ELLIS:

       7         Q.    I'm going to show you what's been marked as

       8     Exhibit 5, which is Bates numbered beginning 415442.

       9     This looks like an e-mail from you to Robert Brown

      10     on July 31st, 2014.       Do you see that?

      11         A.    Yes.

      12         Q.    Do you recall receiving this e-mail?

      13               MS. KOSKI:     Object to form.

      14         A.    I don't recall the e-mail.         I'm reading it

      15     now.

      16         Q.    Do you recall this topic of conversation?

      17         A.    It makes sense now that I'm reading it.

      18         Q.    And why does it make sense?

      19         A.    Because I'm following what the e-mail says.

      20         Q.    And so just so the record reflects what

      21     we're talking about here --

      22               MS. ELLIS:     Do you want to turn this on?          I

      23         can put this up here.

      24         Q.    This is a conversation with yourself and

      25     Robert Brown, is that right, via e-mail?

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       1         A.    Yes.

       2         Q.    And at this point, was Robert Brown your

       3     boss?

       4         A.    Yes.

       5         Q.    What was his role?       Do you know?

       6         A.    Director.

       7         Q.    Okay.    You reported to him?

       8         A.    Yes.

       9         Q.    So at some point, you no longer reported to

      10     Michael Cochrane?

      11         A.    Yes.

      12         Q.    Do you remember when that changed?

      13         A.    When Robert Brown came on board.

      14         Q.    Do you remember when that was?

      15         A.    I don't recall, but I think he was with the

      16     company for a discretionary amount of time before

      17     they transferred the analysts under him.

      18         Q.    What -- do you know why?

      19         A.    I think they usually do that when there is a

      20     new employee.      I don't know.

      21         Q.    Just like a trial period?

      22         A.    I believe so.

      23         Q.    Was that after Howard, who you had mentioned

      24     before, left?

      25         A.    Yes.

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       1         Q.    Do you know why Howard left?

       2         A.    I don't know.

       3         Q.    Do you know if he was fired?

       4         A.    Well, he was there less than a couple of

       5     months, so you would assume that was the case.

       6         Q.    Do you remember hearing any rumors about it?

       7         A.    No.

       8         Q.    Do you remember having any conversations

       9     about it?

      10         A.    I don't remember.

      11         Q.    Do you remember any specific priorities that

      12     were in place from Anda leadership for the

      13     compliance department at the time that Howard left

      14     the position and Robert took over?

      15               MS. KOSKI:     Object to form.

      16         A.    From the time I've been in the position, the

      17     priorities have been to have the appropriate

      18     information and review process in place for

      19     customers who engage in business for controlled

      20     substances with.

      21         Q.    When you became a DEA compliance analyst,

      22     were you made aware of any areas of weakness that

      23     they expected the compliance department to improve

      24     upon?

      25               MS. KOSKI:     Object to form.

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       1         A.    I was made aware of the standards that the

       2     department wanted, which is collecting information

       3     on all of our customers.

       4         Q.    Were you made aware that the department had

       5     not been doing as good a job upholding or meeting

       6     those standards as Anda would have liked?

       7         A.    That was not communicated to me.

       8         Q.    Were you given specific areas of focus that

       9     you were to prioritize in your role as a DEA

      10     analyst?

      11         A.    Yes.    It was just what I said.        We're -- my

      12     focus was collecting data on all the customers we

      13     did controlled substances business with.

      14         Q.    And your goal -- one of your goals, I

      15     presume, would have been to do your job as best as

      16     you could, right?

      17         A.    Right.

      18         Q.    And to ensure that you got as much customer

      19     information on file as possible, right?

      20         A.    Correct.

      21         Q.    To ensure that analysts like yourself had as

      22     much information about -- about customers and

      23     potential customers as they could in order to make

      24     the most accurate determinations, right?

      25         A.    That was the goal.

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       1         Q.    And so in Exhibit 5, you're having a

       2     conversation with Mr. Brown, who is your boss at

       3     this time in 2014, and you were talking about

       4     "printing screens of the orders we question from

       5     order entry for our records and for the next person

       6     to be made aware that a previous order was

       7     questioned."

       8               What does that mean?

       9         A.    I don't remember why the e-mail was written

      10     at the time.      I could only assume what it meant

      11     today.

      12         Q.    Okay.    Well, sitting here today, what does

      13     it mean to you?

      14         A.    It means that an order was researched and

      15     that I'm suggesting a note should indicate it was

      16     researched.

      17         Q.    Why?

      18         A.    Because it would show the history of the

      19     researching of the order.

      20         Q.    Isn't that something that, as you said

      21     before, as an analyst you would want to understand

      22     in order to make the most accurate determination,

      23     right?

      24         A.    It's helpful.

      25         Q.    And so at this time it appears that that

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       1     wasn't always happening; is that fair?

       2         A.    In this specific situation, it shows that

       3     there was a review and it seems to indicate that a

       4     note wasn't entered.

       5         Q.    Fair enough.      But here you say:      "We should

       6     be printing screens of the orders we question from

       7     order..."

       8               That seems to indicate that you're talking

       9     more broadly than this one particular order.              Is

      10     that accurate or fair?

      11               MS. KOSKI:     Object to form.

      12         A.    It was a suggestion.

      13         Q.    I mean, it looks to me like you're making a

      14     suggestion on how to improve the process for the

      15     compliance department.

      16         A.    That's what it's saying.

      17         Q.    Okay.    And it seems like throughout the

      18     course of your career at Anda, that's something

      19     you've prided yourself on, is trying to make systems

      20     better, and this might be an example of you trying

      21     to do that, right?

      22               MS. KOSKI:     Object to form.

      23         A.    It's an example of where I made a suggestion

      24     to improve a process.

      25         Q.    Are you aware if the process changed after

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       1     you made this suggestion?

       2         A.    I don't recall.

       3         Q.    Is there anything that would help refresh

       4     your recollection?

       5         A.    No.

       6         Q.    Was this something that frustrated you, do

       7     you remember, at this time?

       8         A.    I don't remember until I saw this e-mail.

       9         Q.    The next paragraph says:         An F4 note should

      10     be made when an order is researched and cleared,

      11     more details on file.

      12               What does that mean to you now?

      13         A.    That's the same discussion as we've had all

      14     morning, that we're talking about entering

      15     compliance notes indicating that there was a review

      16     of something.

      17         Q.    So you're suggesting that this become a

      18     policy, right?

      19               MS. KOSKI:     Object to form.

      20         A.    I'm suggesting that it could enhance things.

      21         Q.    It could enhance the compliance department's

      22     ability to be effective in their --

      23         A.    No.   It could enhance the fact that you're

      24     seeing the review was done in that area, because

      25     we've mentioned before, there's a number of areas

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       1     where you could see that a review was done.

       2         Q.    It would enhance an analyst's ability to

       3     look at information in one place?

       4         A.    Yes.

       5         Q.    In order to make an accurate determination?

       6         A.    Right.

       7         Q.    And those determinations, again, are so that

       8     Anda is compliant with state and federal laws,

       9     right?

      10               MS. KOSKI:     Object to form.

      11         A.    No.    So a determination does not mean

      12     necessarily that you'll be compliant or not.              A

      13     determination is what the analysts determine was the

      14     best course of action at the time of review.

      15         Q.    Well, and the best course of action is in

      16     furtherance of the goal that Anda remain compliant

      17     with regulatory and compliance-based goals, right?

      18               MS. KOSKI:     Object to form.

      19         A.    No.    I don't -- I don't think that we look

      20     at that necessarily in this specific situation.               In

      21     every situation when we're reviewing a customer, of

      22     course, we want to be compliant in who we are

      23     selling to.      But we're making a decision based on

      24     the information that we reviewed for a customer,

      25     whether or not we'll engage in business with them.

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       1     So that doesn't necessarily mean that you would not

       2     be compliant if you were to do business or were not

       3     to do business.

       4         Q.    Well, you would agree part of being

       5     compliant with state and federal regulation is to

       6     not break those regulations, right?

       7               MS. KOSKI:     Object to form.

       8         A.    I'm not following.       Sorry.

       9               MS. KOSKI:     We're getting into the area that

      10         I think is limited by Special Master Cohen's

      11         order.

      12               MS. ELLIS:     Well, Katy, I'm not asking her

      13         opinion.    I'm asking her what the goals and her

      14         responsibility are of a compliance department and

      15         her particular position.        I've been pretty

      16         lenient with speaking objections so far, but I --

      17               MS. KOSKI:     You're violating the court's

      18         order, not -- the restatement of your question is

      19         different from the question that I just objected

      20         to, if you look at the transcript.

      21               The question you asked is:         Would you agree

      22         part of being compliant with state and federal

      23         regulation is to not break those regulations,

      24         right?

      25               Compliance with regulations is specifically

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       1         within the parameters of Special Master Cohen's

       2         order.    You've restated the question, in response

       3         to me, in a different way.         I'm telling you, you

       4         need to restate the question in order to be

       5         compliant with Special Master Cohen's order.

       6                MS. ELLIS:    I'll continue to ask my

       7         questions.     I don't believe it was in violation,

       8         but I'll continue on with this line.

       9                MS. KOSKI:    Okay.

      10     BY MS. ELLIS:

      11         Q.     Now, on the -- on the next line here you

      12     say:     I've noticed that we're not doing this and

      13     anyone reviewing the bucket would not know about

      14     SOM's history based on notes and what's saved on the

      15     drive.

      16                What does that mean to you?

      17         A.     What it means to me is that suspicious order

      18     monitoring took place for the customer, and it

      19     wasn't asked, that that review was just archived as

      20     a note.

      21         Q.     In TPS?

      22         A.     Correct.

      23         Q.     Anywhere else?

      24         A.     That's probably what I was referring to.

      25         Q.     When you say "saved on the drive," were you

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       1     referring to the O drive?

       2         A.    Correct, in a customer's file.

       3         Q.    You said you've noticed that "we're not

       4     doing this."      What do you mean by this?

       5         A.    So the sentence is saying that suspicious

       6     order monitoring is taking place, and what is being

       7     addressed is, can we just notate that these -- the

       8     monitoring of orders is taking place.

       9         Q.    You want -- you're suggesting that the

      10     compliance department adopt some sort of process so

      11     that you know what has been done, right?

      12         A.    What has been reviewed, yes.

      13         Q.    What has been reviewed.        So you can be more

      14     effective in your job?

      15         A.    It seems to be related to communication

      16     within the department.

      17         Q.    Would you agree that communication can help

      18     you be more effective in your job?

      19         A.    Communication is important with a team of

      20     people working together.

      21         Q.    So that one person knows what the other

      22     person is doing, right?

      23         A.    So that you know that suspicious order

      24     monitoring has taken place, yes.

      25         Q.    Because if you're not communicating about

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       1     it, and it's not written down for another analyst to

       2     review, you can't be sure that it's taken place,

       3     right?

       4         A.    You can't be sure.

       5         Q.    You -- and you can't assume it's taken place

       6     if there is no record of it, right?

       7         A.    You can't assume.

       8         Q.    So this is a suggestion to help you, as an

       9     analyst, understand whether or not suspicious order

      10     monitoring has occurred?

      11         A.    Correct.

      12         Q.    Without the type of information that you're

      13     suggesting here, you would not make that assumption

      14     that suspicious order monitoring had occurred, would

      15     you?

      16               MS. KOSKI:     Object to form.

      17         A.    Sorry.    I'm not following the question.          Are

      18     you saying specific to this customer?

      19         Q.    Not specific to this customer, just

      20     generally, the type of information that you're

      21     referencing here.       As an analyst, if you didn't see

      22     that sort of information, you would not assume that

      23     suspicious order monitoring had occurred, would you?

      24         A.    Well, I know that we do monitor orders and

      25     identify orders of interest, so I would assume, with

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       1     any customer that we have, that it's possible if

       2     they're purchasing controlled substances from Anda,

       3     that I know we're monitoring on the back end, as

       4     well as on the front end.

       5         Q.    So even without the records of the

       6     monitoring, you would make the assumption that the

       7     monitoring had been done?

       8         A.    I would make the assumption that we have

       9     something in place that monitors all customers who

      10     purchase from Anda.       I would not know, based on this

      11     specific e-mail, that this particular customer was

      12     reviewed in that one place I was looking, which is

      13     the compliance notes.

      14         Q.    I wasn't asking about this specific customer

      15     but I will, since you brought it up.            You -- and if

      16     I understand you correctly -- just tell me because I

      17     want to make sure that we're on the same page.

      18               You would assume that there are systems in

      19     place to do suspicious order monitoring, right?

      20         A.    Correct.

      21         Q.    But without the results of those systems

      22     being entered in a way that you could see them, you

      23     could not assume that that monitoring had occurred

      24     as it relates to a specific customer, right?

      25               MS. KOSKI:     Object to form.

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       1         A.    No, I would not know, like, in this specific

       2     example, that that specific order was looked at.

       3         Q.    And you would want that sort of proof to

       4     ensure that a specific order was looked at, right?

       5         A.    The suggestion was that the communication

       6     would be beneficial on the team.

       7         Q.    Because it would help you ensure that the

       8     system was effective?

       9         A.    No, because it would help us -- it would

      10     ensure that there was proper communication between

      11     the different people working within the team.

      12         Q.    Are threshold -- at the bottom of this

      13     e-mail, Exhibit 5, it says:         Hydrocodone limit

      14     reduced from 5,000 to 2,000 pending dispense data

      15     for review.

      16               Is that the sort of information that would

      17     be included in TPS notes as well?

      18         A.    Should.

      19               MS. KOSKI:     Object to form.

      20         A.    Should the analyst have made a determination

      21     to enter a comment about their review, that could be

      22     a comment that was entered.

      23         Q.    If I could hand you a laptop right now so

      24     that you could sign into your environment and look

      25     up TPS, and you were to look up this customer

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       1     number, could you tell me if that was in the TPS

       2     field?

       3         A.    Sorry.    Which field, the notes?

       4         Q.    The customer notes field.

       5         A.    I'm not able to sign on through Teva's

       6     environment here.       If I were able to do it, then I

       7     would be able to check and see if that's in the

       8     notes.

       9         Q.    Earlier today you said you weren't sure if

      10     you were able to sign on through Teva's environment

      11     here.

      12         A.    Right.

      13         Q.    Have you tried to do that?

      14         A.    I've never tried to sign on here.

      15         Q.    Then how are you able to say that you're not

      16     sure or you don't think that you can sign on?

      17         A.    Because Teva's security is very difficult

      18     and even when you work at home remotely, you can

      19     have a day where you can get in.           And then you can

      20     have another instance where you cannot get in.              I've

      21     never tried logging in here, so I don't know if I

      22     would be able to get in.

      23         Q.    Okay.    Well, that's just different than what

      24     you said a second ago, because this morning you said

      25     you weren't sure.       A second ago you said you

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       1     couldn't, and now you're not sure again.

       2         A.    I'm not following.

       3         Q.    Well, sitting here today, could you sign

       4     into Teva's environment, Yes or no?

       5         A.    Teva has a secured VPN environment, so I

       6     would have to see if I'm able to get into that.              If

       7     I'm able to get into that, then I should be able to

       8     get into what I'm normally eligible to get into, and

       9     that response has been consistent the whole time.

      10         Q.    You don't know?

      11         A.    I'm unaware if I can.

      12         Q.    Okay.    I'm not trying to --

      13         A.    Yeah.    No.   I mean, I'm just saying --

      14     because I think that's the issue, is there is a lot

      15     of security with their systems, and to be honest,

      16     you don't know when you can get in or not.

      17         Q.    Prior to today, were you asked to pull

      18     together any information from Anda or their systems

      19     responsive to discovery requests in this case?

      20               MS. KOSKI:     I'm going to object to form.

      21               And I'm going to instruct you not to answer

      22         any communications that you had with counsel for

      23         Anda.

      24         Q.    I'm not asking you specifically as far as

      25     what counsel has asked you to do.           I'm asking if you

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       1     have -- if you have done anything personally in your

       2     job responsibilities to respond to discovery in this

       3     case.

       4               MS. KOSKI:     I'm going to object to form, and

       5         instruct you that you can answer to the extent

       6         that you're not communicating correspondence

       7         you've had between the legal department and

       8         outside counsel and yourself.

       9         A.    Yeah.    I don't feel that that can be

      10     responded to.

      11         Q.    You don't feel that that can be responded to

      12     because everything -- because you've been instructed

      13     by counsel on pulling these materials together, if

      14     you've done so?

      15         A.    There's attorney-client privilege, as just

      16     mentioned.

      17         Q.    I'm asking you -- I understand your attorney

      18     just made an objection, and it's made for the

      19     record.    But I'm asking you:        Were there -- are

      20     there things that you have done that were not at the

      21     explicit instruction of your attorney related to

      22     this case?

      23         A.    No.

      24         Q.    Earlier you said threshold is not a term

      25     that you would personally use, but you are aware

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       1     that some people use it in the context of controlled

       2     substances; is that right?

       3         A.    Correct.

       4         Q.    So what does it mean to you, sitting here

       5     today, when I say threshold?

       6         A.    So Anda determines what control family limit

       7     is allowed to a customer upon review.

       8         Q.    What is that based upon?

       9               MS. KOSKI:     Object to form.      What's the

      10         limit based upon, or what's her understanding of

      11         the definition of limits?

      12               MS. ELLIS:     Fair enough.

      13         Q.    What is -- what is your definition of

      14     threshold based upon?

      15         A.    We don't use the term "threshold."           We use

      16     the term "limit."       So a control limit is determined

      17     based on a review of the customer, understanding

      18     their business, understanding our position with

      19     them.

      20         Q.    What would you need to understand in order

      21     to determine a limit?

      22         A.    Anda's position with the customer.

      23         Q.    Have you been involved, as a DEA analyst or

      24     now as a manager, in setting customer limits?

      25         A.    Yes.

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       1         Q.    And when have you been involved in that

       2     process, since you were a DEA compliance analyst?

       3         A.    Yes.

       4         Q.    Did you continue to be involved in that

       5     process as a senior analyst?

       6         A.    Yes.

       7         Q.    And are you involved now, as the manager of

       8     the compliance department, in setting customer

       9     limits?

      10         A.    Yes.

      11         Q.    Okay.    So what do you look at when you set a

      12     customer's limit for controlled substance purchases?

      13         A.    We're reviewing the customer's dispensing

      14     information, and we're considering that along with

      15     the increase request.        Then we make a determination

      16     on what that controlled family limit will be, based

      17     on the customer's request.

      18               If they ask for a specific item -- remember,

      19     a limit is set on a control family.           It's not set

      20     based on an item.       So if a customer is asking for a

      21     particular item, we look at the dispensing

      22     information, and you make a determination where you

      23     would allow that customer to purchase that item from

      24     you.

      25         Q.    Does the type of customer -- type of

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       1     customer make any difference in setting the limit?

       2         A.    Every customer has a different need from

       3     Anda, so knowing your customer would make a

       4     difference because every customer has a different

       5     need from Anda.

       6         Q.    So let's say, for example, there's a chain

       7     customer versus an independent retail customer.

       8     What difference would that make in setting a limit

       9     for a customer's ability to purchase controlled

      10     substances?

      11         A.    So chain customers are looked at on the

      12     corporate level as a business relationship.             There's

      13     more corporate oversight.         And so you collect a

      14     corporate questionnaire, understanding the

      15     relationship that that corporation has to Anda.

      16               And usually with a corporate relationship,

      17     there's a specific relationship that's not usually

      18     all controlled substances.         It could be specific

      19     items, specific control families.           Every situation

      20     is different.

      21         Q.    So you're saying it's not as important to

      22     look at individual pharmacies in a corporate setting

      23     as it is when you're looking at independent

      24     retailers?

      25               MS. KOSKI:     Object to form.

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       1         A.    No, I did not say that.        I said that when

       2     you're looking at a corporate customer, you're

       3     looking at the overall relationship with that

       4     corporation.      You never are looking, oh, this store

       5     just usually decided to come to you.            And we're

       6     talking about national corporate chains.             I don't

       7     know what you're referring to.

       8               But a national corporate chain, usually the

       9     stores do business with you based on the

      10     relationship with corporate.          So it's a -- it's a

      11     relationship where all stores should be purchasing

      12     along with the corporate relationship.

      13         Q.    So you want to preserve the relationship of

      14     Anda corporate to whatever that chain's corporate?

      15               MS. KOSKI:     Object to form.

      16         A.    No, I'm not following.

      17         Q.    Well, you just said that when you're looking

      18     at a corporate customer, you're looking at the

      19     overall relationship with that corporation.

      20         A.    Relationship meaning business needs from

      21     Anda.

      22         Q.    So you would look at -- let's say, for

      23     example, there were a Walgreens relationship, right?

      24         A.    Uh-huh.

      25         Q.    And there are 100 Walgreens stores.           Okay?

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       1         A.    Uh-huh.

       2         Q.    You would --

       3               MS. KOSKI:     Answer verbally.

       4         Q.    You have to say "yes" or "no."

       5         A.    Yes.    I'm sorry.

       6         Q.    You would want to make decisions based on

       7     individual orders for those Walgreens stores keeping

       8     that overall relationship in mind, right?

       9         A.    You should consider the big picture.

      10         Q.    Why is that?

      11         A.    Because the stores are usually purchasing

      12     with the oversight and direction that corporate has

      13     engaged in business with Anda to do.

      14         Q.    So there's a broader base of information

      15     that's available from corporate, is what you're

      16     saying?

      17         A.    Usually with a corporate customer -- and

      18     we're speaking national corporate chains -- if there

      19     is -- if Anda engages in business, there's an

      20     understanding of what corporate is allowing or

      21     instructing stores to purchase from Anda.

      22         Q.    You would agree it's important to have

      23     information for every order that comes in that might

      24     be suspicious, though, right?

      25               MS. KOSKI:     Object to form.

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       1         A.     In our world, there -- we order -- we do

       2     suspicious order monitoring all the way from the

       3     front end into the back end.          And so a lot of orders

       4     that hold in the suspicious order monitoring on the

       5     back end have already been prescreened on the front

       6     end.

       7         Q.     Okay.   I want to break that down a little

       8     bit, so I understand a little bit what you're

       9     saying.     When you say "all the way from the front

      10     end to the back end," what -- what do you mean by

      11     front end?

      12         A.     In our world, suspicious order monitoring is

      13     not just electronic monitoring of orders on the back

      14     end.     We take a very conservative approach where a

      15     customer is looked at on the front end before you

      16     even determine to make that customer eligible.              And

      17     if and when you do determine to make them eligible,

      18     then there is another hindrance where they're

      19     limited by customer limits.

      20                And then after those two phases, there is

      21     the third phase of the back end monitoring, where

      22     you are now monitoring what they are ordering after

      23     you already made them eligible to order, gave them a

      24     limit of where they are allowed to order.

      25         Q.     Thank you for that explanation, but I still

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       1     want to break it down some more.           So let's just try

       2     to answer my brief questions.

       3               What you say "our world," what do you --

       4     what world is that?

       5         A.    From Anda, we monitor orders from the

       6     upfront process of allowing eligibility to the

       7     back-end process of the orders that are placed.

       8         Q.    So "our" is Anda or is "our" Anda

       9     compliance?

      10         A.    Anda compliance.

      11         Q.    So remember when I said at the beginning I'm

      12     not trying to be rude.        I'm just trying to break it

      13     down, and we'll get to the rest of the things that

      14     you talked about.       But I want to ensure that we're

      15     breaking -- that I'm getting answers to individual

      16     questions.

      17               So our world is Anda compliance, right?

      18         A.    Correct.

      19         Q.    What does the front end mean?

      20         A.    We begin monitoring customers from the time

      21     that we review sales-initiated requests.

      22         Q.    Okay.

      23         A.    So at that point in time, since the time

      24     that I've been there, they will come to you and say

      25     I would like to do business, this is the

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       1     information, it's reviewed by compliance, a

       2     controlled limit is decided and set.

       3               And then as a third portion, the orders are

       4     monitored as they are placed, should they be

       5     indicated they needed an additional look at them as

       6     they're placed.

       7         Q.    So when you say back end, what do you mean?

       8         A.    Meaning the third part of our order

       9     monitoring process, which is as the orders are

      10     placed.

      11         Q.    You would agree that it would make it

      12     difficult to do any work on the back end if you

      13     didn't have information from the front end, right?

      14               MS. KOSKI:     Object to form.

      15         A.    It depends on the situation.          I'm not

      16     familiar with an instance right now where that

      17     happened.

      18         Q.    But you said those things sort of go hand in

      19     hand; it's a process for Anda, correct?

      20         A.    Correct.

      21         Q.    So you want to make sure that everything is

      22     set up correctly as the relationship starts, so that

      23     as the relationship continues and potentially

      24     suspicious or nonsuspicious orders for controls are

      25     vetted, that you have all the proper foundational

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       1     information, right?

       2         A.    Correct.

       3         Q.    Because without that, you may not be able to

       4     make accurate determinations, like you testified to

       5     before?

       6         A.    Correct.

       7         Q.    And if that's not done correctly on the

       8     front end, it would be difficult to do the work on

       9     the back end, right?

      10         A.    You wouldn't have the due diligence that you

      11     could refer to.

      12         Q.    And you want that due diligence because it

      13     helps you understand that customer, right?

      14         A.    Correct.

      15         Q.    It helps you know the customer?

      16         A.    Correct.

      17         Q.    And that's really what the goal of your

      18     department is, is to know the customer to ensure

      19     you're complying with these regulations?

      20         A.    Correct.

      21               (Anda - Solis Exhibit 6 was marked for

      22     identification.)

      23     BY MS. ELLIS:

      24         Q.    I'm going to hand you what's been marked as

      25     Exhibit 6, Bates number beginning 422114.             This is

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       1     an e-mail exchange, it looks like, between yourself

       2     and a number of individuals, starting on

       3     October 8th, 2012, and ending on October 23rd, 2012,

       4     regarding a QOL Meds location.

       5               Are you familiar with QOL Meds?

       6         A.    Yes, I am.

       7         Q.    Is that a chain customer of Anda's?

       8         A.    It's a behavioral health chain.

       9         Q.    But it is a chain, right?

      10         A.    Yes.

      11         Q.    So this is one of those customers that you

      12     just were discussing was important to have the

      13     information on both the front end and the back end,

      14     right?

      15         A.    Correct.

      16         Q.    I want to direct you to the second-to-last

      17     page, and I'll put this up here on the screen for

      18     you, since it's a little bit easier to see.

      19               MS. KOSKI:     Can you adjust the lighting

      20         under it so it --

      21               MS. ELLIS:     Yeah.

      22               MS. KOSKI:     That may be too much.        Somewhere

      23         in the middle there.       There you go.

      24                    (Discussion off the record.)

      25               MS. ELLIS:     Okay.    That's better.

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       1     BY MS. ELLIS:

       2         Q.    And, actually, we'll go to the last page of

       3     this document, Bates Number 422117.

       4               It looks like this is a request from a

       5     senior national account manager to yourself and

       6     Emily to increase Klonopin for 20,000 units for this

       7     particular location, right?

       8         A.    No.    20,000?

       9               MS. KOSKI:     The last page, if you look at

      10         the screen.

      11         A.    Okay.    Sorry.    Yes.

      12         Q.    Yes.    And then we'll go on to the next page.

      13     Emily responds that you need a questionnaire from

      14     this location, right?

      15         A.    Yes.    Yes.

      16         Q.    And then a couple of e-mails up, it looks

      17     like about a week later, Michelle, the sales rep

      18     says there's orders being routed to ABC due to

      19     limitation.

      20               Is ABC one of Anda's competitors?

      21         A.    Yes.    They're a distributor.

      22         Q.    Would that be something that you would

      23     consider in looking at the -- their -- the

      24     location's ability to purchase controls?

      25         A.    I don't think that's the reference in the

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       1     e-mail.    Just interpreting it today, I don't think

       2     that's what it's saying.

       3         Q.    What does it say to you?

       4         A.    It sounds like there may have been a supply

       5     issue with the product, and they're asking if Anda

       6     can fulfill it.

       7         Q.    Okay.    Let's look at that explanation in

       8     context of your response.         Here it says that the

       9     limit has been increased to 5,000 until you have

      10     dispense data for further review of the account.

      11               So does that mean you gave them a limit

      12     without having that dispense data?

      13         A.    This is a long-standing relationship that we

      14     have with the customer, and so this is different

      15     because it's a corporate relationship where we do

      16     have due diligence, and we do have lots of

      17     information on file for QOL as a group.

      18         Q.    As a whole?

      19         A.    As a whole.

      20         Q.    But not for this new location?

      21         A.    It seems to be that we're indicating that

      22     we're wanting to further review it.           I can't tell

      23     here if we ever had it on file without actually

      24     referring to the files.

      25         Q.    Let's go on to the next page of this

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       1     document.     It looks like Michelle responds back to




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       7         A.    See, we're not -- we're not reviewing the

       8     volume of sales in this instance.           We're reviewing

       9     the volume of patients.        There is a difference in

      10     this particular customer.

      11         Q.    I -- maybe I'm missing something.           I don't

      12     see on here anything related to patients.             Can you

      13     direct me to where that is?

      14         A.    Yes.    QOL, they're in the behavioral health.

      15     So when she's saying that it's higher volume, it's

      16     not talking about sales or dollars.           She's asking

      17     for an increase in pills.

      18         Q.    I understand that it's about pills, but I

      19     don't see anything here about patients.            Do you have

      20     the data about patients somewhere that's not

      21     indicated here?

      22         A.    Yes.    We do have information on QOL and who

      23     they are and the whole corporate background, yes.

      24         Q.    The corporate background, but not

      25     necessarily this particularly new location, right?

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       1         A.    Correct.

       2         Q.    So at this point in time, because it's a new

       3     location, you wouldn't have had patient information,

       4     would you?

       5               MS. KOSKI:     Object to form.

       6         A.    The e-mail is indicating that it was a newer

       7     location.

       8         Q.    Let's just go back to that page before,

       9     because you specifically asked for the questionnaire

      10     about patients.      Is that where the information would

      11     be about patients, is on the customer questionnaire?

      12         A.    The customer questionnaire outlines the

      13     questions that you are asking related to the

      14     business on the questionnaire.

      15         Q.    Which would include information about

      16     patients, right?

      17         A.    There is nothing specific to patients, but

      18     it would maybe reference specialty pharmacy.              Is

      19     there anything different about this pharmacy

      20     compared to all other pharmacies in a

      21     specialization?

      22         Q.    So you said you were able to give them a

      23     5,000 limit based on information that you had about

      24     the chain, right?

      25         A.    Correct.

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       1         Q.    Let's look again at that second page of the

       2     e-mail here that you say:         Let's collect the 60 days

       3     of dispense data.       Also, we need the dispense data

       4     for all the other locations as well.

       5         A.    Yes.

       6         Q.    Does that indicate that maybe you didn't

       7     have the most up-to-date information when you

       8     allowed these sales?

       9         A.    Without me being able to do research on what

      10     we had on file at the time, I could have been asking

      11     for updated information.

      12         Q.    Meaning that the information that you had

      13     wasn't up-to-date enough for what you would want to

      14     see?

      15         A.    I would have to research, but I was asking

      16     for updated information.

      17         Q.    But you did approve sales to this store,

      18     right?

      19               MS. KOSKI:     Object to form.

      20         A.    That's what the e-mail seems to say.

      21         Q.    And then on the next -- first page here of

      22     this e-mail, the sales national account manager

      23     explains that they're going to be giving you

      24     up-to-date information in batches; is that right?

      25         A.    Yes.

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       1         Q.    There's nothing from this chain that

       2     indicates that you are limiting their sales at this

       3     point until you get that sort of information, is

       4     there?

       5         A.    I can't tell that from looking at the

       6     e-mail.

       7         Q.    You would need to go back to Remedy and TPS

       8     and --

       9         A.    Yes.

      10         Q.    -- the O drive?

      11         A.    Yes.

      12         Q.    So for chain customers at least, you said

      13     that you rely on the broader information that the

      14     chain gives you, right, to determine whether an

      15     individual store or maybe a new location should be

      16     able to get controls?

      17               MS. KOSKI:     Object to form; mischaracterizes

      18         testimony.

      19         A.    I wouldn't use the term "broader

      20     information."      I would say that you're looking at a

      21     group of customers and what that group is wanting

      22     from Anda in comparison to the way that you would

      23     look at an independent pharmacy, who is just coming

      24     to you in and of themselves.          Usually the group is

      25     coming to you through the corporate ownership

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       1     wanting similar things.

       2         Q.    That would be the front end that you were

       3     talking about before, right?

       4         A.    Correct.

       5         Q.    So as a compliance department, you would

       6     have an understanding of a chain from the

       7     information that you gathered on the front end, yes?

       8         A.    Yes.

       9         Q.    And based on that, you may or may not have a

      10     certain level of comfort with a chain in order to

      11     add a new location or perhaps change the limits on

      12     control purchases to a location, right?

      13         A.    It helps you to know and have an

      14     understanding, yes, of that customer.

      15         Q.    So is it fair to say that you're willing to

      16     be more flexible with some individual pharmacies

      17     within a chain because of what you understand from

      18     the front end?

      19               MS. KOSKI:     Object to form.

      20         A.    I wouldn't use the term "flexible."           I think

      21     that it's the job of compliance to know the

      22     customer.     In this situation, it's also the group

      23     and the individual location.          So there is a

      24     familiarity with the overall group.

      25         Q.    And so would you be more comfortable, as a

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       1     compliance analyst, allowing the sale of controlled

       2     substances to some groups -- other -- versus other

       3     groups?

       4         A.    No.

       5         Q.    No, it doesn't depend?

       6         A.    No.

       7         Q.    It doesn't make any difference?

       8         A.    No.

       9         Q.    Because you want to ensure that you have the

      10     most accurate information for all the groups, right?

      11         A.    That's the goal.

      12         Q.    Are there times that you are okay selling

      13     with controls to some chains, but not to others?

      14         A.    As with anything, you approve and you deny.

      15               (Anda - Solis Exhibit 7 was marked for

      16     identification.)

      17     BY MS. ELLIS:

      18         Q.    I'll hand you what's been marked as

      19     Exhibit 7, beginning Bates Number 460932.             This

      20     looks like an e-mail exchange between yourself, Mary

      21     Barber, and James Gatto from October of 2012.              Who

      22     is James Gatto?      Is it Gatto or -- how do you say

      23     it?

      24         A.    Gatto.

      25         Q.    Gatto.    Who is that?

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       1         A.    He works in our department.         He works

       2     remotely in New York.

       3         Q.    So he's able to access these programs like

       4     TPS and Remedy and the O drive from wherever it is

       5     that he is?

       6         A.    We have a broker location, which is a sales

       7     location, in New York.

       8         Q.    Is -- does he report to you?

       9         A.    Yes.

      10         Q.    Now, this looks to be -- and the subject

      11     line is 825257.      Is that a customer number?

      12         A.    It appears like it is one.

      13         Q.    What do you understand this e-mail exchange

      14     to be?

      15         A.    So it seems to be that they're saying they

      16     don't have this information.

      17         Q.    And he would be asking about this because

      18     there may have been an order that he needed to

      19     review and potentially approve or deny?

      20         A.    That's what it says.

      21         Q.    And he says there is no CQ.         CQ is customer

      22     questionnaire; is that right?

      23         A.    Correct.

      24         Q.    And DD is what?

      25         A.    Dispensing data.

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       1         Q.    And that's part of the "know your customer"

       2     materials that you talked about before, right?

       3         A.    Yes.

       4         Q.    The type of information you base these

       5     decisions on?

       6         A.    Right.

       7         Q.    So for this customer, there is none of this

       8     information on file?

       9         A.    That's not necessarily the case.           So these

      10     two were most likely talking about this in 2012

      11     because they weren't typically involved directly

      12     with some of the chains.         So a lot of information

      13     and background, rather than it being in the system

      14     on a customer level, was actually filed away on a

      15     corporate level.

      16         Q.    It was in a different place, so that some

      17     people in compliance didn't have access to it?

      18         A.    No.    Everybody has access to it, but they

      19     may or may not have known it was there.            I would

      20     have to research it to find out.

      21         Q.    Oh.

      22         A.    I think he's indicating that looking at this

      23     account number, he's not seeing that based on the

      24     customer flags.      But I am not sure, without looking

      25     at it, if they were aware or not aware if something

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       1     was there or located for the group.

       2         Q.    So when you say "customer flags," do you

       3     mean those flags in, like, TPS and Cognos that you

       4     talked about before?

       5         A.    The flags indicating, yes, it shows that we

       6     have a customer questionnaire or, yes, we have

       7     dispensing data.       But that does not necessarily

       8     indicate that we did not have it if it was not

       9     flagged.

      10         Q.    So the flag in one of those systems, like

      11     TPS or Cognos, could be wrong and not reflective of

      12     what you actually have in the system?

      13         A.    It's possible that you could have had

      14     something on the corporate level that was saved that

      15     was not indicated on the individual level.

      16         Q.    Okay.    I understand.      But -- so this is an

      17     exchange in helping James understand how to look at

      18     this better, then, right?

      19         A.    I think he was asking for more of a

      20     familiarity of chains, because he was not directly

      21     involved with chains.        Yet he was monitoring

      22     suspicious orders.       And so that's what it seems like

      23     it's asking.

      24         Q.    And that's really what Mary Barber's e-mail

      25     to him says, is that this is a chain, right?

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       1         A.    Yes.

       2         Q.    And then he asks:       Can I get a list of the

       3     chains we're okay with selling controls to, so on

       4     the nights I'm watching SOMs, I can just release the

       5     orders.

       6               Do you know if there was a list?

       7         A.    No.    He was asking for more of an

       8     understanding of the corporate chain review process.

       9         Q.    So James -- James's position was what at

      10     this point?

      11         A.    He's been with the company 25-plus years,

      12     and he's had a number of different titles.             At this

      13     point in time, in 2012, he was the manager of

      14     facility services.

      15               In New York we used to have a distribution

      16     center.    We no longer do.       It's a broker facility.

      17     Jim was kept with the company, and he transitioned

      18     into a compliance role at some point prior to me

      19     coming into the department.

      20         Q.    You were in the compliance department in

      21     2012, though, right?

      22         A.    Yes.

      23         Q.    So -- but he was still -- he was doing

      24     things with the compliance --

      25         A.    Yes.

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       1         Q.    -- department at this point?

       2         A.    Yes.

       3         Q.    And we'll try not to talk over each other

       4     again.

       5               The -- so would you have considered him a

       6     member of your department at this point?

       7         A.    Yes.

       8         Q.    Even though he was the -- his official

       9     title, it looks like, was manager of facilitation --

      10     facilities services.

      11         A.    Correct.

      12         Q.    Were there other people that had titles not

      13     related to compliance that you considered members of

      14     your department?

      15         A.    Jim.

      16         Q.    Jim was sort of the outlier?

      17         A.    Yes.

      18         Q.    The exception.      Okay.    And so it looks like

      19     Jim was doing suspicious order monitoring on a

      20     fairly regular basis, right?

      21         A.    At this point in time, on this e-mail, yes,

      22     he's indicating he's doing it.

      23         Q.    So when he says "when I'm watching the SOM

      24     system," what -- what do you understand that to

      25     mean?

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       1         A.    That he's monitoring the electronic end of

       2     the suspicious order monitoring.

       3         Q.    So earlier, you described that as orders

       4     that would have come in through Remedy that maybe

       5     were flagged by the system in some way or another?

       6         A.    No.

       7               MS. KOSKI:     Object to form.

       8         Q.    Okay.    Maybe I misunderstood.        Can you

       9     explain to me what you mean by that, then?

      10         A.    This is the monitoring of the orders as they

      11     are placed, but we're monitoring -- monitoring

      12     customers as well up front.

      13         Q.    So suspicious order monitoring -- let's just

      14     back up for a second, then.         SOMS --

      15         A.    Uh-huh.

      16         Q.    -- stands for suspicious order monitoring

      17     system; is that right?

      18         A.    Yes.

      19         Q.    So when I say suspicious order monitoring

      20     system -- let's assume that we're in 2012 -- what

      21     does that mean to you?        What does that entail?

      22         A.    He was reviewing the orders.

      23         Q.    So you said that it's a review of the

      24     orders?

      25         A.    Uh-huh.

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       1         Q.    Yes?

       2         A.    Yes.

       3         Q.    And those would come through Remedy?

       4               MS. KOSKI:     Object to form.

       5         A.    No.

       6         Q.    No?

       7         A.    No.

       8         Q.    Where would they come from?

       9         A.    The electronic ordering system.

      10         Q.    Oh, the CSOS that we talked about?

      11         A.    No.

      12         Q.    No?

      13         A.    No.    Electronic ordering meaning what was in

      14     place to detect orders of interest.

      15         Q.    What program would have done that?

      16         A.    We had a legacy suspicious order monitoring

      17     system at this point in time, in 2012, through TPS.

      18         Q.    So that was part of TPS at this point?

      19         A.    Yes.

      20         Q.    So the SOMS system -- or the SOM system in

      21     2012 that he was watching was TPS, right?

      22         A.    Correct.

      23         Q.    So what did that mean, that he was watching

      24     the SOM system?      Was that something that somebody in

      25     compliance would do on a regular basis?

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       6         Q.    And so is that still the case today?

       7         A.    Yes.

       8         Q.    So if an order comes in, presumably it's

       9     being looked at by somebody in the compliance

      10     department, right?

      11         A.    Correct.

      12         Q.    And that was from at least 2012 on?

      13         A.    Yes.

      14         Q.    Was that always the case since you've been

      15     in the compliance department?

      16         A.    I'm not aware.      I wasn't directly involved

      17     immediately in that area.

      18         Q.    When did you become aware of the suspicious

      19     order monitoring system process?

      20         A.    I don't recall exactly.        It wasn't

      21     immediately.

      22         Q.    So when it was you and Michael and Emily in

      23     charge of the controlled substance compliance, you

      24     were not aware of the suspicious order monitoring

      25     system at first?

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       1         A.    Not immediately.

       2         Q.    How long would you say before you became

       3     aware of it?

       4         A.    I don't recall.

       5         Q.    Do you remember who made you aware of it?

       6         A.    I don't recall.

       7         Q.    Do you remember getting any training about

       8     it?

       9         A.    At the time I became aware, of course, there

      10     would be training on how to review the orders, yes.

      11         Q.    Do you know who did that for you?

      12         A.    Most likely it was Emily Schultz.

      13         Q.    Do you remember what she told you or what

      14     that training consisted of?

      15         A.    I don't remember what she told me.           I know

      16     what it consists of today.

      17         Q.    Let's stay focused back in 2012 for a

      18     second, because I think with Buzzeo, it's a very

      19     different --

      20         A.    Uh-huh.

      21         Q.    -- time today than it was then.          Is that

      22     fair?

      23               MS. KOSKI:     Object to form.

      24         A.    They were just two different systems.

      25         Q.    Different, right?

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       1         A.    They were -- one was legacy in-house TPS and

       2     the other is a different system, cloud-based system,

       3     yes.

       4         Q.    When you say legacy, what do you mean?

       5         A.    Meaning that that was built internally

       6     through the TPS system, legacy meaning that that is

       7     no longer what is used today.

       8         Q.    Old?

       9         A.    Previous to what we're using today.

      10         Q.    So in this particular circumstance, Jim --

      11     Jim, I think you called him?

      12         A.    Yes.

      13         Q.    Do you call him Jim or James -- Jim.            Okay.

      14     He was watching SOM systems so he could release the

      15     orders.    Was that something you had done at this

      16     point, was watch the SOM -- SOM system?

      17         A.    I honestly don't recall when I became

      18     involved with that.

      19         Q.    Well, you're on this e-mail chain, right?

      20         A.    Yes.

      21         Q.    And he is addressing this both to you and

      22     Mary Barber?

      23         A.    Yes.

      24         Q.    And you and Mary Barber had the same

      25     position at this point, I think we talked about?

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       1         A.    I was analyzing customers in the same way,

       2     but I had a different position at that point.

       3         Q.    What was that?

       4         A.    I was a senior analyst, but we did work

       5     alongside each other, yes.

       6         Q.    So what was the difference between a senior

       7     analyst and regular analyst?

       8         A.    Reporting.

       9         Q.    What do you mean?

      10         A.    I was reporting, I was auditing, I was doing

      11     different things.

      12         Q.    You had more responsibility?

      13         A.    I was working on a different set of

      14     responsibilities.

      15         Q.    Did you continue to do the things you did as

      16     an analyst, as a senior analyst?

      17         A.    I was reviewing customers, yes, but I wasn't

      18     reviewing them as a sales-initiated request in

      19     Remedy primary -- as my primary job.

      20         Q.    You were looking at them with a different

      21     lens, per se?

      22         A.    No.   I was reviewing Anda's customer base in

      23     the aggregate.

      24         Q.    We'll come back to that in a second.

      25     When --

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       1               MS. KOSKI:     Do you need a break?

       2               I'm just -- sorry.       I'm just asking if she

       3         needs a break, because she's looking at me.

       4         But --

       5               THE WITNESS:      No.

       6               MS. KOSKI:     -- maybe she's just looking at

       7         the screen.     Sorry.    Maybe at 3:00 we can do a

       8         break.    Is that a good stopping point?

       9               MS. ELLIS:     Assuming that we're not in the

      10         middle of a question.

      11     BY MS. ELLIS:

      12         Q.    So when you're watching the SOM system, you

      13     don't know if you had done it at this point in two

      14     thousand and -- October of 2012 or not, but you know

      15     you have -- you have done it at some point, right?

      16         A.    Yes.    I just don't recall when I -- when I

      17     started doing it.

      18         Q.    Okay.    Well, when you started doing it, what

      19     did that mean, watching the system so you can

      20     release the order?

      21         A.    I stated earlier, he's saying that he's

      22     working in the evenings, and he's monitoring orders

      23     of interest in the evenings.

      24         Q.    Okay.

      25         A.    So --

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       1         Q.    So what is -- what does that mean?           Like,

       2     what steps go into monitoring an order of interest,

       3     whether it's in the evening or during the day?

       4         A.    He's saying that if an order of interest is

       5     put aside to review using the suspicious order

       6     monitoring system, he wants to be more familiarized

       7     with chains.      That's his ask.

       8         Q.    Let's just step away from this document for

       9     a second, because I understand his ask.            But what

      10     I'm trying to understand is what that process looked

      11     like.

      12               So TPS, the legacy system that you talked

      13     about --

      14         A.    Uh-huh.

      15         Q.    -- before, would flag an order, right?

      16         A.    Uh-huh.

      17         Q.    Yes?

      18         A.    Yes.

      19         Q.    Okay.    And that order would be flagged as

      20     potentially suspicious, correct?

      21         A.    An order of interest, yes.

      22         Q.    An order of interest.        What's the difference

      23     between order of interest and suspicious?

      24         A.    Suspicious means that you've determined that

      25     the order is suspicious after review.            An order of

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       1     interest is something that you need to look into to

       2     make that determination.

       3         Q.    Where do those terms come from?

       4         A.    That's the way we refer to it.

       5         Q.    Anda?

       6         A.    Yes.

       7         Q.    Were you told -- were you trained in that

       8     manner, to differentiate between an order of

       9     interest and a suspicious order?

      10         A.    No.

      11         Q.    Where did you get that language from?

      12         A.    Because every order that is held is

      13     obviously not suspicious.

      14         Q.    Okay.    Is that written down somewhere or --

      15         A.    No.    It's just a fact that every order that

      16     is held is not suspicious.

      17         Q.    But it potentially is, and it needs to be

      18     reviewed, right?

      19         A.    Right.    That's why it's of interest.

      20         Q.    So an order of interest is determined by

      21     some automated method in TPS, right?

      22         A.    Yes.

      23         Q.    Do you know what that method was that

      24     determined an order to be an order of interest, as

      25     you call it?

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       1         A.    I was not a part of the implementation or

       2     the programming of that system.

       3         Q.    Fair enough.      But do you -- do you know what

       4     it was within the system that would cause an order

       5     to be held and called of interest?

       6         A.    I'm not aware of the exact criteria that was

       7     programmed, but I believe it was looking at

       8     patterns, and it was looking at frequency and

       9     different factors.

      10         Q.    Were you trained on that as a compliance

      11     analyst?

      12         A.    As -- the suspicious order monitoring?            At

      13     the point that I did become involved, yes.

      14         Q.    But sitting here today, you can't tell me

      15     what would have triggered the system to put some --

      16     a particular order into an order of interest

      17     category?

      18         A.    The system was programmed to detect anything

      19     that was unusual, size, pattern, or frequency.

      20         Q.    TPS was programmed in that way?

      21         A.    Correct.

      22         Q.    Do you know what the specifics of those

      23     equations were?

      24         A.    I do not because I was not a part of the

      25     programming.

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       1         Q.    Do you know if those were written down

       2     anywhere?

       3         A.    I am unaware.

       4         Q.    Do you know who was part of the programming?

       5         A.    I believe it was Michael Cochrane.

       6         Q.    Do you know when that programming was done?

       7         A.    I do not know the exact time.

       8         Q.    Was it done prior to you joining the

       9     compliance department?

      10         A.    I do not know.

      11         Q.    Was it done when you joined the compliance

      12     department, or was that happening as you were

      13     joining?

      14         A.    I wasn't a part of the suspicious order

      15     monitoring immediately, so I don't know that.              I

      16     knew it existed when I became involved with it.

      17         Q.    And again, you don't remember when you

      18     became involved?

      19         A.    I don't remember.

      20         Q.    Is there anything that would refresh your --

      21     refresh your recollection as to when you became

      22     involved in that?

      23         A.    No.

      24         Q.    When somebody was watching the suspicious

      25     order monitoring system within TPS, would they have

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       1     to -- well, strike that.         I'll get to that question

       2     in a moment.

       3               What were the steps that a person watching

       4     the suspicious order monitoring step -- system would

       5     do at this point within TPS in order to potentially

       6     release the order?

       7         A.    What we do look at is the customer's sales

       8     history with Anda to determine what type of a

       9     customer it is with Anda.         Is this a customer that

      10     is buying controls, noncontrols?           Do they come to

      11     Anda specifically for certain items that were

      12     indicated on the front end?         We look at due

      13     diligence.

      14         Q.    And you would look at those for each order

      15     to determine if that order was just of interest or

      16     if it was potentially suspicious?

      17         A.    It's usual that you should look at what

      18     information you have pertaining to that customer.

      19         Q.    Usual meaning that's what's expected?

      20         A.    That's what should be done when you're

      21     researching something, is to research what you have.

      22         Q.    So looking at this, would you expect Jim to

      23     do research on each individual order that was

      24     flagged as of interest in TPS?

      25         A.    He's indicating that he wants to know what

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       1     corporate chains have been reviewed by compliance,

       2     so that he's aware.

       3         Q.    I understand.

       4         A.    Yeah.

       5         Q.    But I -- what I was asking --

       6         A.    Yeah.

       7         Q.    -- was a little bit different.

       8         A.    Okay.

       9         Q.    It was:    What did you understand Jim to be

      10     doing when he was looking at each of these

      11     suspicious orders in the system?

      12         A.    I really can't, like, answer that.           I don't

      13     know what he was doing.        I just know what he was

      14     asking.

      15         Q.    Okay.    Let me ask it a different way.          When

      16     you would look at the suspicious orders -- or orders

      17     of interest, rather, held in TPS, whenever it was

      18     that you became involved, would you go back and look

      19     at the customer questionnaire and the sales history

      20     and the dispense data and any other due diligence

      21     materials that were on file before determining

      22     whether to release that order or not?

      23         A.    There's a number of different ways that

      24     things are looked at.        Yes, that would be one

      25     approach.

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       1         Q.    What are the other ways?

       2         A.    The other approach is, under the assumption

       3     that a customer was already reviewed on the front

       4     end and that they already went through a thorough

       5     review process, they were already given very

       6     conservative limits to buy, period, and then

       7     understanding our secondary position, so that on the

       8     third step, if an order was on hold as an order of

       9     interest, you would then be looking at what they

      10     ordered.

      11         Q.    Okay.    So if I understand you correctly, the

      12     research could be done very thoroughly on the front

      13     end, right?

      14         A.    Right.

      15         Q.    And you said that's often the case with

      16     chains because of the business relationship and

      17     because there is numerous stores, right?

      18         A.    It's been the case since I've been in the

      19     department on the front end with any new customers

      20     to controls, yes.

      21         Q.    That on the front end, the initial review is

      22     so thorough that you don't necessarily need to do as

      23     thorough of a review on the back end for the

      24     individual orders?

      25         A.    I'm not indicating that.         I'm saying that

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       1     you've already approved that this customer can buy.

       2     You've limited what they're allowed to buy, and then

       3     you're then reviewing what they are buying.

       4         Q.    And so you might be more lenient when it

       5     comes to determining whether an order is suspicious

       6     or not based on your previous approval?

       7         A.    I wouldn't --

       8               MS. KOSKI:     Object to form.

       9               Sorry.    Go ahead.

      10         A.    I wouldn't use the term "lenient."

      11         Q.    What term would you use?

      12         A.    I would say that there may be a familiarity

      13     with the customer based on the review that you --

      14     that's already taken place.

      15         Q.    So you may be more comfortable with the

      16     orders that are coming in and tagged by the system

      17     as potentially of interest because of the

      18     information that you've gathered up front?

      19         A.    If there was a comfort -- assuming that

      20     there was a comfort with the customer, you would --

      21     unless there was something to indicate that the

      22     order was suspicious and make you uncomfortable,

      23     that's why we're researching it, yes.

      24         Q.    So that brings us back to Exhibit 7.            Did

      25     you understand the legacy TPS system as identifying

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       1     potentially uncomfortable orders as -- using your

       2     language?

       3         A.    We had -- that system was flagging orders of

       4     interest, and there could potentially be an order

       5     that needed looked into as potentially being

       6     suspicious, yes.

       7         Q.    Are there reasons why you wouldn't look at

       8     one of those orders flagged by the system as being

       9     potentially suspicious?




      19         Q.    So let's just back up for a second.           My

      20     understanding, based on your testimony today, is

      21     that within TPS, Cognos, and I think Remedy, you

      22     said, a customer might be screened or flagged "yes"

      23     or "no" for controls; is that right?

      24         A.    The -- Remedy is not where a customer is

      25     flagged.     Remedy is a task management system for

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       1     sales reps to make a request to us.           But a customer

       2     would be flagged in TPS.

       3         Q.    So a customer would be flagged "yes" or "no"

       4     for controls in TPS, right?

       5         A.    Yes.

       6         Q.    And that flag and ability to purchase

       7     controls would be based on this initial upfront

       8     information that you've just been talking about,

       9     right?

      10         A.    From the time I've been there, yes.

      11         Q.    And you said you've been very comfortable

      12     with the information that you've gathered up front

      13     from the time that you've been there, right?

      14         A.    I can't speak to a specific example going

      15     back this far, but I know that we've been reviewing

      16     new customers to controls with that information.

      17         Q.    And based on that information, you wouldn't

      18     be as concerned that a particular order was

      19     suspicious because you had already done the review

      20     at the front end, right?

      21         A.    I wouldn't use the term "as concerned."            I

      22     would say that you already had a comfort level with

      23     a customer and what you had allowed, and then you

      24     would need to take another look at what is pending

      25     based on what you have already made available to

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       1     them.

       2         Q.    So the other look was triggered by TPS --

       3         A.    Right.

       4         Q.    -- using some sort of equation that you

       5     don't know what it was, you said before, right?

       6         A.    Right.

       7         Q.    You said it might be frequency or --

       8         A.    Size.

       9         Q.    -- size or something like that?

      10         A.    Yes.

      11         Q.    All right.     And then depending on your

      12     comfort level with that customer, your research into

      13     whether or not that order of interest should be

      14     suspicious or not might look different?

      15         A.    No.    So you're -- you have an awareness of

      16     who you are comfortable with as a customer, and then

      17     you're looking at what they are ordering for sure.

      18     But it depends on what it is that they're ordering

      19     that stands out as being something you need to look

      20     into more, because there's already a few different

      21     limitations and checks in place.

      22         Q.    So would those be some of the things that

      23     might cause TPS to flag an order of interest?

      24         A.    Whatever was behind the scenes flagging it

      25     as something that needed looked into.

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       1         Q.    And then if it were flagged, you would,

       2     coming back to where we started this line of

       3     questioning, do certain research into that customer

       4     to determine if it was, in fact, potentially

       5     suspicious, right?

       6         A.    Yes.

       7         Q.    And that would include looking at the due

       8     diligence information such as customer

       9     questionnaire, right?

      10         A.    It -- you could do that, yes.

      11         Q.    You -- and the dispense data?

      12         A.    Yes.

      13         Q.    And the sales data?

      14         A.    Yes.

      15         Q.    And whatever customer notes might be in TPS?

      16         A.    Correct.

      17         Q.    And some of the other things that we've

      18     talked about, you said it might look different in

      19     each situation?

      20         A.    Correct.

      21         Q.    And this would up -- be up to an analyst to

      22     decide what process that they wanted to follow for

      23     each of those orders?

      24         A.    Not up to the analyst to decide what process

      25     they want to follow, but for the analyst to

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       1     determine where the information is to do their

       2     research for each of those customers and what

       3     information is available.

       4         Q.    Okay.    So at this point, that's what Jim is

       5     asking.    He's doing that research, right?

       6         A.    He's asking for more of a familiarity with

       7     chain reviews.      He was not directly involved with

       8     the front end of chain reviews at this point in

       9     time.

      10         Q.    Yet he's still reviewing the orders from

      11     those chains here, right?

      12         A.    He's indicating that he wants to be more

      13     familiar while working from -- in the evenings on

      14     the suspicious order monitoring.

      15         Q.    At this point in time, are you aware of

      16     whether Jim could release orders or not?

      17         A.    I'm not aware.

      18         Q.    His language in this e-mail would indicate

      19     that he was, though; you would agree, right?

      20         A.    His language is indicating that he's

      21     monitoring.

      22         Q.    And that he can potentially release the

      23     order, right?

      24         A.    Potentially, yes.

      25         Q.    Do you remember any correspondence related

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       1     to this?

       2         A.    I don't recall.

       3         Q.    We'll take a break in just a second here,

       4     but I want to just finish this line of questioning.

       5               (Anda - Solis Exhibit 8 was marked for

       6     identification.)

       7     BY MS. ELLIS:

       8         Q.    I'm handing you what's been marked as

       9     Exhibit 8.     This is beginning Bates Number

      10     Anda_Opioids_MDL_421668.         This appears to be an

      11     e-mail chain starting on December 11th, 2012,

      12     related to Safeway.       It looks like you are looped

      13     into this chain on the 19th, about a week later.

      14               Is Safeway a chain customer of Anda's that

      15     you're familiar with?

      16         A.    Yes.

      17         Q.    And here it says that they are looking to

      18     buy about four bottles of generic Percocet, but

      19     they're blocked in the system.

      20               So this is -- these are the limits that you

      21     were talking about earlier, right?

      22         A.    Correct.

      23         Q.    So whatever had happened on the front end

      24     with Safeway had basically led compliance to set a

      25     limit of no Percocet, it appears, or something less

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       1     than four bottles of Percocet, right?

       2         A.    Right.

       3         Q.    And they've come to compliance through the

       4     sales rep, as you talked about before, right?

       5         A.    Right.

       6         Q.    To request more, correct?

       7         A.    Yes.

       8         Q.    And so in this circumstance, you first

       9     approved the order, right?

      10         A.    It looks like, yes, that happened.

      11         Q.    But then the next thing that you say is that

      12     you don't have any information on file for the

      13     chain?

      14         A.    Yes.

      15         Q.    You've requested the information a couple of

      16     times, but you don't have it?

      17         A.    Right.

      18         Q.    So in this case, you didn't have due

      19     diligence -- or dispense data for the chain before

      20     you released this order?

      21         A.    No.    It seems to be indicating it may be on

      22     the store level.       I don't know if -- I said I didn't

      23     have any on file for the chain.

      24               MS. ELLIS:     Okay.    We can take a break.

      25               THE VIDEOGRAPHER:       Off the video record at

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       1         2:59.

       2              (Recess from 2:59 p.m. until 3:25 p.m.)

       3               THE VIDEOGRAPHER:       The time is 3:25 p.m.

       4         We're now back on the video record.

       5     BY MS. ELLIS:

       6         Q.    A moment ago we were talking about the

       7     suspicious order monitoring system.           Do you recall?

       8         A.    Yes.

       9         Q.    And in the e-mail we just were going over,

      10     Exhibit 8, there's a reference to the bucket, I

      11     believe, or if I say "the bucket," what is -- what

      12     does that mean to you?

      13         A.    The suspicious order monitoring queue.

      14         Q.    Within TPS?

      15         A.    If it was in 2012, it was within TPS.

      16         Q.    And is that still a term that's used at Anda

      17     today, the bucket?

      18         A.    Yes.

      19         Q.    And so what -- if somebody were to say,

      20     these orders are in the bucket, we need to deal with

      21     them, what does that mean to you?

      22         A.    I don't know what "deal with them" means.             I

      23     would assume it's saying they need reviewed.

      24         Q.    Okay.    So if an order is in the bucket, it

      25     needs -- it would mean that it needs to be reviewed?

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       1         A.    Yes.

       2         Q.    And the review could take on, as we talked

       3     about at length, a couple of different forms,

       4     looking at the research that Anda has on file,

       5     right?

       6         A.    Yes.

       7         Q.    Including dispense data, yes?

       8         A.    Yes.

       9         Q.    The customer questionnaire?

      10         A.    Yes.

      11         Q.    Potentially asking the customer more

      12     questions through the sales rep, right?

      13         A.    Yes.

      14         Q.    And that was something that you said was

      15     ideal to do in all circumstances where you look at

      16     an order of interest, right?

      17         A.    Yes.

      18         Q.    So orders of interest are in the bucket,

      19     right?

      20         A.    Right.

      21         Q.    So an order of interest, according to

      22     compliance standards at Anda, needed to be reviewed

      23     before -- so that it could be determined if it was

      24     suspicious or not, right?

      25         A.    Yes.

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       1         Q.    And without that review, Anda policy was not

       2     to fill that order; is that right?

       3         A.    Please help me understand the point of what

       4     you're saying.

       5         Q.    Well, just walk me through what happens when

       6     something goes into the bucket.          So an order goes

       7     into the bucket.

       8         A.    Right.

       9         Q.    What happens to that order next?

      10         A.    You look at what is being ordered, what is

      11     the SKU, what is the item, what is the quantity, who

      12     is the customer.

      13         Q.    So customer would look at the order -- or,

      14     I'm sorry, compliance would look at the order,

      15     right?

      16         A.    Yes.

      17         Q.    And then from there they would make a

      18     determination to either release it, correct?

      19         A.    Correct.

      20         Q.    And that means that the order would be

      21     filled and would be shipped, right?

      22         A.    Yes.

      23         Q.    Or determine that perhaps more research was

      24     needed, right?

      25         A.    Right.

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       1         Q.    In which case it would continue to be held,

       2     yes?

       3         A.    Yes.

       4         Q.    Or potentially determine that it was

       5     suspicious, right?

       6         A.    Yes.

       7         Q.    And that was all according to Anda

       8     compliance policy, right?

       9         A.    Yes.

      10         Q.    In furtherance of the goals of upholding the

      11     regulatory environment that Anda was operating in,

      12     right?

      13         A.    Those are guidelines for reviewing a

      14     customer, yes.

      15         Q.    Guidelines, because that's the goals of what

      16     the compliance department does, as you testified to

      17     before, right?

      18         A.    Yes.

      19         Q.    Now, how long -- it sounds like there is a

      20     couple of steps that are involved in reviewing an

      21     order of interest in the bucket, right?

      22         A.    Yes.

      23         Q.    It could take some time?

      24         A.    It can.

      25         Q.    What's the longest you've ever spent

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       1     reviewing an order?

       2               MS. KOSKI:     Object to form.

       3         A.    I don't know what the longest time is that

       4     I've reviewed something.

       5         Q.    Have you ever spent more than three hours

       6     reviewing an order?

       7         A.    An order can be reviewed for three days.

       8         Q.    Have you ever spent more than three days

       9     reviewing an order?

      10         A.    I don't recall off the top of my head.            It's

      11     possible.

      12         Q.    Have you ever spent more than two weeks

      13     reviewing an order?

      14         A.    Not that I'm aware of.

      15         Q.    Have you ever spent more than a week

      16     reviewing an order?

      17         A.    I'm not aware of --

      18         Q.    Have you ever spent more than -- do you ever

      19     recall spending more than five days reviewing an

      20     order?

      21         A.    Not that I remember.

      22         Q.    Do you remember spending more than three

      23     days reviewing an order?

      24         A.    If information is requested from a customer,

      25     our department has to wait for the customer to

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       1     respond.     So typically, as is today, if we give a

       2     customer three days to respond, usually, before we

       3     make a determination.

       4               In the past, I don't know how long it

       5     could -- would have been.

       6         Q.    So today it would be three days; is that

       7     fair?

       8         A.    They have up to three days, yes.

       9         Q.    In the past it could have been longer, but

      10     you don't know for sure?

      11         A.    I don't know.

      12         Q.    What's the least amount of time that it

      13     might take you to review an order?

      14               MS. KOSKI:     Object to form.

      15         A.    I don't know that.

      16         Q.    Could you do it in an instant?          Can -- have

      17     you ever looked at an order and just known this

      18     is -- this is okay, it's not suspicious?

      19               MS. KOSKI:     Object to form.

      20         A.    There -- being a secondary supplier, and

      21     there's so much review already up front, you can

      22     look at what you've already approved and allowed,

      23     and you can look at the items and the quantities,

      24     and you can make a determination of what you feel

      25     needs to be looked into more and could potentially

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       1     be suspicious.

       2         Q.    So no matter the order, you've said a few

       3     things that you look at every time.           One, you figure

       4     out who the customer is, right?

       5         A.    Right.

       6         Q.    And you either have familiarity with that

       7     customer as an analyst or you don't, right?

       8         A.    Right.

       9         Q.    Sorry, let's try not to talk over each

      10     other.

      11         A.    Sorry.

      12         Q.    I know it's a long day, but we'll try to

      13     stay with the rules we agreed on.

      14               So you can -- you have to determine whether

      15     you're familiar with that customer or not, right?

      16         A.    Yes.

      17         Q.    You would almost always look at what was on

      18     file for that customer?

      19         A.    You're also looking at the item being

      20     purchased, the reason it's being held, and the

      21     quantity of what they're purchasing.

      22         Q.    Within TPS, when an order is viewed in the,

      23     quote-unquote, bucket, does it give a reason that

      24     the order is being held?

      25         A.    There used to be a code, and I don't know

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       1     off the top of my head what that code represented,

       2     but there was a hold code.

       3         Q.    Were there different hold codes depending on

       4     the reason that an order was held as of interest?

       5         A.    It had to do with the programming that it

       6     would be flagged to hold, yes.

       7         Q.    So I guess by way of example, you had said a

       8     couple of things earlier that an order might have

       9     held of interest, although you weren't sure the

      10     exact equation, that it might be a higher quantity,

      11     right?

      12         A.    Right.

      13         Q.    Or it could be a different frequency, right?

      14         A.    Yes.

      15         Q.    Would that be two separate codes in TPS, or

      16     would there be something you could look at in TPS

      17     and the bucket to tell you which one of those two

      18     things it was?

      19         A.    There was -- the way it was programmed is if

      20     a line item was held, there was a reason code.

      21         Q.    And that -- there were multiple reasons,

      22     right?

      23         A.    Yes.

      24         Q.    Do you know how many reasons there were?

      25         A.    I don't know.

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       1         Q.    Do you know if a report could have been run

       2     off of those reason codes for items that were held?

       3         A.    There -- if it was in TPS, and there was a

       4     reason code, I assume that that could be pulled out.

       5         Q.    That could be made into a report?

       6         A.    Yes.

       7         Q.    Did you ever make that into a report?

       8         A.    I don't recall.

       9         Q.    Do you know if anybody else ever made that

      10     into a report, why items were being held?

      11         A.    Anything can be made into a report if it's

      12     requested.

      13         Q.    So if the data is in TPS, and there's a

      14     separate field for it, it can be made into a report?

      15         A.    Any -- any field can be reported on, yes.

      16         Q.    And that can be done with a combination of

      17     reports, right?

      18         A.    Yes.

      19         Q.    I'm sorry.     A combination of fields, not

      20     reports.

      21         A.    Combination of fields, yes.

      22         Q.    And you do that in cooperation with IT,

      23     correct?

      24         A.    Yes.

      25         Q.    All right.     So you weren't able to say, you

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       1     know, that you could just release an order in an

       2     instant.     Would you say that the least amount of

       3     time it might take to review an order of interest is

       4     five minutes?

       5         A.    I think that we don't look at it as a time

       6     frame, like speeding through something.            We have a

       7     familiarity with what passes through the department,

       8     and we're focusing on -- we have a very high volume

       9     of customers, and we're looking at what is the item

      10     that's flagging, what is the reason, and who is the

      11     customer.

      12               So, for example, in today's world, a

      13     customer's first order for the first 30 days is in

      14     there.    So you can tell that that is a first-time

      15     order on someone that you just reviewed and you just

      16     approved.

      17               So I wouldn't say that anything is speedily

      18     done.    It's looking at all of those factors and

      19     deciding how much it needs looked into.

      20         Q.    Is there a -- so you do that for every order

      21     that you look at, right?

      22         A.    You're -- you're looking at all of those

      23     factors.

      24         Q.    Is there a time frame in which you -- and I

      25     guess I'll differentiate time frame here, because it

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       1     seems like you're differentiating between today's

       2     world, which I guess would be post-Buzzeo.             Is that

       3     fair to say?

       4         A.     Yes.

       5         Q.     And pre-Buzzeo?

       6         A.     Yes.

       7         Q.     Okay.   So in the pre-Buzzeo world, was there

       8     a time frame in which you, as in the compliance

       9     department, told customers you would review and

      10     potentially release orders in or guaranteed to do

      11     that in?

      12         A.     I don't recall.

      13         Q.     Is there anything that would help refresh

      14     your recollection?

      15         A.     Possibly.

      16         Q.     What would that be?

      17         A.     Going back into that place and time.           I

      18     don't recall if we -- if we responded in a certain

      19     way.     I know today it's three days.

      20         Q.     But you don't -- do you remember any other

      21     limit besides three days and that you gave customers

      22     to tell them when they could expect to hear about an

      23     order that might be flagged of interest?

      24         A.     I don't recall going back that far.

      25         Q.     Okay.   So anywhere between five minutes and

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       1     three days, it's fair to say, it might take an order

       2     to be reviewed; is that fair?

       3               MS. KOSKI:     Object to form.

       4         A.    I really can't calculate that.          It depends

       5     on -- every situation is different.

       6         Q.    Okay.    I understand that.

       7         A.    Yeah.

       8         Q.    I'm trying to account for all of the

       9     situations, then, and understand that there is a

      10     variance and -- you said it's not done in an instant

      11     because you have to do those steps that we just went

      12     through, realizing who the customer is, right?

      13         A.    Right.

      14         Q.    Thinking about what you have in your own

      15     head, as an analyst, about what is on file for that

      16     customer, right?

      17         A.    I wouldn't say it's in my own head, but I

      18     would say if you have an awareness and you recently

      19     reviewed them, then you know what you just reviewed,

      20     yes.

      21         Q.    So at the very least, those two things you

      22     have to be able to recognize when you see an order

      23     of interest, right?

      24         A.    Yes.

      25         Q.    So that takes, would you say, fair to say, a

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       1     minute?

       2         A.    To do -- to do which part?

       3         Q.    Just that.

       4         A.    Just to look at the order and say --

       5         Q.    Yeah.

       6         A.    -- is this an order that I consider?            I

       7     think that you can make a quick deduction looking at

       8     the quantity, the customer, the item, and the reason

       9     code.

      10         Q.    What's quick?

      11         A.    You can say, I need to look into this

      12     further, or this doesn't need looked into further.

      13         Q.    So could you do that in 30 seconds?

      14         A.    I don't know.

      15         Q.    Could you do that in 10 seconds?

      16         A.    I don't know.

      17         Q.    So somewhere between zero seconds and three

      18     days is what it would take you to review a potential

      19     order of interest; is that fair?

      20         A.    Yes.

      21         Q.    Would you say it was more the exception or

      22     the norm that you would look at orders that were

      23     placed by customers who had just become customers of

      24     Anda?

      25               MS. KOSKI:     Object to form.

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       1         A.    Customers that have just become customers of

       2     Anda, in today's world, always appear because

       3     they're first-time orders.

       4         Q.    What about pre-Buzzeo?

       5         A.    Pre-Buzzeo, I don't recall because I wasn't

       6     a part of that background programming.

       7         Q.    But you were reviewing orders of interest in

       8     TPS at that point.

       9         A.    It -- I think it's important to note I was

      10     in that department in '11, and I left in, like, '14.

      11     And I worked in another area of compliance.             And so

      12     at that point in time when I was in the department,

      13     I wasn't in the suspicious order monitoring very

      14     often.

      15         Q.    But you were doing suspicious order

      16     monitoring releases at that point?

      17         A.    Few and far between, yes.

      18         Q.    Do you think you would have spent more time

      19     reviewing particular orders, given the fact that you

      20     didn't do it that frequently?

      21               MS. KOSKI:     Object to form.

      22         A.    Say that again.

      23         Q.    You said it was few and far between.            So do

      24     you think that meant you would review orders faster

      25     or slower than other analysts?

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       1         A.    I don't know.      I don't know where I would

       2     compare to another analyst.         I'm not sure.

       3         Q.    In the period of time between 2011 and 2014,

       4     were there any conversations within the compliance

       5     department about levels of orders that fell into the

       6     bucket and the amount of time that it took to clear

       7     them?

       8         A.    Levels and the time that it took to clear?

       9     I don't -- I don't recall.         I don't know.

      10         Q.    So you don't remember whether anybody ever

      11     had any concern about whether there were too many

      12     orders in a bucket on a given day?

      13         A.    Going back in time, there were issues with

      14     items that were held in the bucket, and it was

      15     different concerns with programming.            So

      16     something -- for example, preallocated was holding,

      17     and that -- this was a determination by whoever put

      18     together the program.        And I don't know why that was

      19     done.

      20               And so I think why it was done was it would

      21     be looked at preallocated and then when it was

      22     finally confirmed.

      23               What was happening, if I recall back in

      24     those days, was that there was a lot that was

      25     holding, and it was actually a bad NDC that was not

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       1     even active at Anda, or there was actually no

       2     inventory for the orders to ever go out.

       3               So there were times where you would have

       4     tons and tons and tons of orders because they

       5     weren't actual orders, yet they were still holding,

       6     and they still needed to be cleared, so you could

       7     review the orders that were legitimate.

       8         Q.    So was that something that was -- happened

       9     regularly, would you say?

      10         A.    It did occur because it continued -- so

      11     there is different issues that I'm recalling.              One

      12     of them was the preallocating point.            And I don't

      13     believe -- I think that the upper management made a

      14     decision they wanted it to stay that way for

      15     whatever they -- reason they wanted to logistically.

      16               And then other than that, a bad NDC was a

      17     flaw with an item that was in our system.             And I

      18     know that that did occur quite often, yes, and they

      19     were not real orders.

      20         Q.    When you say they weren't real orders, you

      21     mean because it wasn't an actual NDC --

      22         A.    It could never be fulfilled.          There was

      23     never any quantity or the NDC was not a real good

      24     NDC with quantity on hand.

      25         Q.    How would that get in the system?

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       1         A.    Because -- it depends on who the customer

       2     is, but if a customer was -- they tried to purchase

       3     an item, and the system would suggest a substitute

       4     or something like that.        And they were directed to

       5     the substitute item, but the item was not a good

       6     item, they continued to be pushed towards that item

       7     that wasn't going to be fulfilled.

       8               (Anda - Solis Exhibit 9 was marked for

       9     identification.)

      10     BY MS. ELLIS:

      11         Q.    I'm handing you Exhibit 9, marked with

      12     Anda_Opioid_MDL Bates Number 339317.

      13         A.    Uh-huh.

      14         Q.    This is an e-mail from December 9th, 2013,

      15     between yourself and Latoya Samuel, who I believe is

      16     also Latoya Laroche; is that right?

      17         A.    Yes.

      18         Q.    Okay.    And this would have been between 2011

      19     and 2013 where you were reviewing these orders of

      20     interest, as you call them, so that they could be

      21     released, right?

      22         A.    Yes.

      23         Q.    And this e-mail exchange looks like it's an

      24     exchange between yourself and Latoya about releasing

      25     those orders, right?

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       1         A.    Yes.

       2         Q.    So here, were you and Latoya in the same

       3     position at this point?        Do you know?

       4         A.    No, we were -- well, we were both analysts.

       5     I was a senior analyst, senior analyst.

       6         Q.    So you said before that your

       7     responsibilities changed as a senior analyst, but it

       8     appears from this e-mail that you were still doing

       9     reviews of orders of interest at this point, right?

      10         A.    Yes, if it was needed.

      11         Q.    So in this circumstance, you were -- it

      12     appears to have been needed, right?

      13         A.    Yes.

      14         Q.    You said to her that you'll be out of the

      15     office tomorrow, just FYI, because of the Walgreens

      16     orders.    Today you released 600 orders.

      17         A.    Yes.

      18         Q.    Now, those 600 orders all would have needed

      19     to be reviewed according to the process that we

      20     talked about before, right?

      21         A.    Not necessarily, no.

      22         Q.    Oh, no?    Why not?

      23         A.    Because there are 8,500 Walgreens locations,

      24     and I would have to go back into that period of time

      25     in context to understand what they were buying and

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       1     why they were buying it.

       2               But for example, in today's world, if

       3     Walgreens comes to you, and there's a particular

       4     market condition, you can see an influx of a lot of

       5     their stores coming your way for the same item.              And

       6     so if you see 900 orders for that same item, you

       7     quickly know what it's about.

       8         Q.    You can't, sitting here today, tell me what

       9     this is, though, right?

      10         A.    I don't recall this particular issue with

      11     Walgreens.

      12         Q.    This is an issue that you said TPS might

      13     be -- or is capable of producing reports related to

      14     order releases, right?

      15         A.    Yes.

      16         Q.    So when you put in an order release, or you

      17     approved an order for release, would you have put in

      18     reason why you released it?

      19         A.    There's a code, yes.

      20         Q.    And that code would be reported and capable

      21     of -- recorded, pardon me, and capable of being

      22     reported as well, right?

      23         A.    Yes.    That note is within the SOM system,

      24     not like a compliance note, yes.

      25         Q.    So there's a separate field for an order

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       1     being released, right?

       2         A.    Correct.

       3         Q.    And so you said you released 600 orders on

       4     December 9th, 2013, and Latoya responds back that

       5     she released about 300 later that evening; is that

       6     right?

       7         A.    Yes.

       8         Q.    Sitting here today, those numbers don't

       9     concern you, though?

      10         A.    No.

      11               (Anda - Solis Exhibit 10 was marked for

      12     identification.)

      13     BY MS. ELLIS:

      14         Q.    I'm going to hand you Exhibit 10.           This is

      15     Anda_Opioids page beginning 339315.           This looks to

      16     be a later iteration of this e-mail.            It starts

      17     where the last one left off.          You'll see right there

      18     that same exchange from Monday, December 9th, 2013,

      19     right?

      20         A.    Right.

      21         Q.    And then you go on to say that you talked to

      22     Robert, and that's a scary number of 900.             Hopefully

      23     something can be done about that.

      24         A.    Right.

      25         Q.    Do you remember talking to Robert?

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       1         A.    I don't recall the situation, but if I said

       2     that, it means that we were inundated for probably

       3     something that was nonsensical, and it was in the

       4     suspicious order monitoring system.

       5         Q.    You used the word "scary."

       6         A.    Right.

       7         Q.    Why was that scary?

       8         A.    Because the orders still had to be cleared

       9     out of the system in order for us to review all

      10     other orders.

      11         Q.    And that was taking time, right?

      12         A.    900 orders had to be released --

      13         Q.    So that --

      14         A.    -- whether or not they were a real order or

      15     not, and I don't recall.

      16         Q.    So that would take some time?

      17         A.    Yes.

      18         Q.    An order would need to be released

      19     individually, right?

      20         A.    Assuming that it was an order and not an

      21     item that had no inventory or product that was not

      22     legitimate, yes.

      23         Q.    So what steps would you go through to

      24     release an order in the system?

      25         A.    You would look --

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       1               MS. KOSKI:     Object to form.

       2               Sorry.    Go ahead.

       3         A.    You would look at the customer, the code,

       4     the quantity, and the item.

       5         Q.    I'm sorry.     That was my mistake.        I should

       6     have been more specific in my question.

       7         A.    Yeah.

       8         Q.    So if you had determined that an order could

       9     be released, was there just, like, a field that you

      10     coded the reason why you're releasing the order

      11     into, or did you push a button?          What did you

      12     actually do within TPS so that the order was

      13     released?

      14         A.    There is -- at that time, going back this

      15     far, there was an area where you can select the

      16     reason that you're saying it could be cleared.

      17         Q.    So you would need to do that for each of the

      18     900 orders, right?

      19         A.    Yes.

      20         Q.    And that's something that would take some

      21     time, right?

      22         A.    It would take time to release 900 orders,

      23     yes.

      24         Q.    And so this is something that concerns you

      25     at that point, yes?

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       1         A.    The volume, yes.

       2         Q.    And Latoya agreed with you, right?

       3         A.    Yes.

       4         Q.    Do you have Google Alerts set up related to

       5     your job?

       6         A.    Sorry?

       7         Q.    Do you have Google Alerts set up related to

       8     your job?

       9         A.    Yes.

      10         Q.    What are they?

      11         A.    I don't -- I set this up maybe nine years

      12     ago, and it's pertinent to what we do.

      13         Q.    Did somebody ask you to do that?

      14         A.    I believe when I was hired, yes.

      15         Q.    Do you know who asked you?

      16         A.    Most likely Michael Cochrane or Emily

      17     Schultz.

      18         Q.    Do you remember what they said about it?

      19         A.    To always know what's going on in the news.

      20         Q.    Why?

      21         A.    Because it's relevant to what we do.

      22         Q.    Why is it -- what importance would the news

      23     have to do with your job in compliance?

      24         A.    To be aware of the industry as a whole, to

      25     be aware of what's going on with the state, with the

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       1     DEA, and with customers.

       2         Q.    So you could do your job better?

       3         A.    To be aware of what's happening in the news,

       4     yes.

       5         Q.    Do you remember -- you don't remember,

       6     sitting here today, what Google Alerts you have set

       7     up?

       8         A.    I would assume that the Google Alerts are

       9     set up to identify DEA-related issues, narcotic

      10     issues, control issues, doctor issues.

      11         Q.    Did you ever use Google Alerts to identify

      12     issues that you might want to look at from a

      13     compliance perspective?

      14               MS. KOSKI:     Object to form.

      15               Go ahead.     Sorry.

      16         A.    Yes.

      17         Q.    Sitting here today, if I were to ask you to

      18     pull up SOP 040.3 that you had mentioned earlier,

      19     how -- where would you go to do that?

      20         A.    That's -- everything that -- all of our

      21     records are saved in the O drive.

      22         Q.    Is there a folder or something that they're

      23     saved in?

      24         A.    Yes.

      25         Q.    Do you know what it's called?

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       1         A.    SOP.

       2         Q.    And there's a folder presumably for

       3     different SOPs?

       4         A.    Yes.

       5         Q.    Do -- does that folder include historical

       6     versions of SOPs or previous versions?

       7         A.    I believe so.

       8         Q.    Have you gone in and accessed those at any

       9     point?

      10         A.    The historical?

      11         Q.    Yeah.

      12         A.    I have not looked at the historical.            I was

      13     not part of those.

      14         Q.    Have you authored an SOP yourself?

      15         A.    If -- in my current role, I have only been

      16     in this since December of '17, so I have not

      17     authored one to date.

      18         Q.    Have you been the reviewer on one?

      19         A.    I have, yes.

      20         Q.    What does that mean?

      21         A.    Reviewing to see if there's any pertinent

      22     changes that I felt needed added at the time of

      23     review.

      24         Q.    What is your understanding of how an SOP

      25     comes to exist within Anda?

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       1         A.    Meaning who authors it?

       2         Q.    Meaning there's some issue that the company

       3     wants to adopt a standard operating procedure for,

       4     what do they do?

       5               MS. KOSKI:     Object to form.

       6         A.    To be honest, I can't even answer that,

       7     because I haven't been a part of that end of it to

       8     this point in time.

       9         Q.    You've been a part of the SOP review

      10     process, right?

      11         A.    Yes.

      12         Q.    You've been responsible for abiding by SOPs,

      13     right?

      14         A.    Yes.

      15         Q.    But you have not authored it, yet, one; is

      16     that right?

      17         A.    Not that I recall, no.

      18         Q.    Okay.    Do you -- do you have any

      19     understanding of how an SOP is adopted?

      20               MS. KOSKI:     Object to form.

      21         A.    I understand that an SOP is adopted so that

      22     you have a set of guidelines and procedures that

      23     you're identifying are what should be followed.

      24         Q.    Okay.    So sitting here today, say you

      25     identify some sort of issue within compliance that

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       1     you want your compliance team members to follow a

       2     certain procedure.       What would you do in order to

       3     have a procedure adopted by the company?

       4         A.    If it needs to be adopted by the company, it

       5     would have to be revised and added.

       6         Q.    And how would you do that?

       7         A.    Well, when I do do that, it would be

       8     initiating the change.

       9         Q.    So that's referring to an existing SOP,

      10     right?

      11         A.    Most likely, yes.

      12         Q.    So let's use that as our first example.

      13     Let's say you want to make a change to SOP 40 about

      14     suspicious order monitoring, sitting here today.

      15     What would the first step be that you would take in

      16     order to make that change?

      17         A.    Hypothetically, it would have to make sense

      18     and then be identified as something that you wanted

      19     to do going forward.

      20         Q.    Okay.    And so you would make a draft,

      21     perhaps, of that?

      22         A.    Perhaps.

      23         Q.    And then what would you do with that draft?

      24         A.    I haven't done anything with a draft to this

      25     point in time, but if you create a draft, assuming

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       1     that you want to make it permanent, you would

       2     probably take it to different approvals to make it

       3     permanent.

       4         Q.    Who would need to approve it?

       5         A.    Most likely it would be the heads of

       6     compliance, meaning, like, a Jay Spellman today.

       7         Q.    How would you know who would need to approve

       8     it?

       9         A.    Well, that sort of a thing, I think, should

      10     be approved by multiple people, if it's going to

      11     become a company standard.

      12         Q.    Are you aware of any written process that

      13     Anda has for the development and adoption of SOPs?

      14         A.    I'm not familiar with a written process for

      15     that.

      16         Q.    Are you aware of any -- has anybody told you

      17     of any process that Anda has for the development and

      18     adoption of SOPs?

      19         A.    I am not familiar with that.

      20         Q.    Are you, in your current role, responsible

      21     for complying with Anda SOPs?

      22         A.    In my current role, we're supposed to be

      23     cognizant of guidelines, yes.

      24         Q.    You're supposed to follow those guidelines,

      25     right?

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       1         A.    We're supposed to be aware and try to

       2     follow, of course.

       3         Q.    Are there certain guidelines that are more

       4     important in your role now, as manager of compliance

       5     at Anda, than they were, say, when you were in

       6     purchasing?

       7               MS. KOSKI:     Object to form.

       8         A.    I don't -- I don't think anything is more or

       9     less important, but I do think that where you are

      10     today versus the past is always going to be

      11     different.

      12         Q.    All right.     You said you were a DEA analyst

      13     from 2011 until 2013; is that right?

      14               MS. KOSKI:     Object to form.

      15         A.    I believe it was '14 or '15.

      16         Q.    Well, you became -- after -- strike that.

      17               You were a DEA analyst starting in 2011?

      18         A.    Yes.

      19         Q.    Right?

      20         A.    Uh-huh.

      21         Q.    You stayed in that position for a couple

      22     years, you said?

      23         A.    Yes.

      24         Q.    And then what happened?

      25         A.    Then I transitioned to the other side of the

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       1     department, which is the regulatory compliance area,

       2     which focuses on the licensing of customers, the

       3     facility licensing of every place that we operate.

       4         Q.    And is that the area that Emily Schultz is

       5     the head of?

       6         A.    Currently, yes.

       7         Q.    And was your title the same at that point?

       8         A.    The title part is very confusing, because

       9     when Teva purchased us -- and I don't remember.              I

      10     think it went from a regulatory compliance manager.

      11     And even though I was working on the regulatory

      12     licensing side when Teva purchased us, they tried to

      13     find like titles.       And so they created the title DEA

      14     compliance manager, even though I was in the other

      15     role.    And they did the same for Emily Schultz.

      16         Q.    Meaning Emily Schultz has the same title as

      17     you or she --

      18         A.    She had a title of, like, a senior or -- I

      19     don't know exactly what it was -- senior DEA

      20     compliance manager when Teva purchased us and they

      21     did the title review, even though prior to Teva

      22     purchasing us, we were considered regulatory

      23     compliance managers.

      24         Q.    So Teva purchased Anda in what year?

      25         A.    October of -- is it -- 2016, I believe.

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       1         Q.    So prior to that, from 2011 to 2013, you

       2     were a DEA compliance analyst dealing with

       3     controlled substances, right?

       4         A.    I believe it was '11 to maybe '15.

       5         Q.    '11 to '15.     And in '15, you transferred to

       6     the regulatory compliance side of things, right?

       7         A.    Yes.

       8         Q.    And you were there from '15 until when?

       9         A.    December of 2017.

      10         Q.    And then what happened in December of 2017?

      11         A.    There was a restructuring of the department,

      12     and so I transitioned over to the DEA compliance

      13     side.

      14         Q.    So back to the area where you had been

      15     working up until 2015?

      16         A.    Correct.

      17         Q.    So you now, again, are responsible for

      18     dealing with controlled substances and Anda

      19     compliance with applicable rules and regulations?

      20         A.    Yes.

      21         Q.    And that's been since 2015, right?

      22         A.    No.

      23         Q.    Or '17, I'm sorry.

      24         A.    Yes.

      25         Q.    So from -- with the exception of 2015 to

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       1     2017, your entire time in the compliance department

       2     has been dealing with controlled substances?

       3         A.    Yes.

       4         Q.    From 2015 to 2017, what was different about

       5     your job compared to 2011 to 2015, if anything?

       6         A.    Sorry.    So the time that I left the

       7     department and went into the regulatory side, I was

       8     not dealing with controlled substances any longer.

       9     I was dealing with the customers and their licensing

      10     and Anda's facility licensing to operate.

      11         Q.    Are you aware of whether anybody took your

      12     position when you left the department?

      13         A.    Nobody took my position, but, however, you

      14     had Robert Brown there, who was the director of the

      15     department.      Latoya -- actually, no, I stand

      16     corrected.     Latoya Samuels was made a senior DEA

      17     compliance analyst.       When I -- when I left the

      18     department, I became a manager of regulatory

      19     compliance, and so she did take my previous title.

      20         Q.    Does she hold that title today?

      21         A.    So with Teva purchasing us, she -- it --

      22     she's doing the same thing, but they gave her

      23     another name, a DEA compliance auditor.

      24         Q.    And you said Mr. -- or Howard, Howard was

      25     the first boss that you had, and then it was Robert

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       1     Brown, right?

       2         A.    The first person that I reported to in that

       3     department was Michael Cochrane.           Howard was brought

       4     into the company.       I never reported under him, and

       5     then I did at some point report under Robert Brown.

       6         Q.    How long between when Howard left the

       7     company and -- do you recall how long of a time

       8     passed between when Howard left the company and

       9     Robert Brown started?

      10         A.    I don't recall exactly, but it was a couple

      11     of months.

      12         Q.    Were you involved in any conversations about

      13     the hiring of Robert Brown?

      14         A.    I was not.

      15         Q.    Were you aware, prior to the time that

      16     Robert Brown was hired, that they were looking for

      17     somebody to fulfill that position?

      18         A.    The job was posted online.

      19         Q.    Did you apply for it?

      20         A.    No.   It's a director position.

      21         Q.    Did you not feel you were qualified for

      22     that?

      23         A.    I was an analyst at the time.

      24         Q.    Do you have any understanding of why Robert

      25     Brown left the company?

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       1         A.    There was layoffs with Teva overall when

       2     there was financial issues with the corporation.               He

       3     left at the same time that many other people were

       4     laid off.

       5         Q.    So in 2017, you left the regulatory

       6     environment, and you went back to controlled

       7     compliance; is that right?

       8         A.    Yes.

       9         Q.    Why did you do that?

      10         A.    It was a restructuring of the department,

      11     and the -- Jay Spellman made the decision.

      12         Q.    Was it a promotion?

      13         A.    No, it was not.

      14         Q.    Are you in the same position now as you were

      15     in 2017 when you started?

      16         A.    Yes.

      17         Q.    And who do you report to now?

      18         A.    Jay Spellman.

      19         Q.    And does Emily Schultz now still work in

      20     regulatory compliance?

      21         A.    Yes.

      22         Q.    Did she ever do the control side of things?

      23         A.    Yes.

      24         Q.    When was that?      Do you know?

      25         A.    I don't know the exact years, but I would

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       1     say that she was involved until Robert Brown came in

       2     and took over the department.

       3         Q.    Have you ever done any training of others

       4     related to compliance and controlled substances?

       5               MS. KOSKI:     Object to form.

       6         A.    What type of training?

       7         Q.    Well, if I were -- I mean, what do you --

       8     what do you think of when I say training?

       9         A.    Training in the way we review customers and

      10     the type of information and, yes, the way the

      11     industry works as a whole, we do those sorts of

      12     things.

      13         Q.    Who do you do those sorts of things for?

      14         A.    There's been very few new employees, but if

      15     there is a new employee, you would do something like

      16     that --

      17         Q.    Was that --

      18         A.    -- or if they were cross-training.

      19         Q.    I'm sorry.     I cut you off.

      20               Was that new employees within compliance?

      21         A.    Yes.

      22         Q.    What about employees within other

      23     departments within Anda?

      24         A.    We do training related to various things we

      25     need to communicate.        Yes, we do something like

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       1     that.

       2         Q.    When is the first time you remember doing a

       3     training for somebody outside of compliance once you

       4     joined the compliance department?

       5         A.    There has been a lot of different sales

       6     training.     I don't recall the first time.          The type

       7     of training that has occurred is explaining what we

       8     need to review a customer, explaining what we're

       9     wanting as a guideline to review people, what's

      10     expected, what's expected of communications back to

      11     the customer.      That always took place, and it takes

      12     place today.

      13         Q.    So from 2011 on, that was taking place?

      14         A.    Yes.

      15         Q.    What form did that take?

      16         A.    There's new hire seminars where you kind of

      17     introduce the new hires to different concerns with

      18     the marketplace, the industry.          You also indicate

      19     what's needed by your department to review a

      20     request.

      21         Q.    So those were, like, day-long seminars that

      22     new hires would sit through?

      23         A.    They're not day-long, but maybe an hour or

      24     two.

      25         Q.    Would compliance present the entire hour or

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       1     two of those programs?

       2         A.    If it was focused on compliance, yes.

       3         Q.    Does every new hire receive compliance

       4     training?

       5         A.    Since I've been in the department in the

       6     last year, we've been doing that.           We've been asking

       7     to be included in those new hire sessions, yes.

       8         Q.    What about prior to that?

       9         A.    I know -- I can't speak to exactly what

      10     happened, but I know Robert Brown did do sales

      11     trainings.

      12         Q.    Do you -- did you ever assist with those?

      13         A.    Not with the ones that he attended when I

      14     was out of the department.

      15         Q.    What about prior to being out of the

      16     department, prior to 2015, did you assist with

      17     trainings for salespeople?

      18         A.    I don't recall being directly involved with

      19     the salespeople, but we did speak with, like,

      20     national account managers and such.

      21         Q.    Do you recall ever putting together

      22     materials for the sales department or people within

      23     the sales department of Anda?

      24         A.    It could have been asked of me to put

      25     together materials.       I don't off the top of my head

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       1     remember.

       2         Q.    Prior to taking your position now, were

       3     you -- are you aware if there were any set materials

       4     that the compliance department had developed and/or

       5     distributed to departments other than compliance?

       6         A.    I'm sure that materials were distributed.             I

       7     don't know anything off the top of my head.

       8         Q.    Do you know where those would have been

       9     found?

      10         A.    No.

      11         Q.    If I were to ask you to run a report of

      12     customer limits for controlled substances

      13     companywide, could you do that?

      14         A.    Current, today?

      15         Q.    Yes.

      16         A.    You're able to see it currently where a

      17     limit is at, yes.

      18         Q.    Could you run a report of that?

      19         A.    Yes.

      20         Q.    And what -- how would you do that?

      21         A.    How would you run the report?

      22         Q.    Yes.

      23         A.    You would have to question to see the

      24     control limit for a particular customer for a

      25     particular control family.

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       1         Q.    Would you use a certain program?

       2         A.    You could use any of the ones we discussed

       3     this morning.      You could use Cognos; you could use

       4     TPS.

       5         Q.    Prior to 2015, could you have done that?

       6         A.    Yes.

       7         Q.    Could you run a report of customer limits of

       8     any customer, including any customer that was

       9     eligible to buy controls?

      10         A.    Yes.

      11         Q.    Could you run a report of how those customer

      12     limits have changed over time?

      13         A.    No.    There is no historical -- well, I

      14     wasn't aware.      I don't believe there is a way to do

      15     historical.      We always ran reports to see where they

      16     were at at the current time.

      17         Q.    Would those reports be saved anywhere?

      18         A.    They were not saved in any one particular

      19     place.

      20         Q.    If I, prior to 2015, were to ask you to run

      21     a report of reasons why a customer limit had changed

      22     when -- well, just that first, reasons why a

      23     customer limit had changed, could you have done

      24     that?

      25         A.    Prior to 2015?

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       1         Q.    Yes.

       2         A.    Assuming that the request went through

       3     Remedy, you would be able to identify the request

       4     and when it changed.

       5         Q.    Could you also have identified why it

       6     changed?

       7         A.    You could identify if the customer provided

       8     that in the request, giving a reason, such as a

       9     market condition, a shortage, a backorder issue, or

      10     simply because they didn't have that item before, if

      11     that was entered into the Remedy opportunity, we

      12     could retrieve that.

      13         Q.    When you say opportunity, what do you mean?

      14         A.    That's what we call a sales request for a

      15     compliance review, is an opportunity.

      16         Q.    Is it your understanding that when a

      17     customer purchase limit changed for a particular

      18     reason, that that change went on in perpetuity?

      19               MS. KOSKI:     Object to form.

      20         A.    Sorry?

      21         Q.    So by way of an example, if a customer

      22     requested an increase in their ability to purchase

      23     controls and their control limit, based on one

      24     particular one-time reason -- are you familiar with

      25     any situations like that?

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       1         A.    A one-time situation?

       2         Q.    Yes.

       3         A.    I'm not familiar with a one-time situation.

       4     Usually, if a customer is reviewed for an increase,

       5     it's supposed to be ongoing.          There may be an

       6     example of a one-time opportunity where the customer

       7     has a certain limit, and there's only 100 of the

       8     limit left.      And we only have a certain bottle count

       9     available, and that's their only option to purchase.

      10     That's a one-time opportunity that I'm thinking of.

      11         Q.    So in that circumstance, would you change

      12     the limit and allow the customer to purchase more?

      13         A.    If we did our research and our research

      14     indicated that there was not a concern, and it could

      15     be justified because that's the only option

      16     available, yes.

      17         Q.    There was at that point -- this is

      18     pre-2015 -- nothing in the system that the limit was

      19     changed and that would automatically change it back,

      20     was there?

      21         A.    No.

      22         Q.    That limit would be increased into the

      23     future as well, right?

      24         A.    If it was supposed to be a permanent

      25     increase.

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       1         Q.    Do you ever remember moving limits back down

       2     on a customer?

       3         A.    Yes.

       4         Q.    Do you -- did you do that on a regular

       5     basis?

       6         A.    No.

       7         Q.    How many times do you remember doing that?

       8         A.    So, for example, if a customer needed to

       9     return a product, we don't automatically re-increase

      10     the limit because a product is returned.             So we

      11     would maybe say, well, we'll verify that that

      12     product is being picked up.         And once we verify it's

      13     being picked up and returned to Anda, we will

      14     increase your limit so you can place an order for

      15     the correct item, that sort of a scenario.

      16         Q.    From 2011 to 2015 were you responsible for

      17     running any sort of reports on a regular basis?

      18         A.    Yes.

      19         Q.    What were they?

      20         A.    Auditing sorts of reports where I was

      21     collecting updated information.

      22         Q.    Did they have specific names, those reports?

      23         A.    They had various names.        They could be an

      24     audit of particular states.         It could be audits of

      25     particular control families.          It could be audits of

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       1     customers that we needed updated due diligence on,

       2     questionnaires and dispensing data.

       3         Q.    And how would you know at that time whether

       4     to run a report or not?        Did somebody tell you?

       5         A.    There was a standard that -- when I was

       6     brought into the department, that was expressed to

       7     me of what was wanted when I came into the

       8     department, and that was one of the tasks.

       9         Q.    By whom?

      10         A.    Michael Cochrane and Emily Schultz.

      11         Q.    And what was the standard that they

      12     expressed to you at that time?

      13         A.    They wanted updated information on the

      14     customer base.

      15         Q.    Did you ever do any analysis into shipments

      16     into a particular geographic area?

      17         A.    Yes.

      18         Q.    When did you do that?

      19         A.    During that same time period you mentioned,

      20     probably '11 to '15.

      21         Q.    How would do you that?

      22         A.    I would select different regions for

      23     different reasons and go into that region and

      24     report -- report on what I was looking at, whether

      25     it was sales or the customer's information.

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       1         Q.    Why would you do that?

       2         A.    As a form of auditing.

       3         Q.    Was that one of your main responsibilities

       4     as a DEA compliance analyst?

       5         A.    When I became a senior analyst, that became

       6     one of my main responsibilities, yes.

       7         Q.    Was auditing information?

       8         A.    Yes.

       9         Q.    And when you say "auditing information," I

      10     guess what do you mean by that?

      11         A.    I was looking at our entire customer base,

      12     and I was making determinations, well, this person

      13     at one point was approved for controls.            They're not

      14     active -- an actively buying customer from Anda.

      15     They will now become ineligible for controls because

      16     they're inactive.

      17               If they want to purchase from us again,

      18     they're going to have to go through the Remedy

      19     process.     I was looking at them and determining

      20     if -- like, what it was they were buying and if

      21     updated data was needed.

      22         Q.    Would you do that on a regular basis?

      23         A.    Yes.

      24         Q.    How frequently?

      25         A.    There was no specific time frame.           All of

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       1     them I would consider, like, a project and --

       2         Q.    What are some of the projects that you

       3     remember doing when you had the senior analyst role?

       4         A.    Well, I created a lot of the reporting that

       5     I was using.

       6         Q.    What are some of the reporting that you

       7     created?

       8         A.    Just what we mentioned, like, customer

       9     information and sales transactions.

      10         Q.    When you created reports to look at

      11     shipments into a particular geographic location, are

      12     there certain fields that you were looking at or

      13     types of information that you were looking at in

      14     those reports?

      15         A.    I was looking, like, for volume of product

      16     shipped and whether -- how updated the data was.

      17         Q.    And why were you doing that?

      18         A.    As a form of auditing of our customer base.

      19         Q.    Do you remember on how many occasions you

      20     did that?

      21         A.    I did it a lot.

      22         Q.    Would you say that looking at shipments into

      23     a particular geographic area was something that you

      24     did regularly?

      25         A.    Once I got into that role, yes.

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       1         Q.    When I say regularly, is that monthly?

       2         A.    Well, again, they were projects, so -- and

       3     you're looking at a very large amount of data.              So

       4     once we had either received what we needed in a

       5     project or we were ready to go to another project, I

       6     would do that.

       7         Q.    So you said earlier that Remedy is a

       8     task-based system that you used and others in the

       9     company used to keep track of tasks, right?

      10         A.    That's our way of controlling sales

      11     requests, because there are a lot of requests that

      12     come from the sales department.          That way, honestly,

      13     they don't have to come to you and request something

      14     by phone or by e-mail, and it's archived in there.

      15         Q.    So when you say "task," you're talking about

      16     specifically orders?

      17         A.    No.   Remedy is a task management system of

      18     any type of a request that they are asking from

      19     compliance, whether it's an increase, a new customer

      20     to controls.

      21         Q.    So was Remedy, like, an efficiency program

      22     that you would have used, as an analyst, to keep

      23     track of, say, like your to-do list for projects?

      24         A.    No.

      25         Q.    Did you have a program like that where you

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       1     kept track of what projects you were working on,

       2     when?

       3         A.    No.

       4         Q.    Did you have any system on keeping track of

       5     projects, when, and what their duties were?

       6               MS. KOSKI:     Object to form.

       7         A.    No.   I did not have a system, but there were

       8     sometimes deadlines of when you would want

       9     information back.

      10         Q.    And what were those deadlines based upon?

      11         A.    Based upon requests of information and

      12     trying to ensure you got it in, or you had some sort

      13     of a response.

      14         Q.    To the customer or to people within Anda?

      15         A.    No.   So a deadline was created because if we

      16     sought that information, and the customer did not

      17     reply in a certain amount of time, we created the

      18     dead line so that we could make a determination to

      19     commence with control substance eligibility or to

      20     cut it off temporarily until we received the

      21     information we needed.

      22         Q.    At any point in time in your time with

      23     compliance, Anda compliance, have you taken part in

      24     preparing materials for submission to the DEA?

      25         A.    Preparing, like, what type of materials?

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       1         Q.    Any type of materials.

       2         A.    We've had an inspection, yes.          I

       3     participated in the inspection.

       4         Q.    What about orders or customers to be

       5     reported?

       6         A.    Every person who's in the department who is

       7     reviewing orders makes a suggestion of what needs to

       8     be reported, and then there have been people within

       9     the department that had the -- like, the

      10     responsibility to pass that information over to the

      11     DEA.

      12         Q.    Has that been the case since you started in

      13     the compliance department in 2011?

      14         A.    Yes.

      15         Q.    When you first started in 2011, what was

      16     your understanding of your obligation to report

      17     things to the DEA?

      18         A.    It's not an obligation to report suspicious

      19     customers; however, it was an arrangement, and they

      20     have always been communicated with about all of the

      21     customers that we determine suspicious during our

      22     reviews of the customers.

      23         Q.    Okay.    My question was a little bit

      24     different.     It was:    Back in 2011, what was your

      25     understanding of what you were required to report to

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       1     the DEA?

       2         A.    My understanding was any customer that we

       3     found to be suspicious.

       4         Q.    And where did you get that understanding?

       5         A.    I got that understanding because we reviewed

       6     customers, and we had a sort of a system where we

       7     were reviewing them on the front end.            And if you

       8     determined that a customer was someone you did not

       9     want to engage in business with, we were notifying

      10     the DEA, because we never actually allowed them to

      11     purchase from us.

      12         Q.    And who told you that system?

      13         A.    It was something that was in place prior to

      14     me even getting into the department, that our

      15     department was always communicating suspicious

      16     customers to the DEA.

      17         Q.    It was your understanding that your

      18     department was always doing that, right?

      19         A.    Yes, from a certain period of time that that

      20     was discussed.

      21         Q.    So what was that system at that time, say,

      22     in 2011 when you came in?

      23         A.    If a customer was reviewed and for whatever

      24     reason the data that you reviewed, you made a

      25     determination that this is a customer that I will no

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       1     longer sell to or I will not sell to, it was

       2     communicated to the DEA.

       3         Q.    Was that based on your review of TPS orders

       4     of interest?

       5         A.    It could have been.

       6         Q.    What else?

       7         A.    The overall review of the customer.

       8         Q.    And what would trigger an overall review of

       9     a customer?

      10         A.    Some of it is initiated by a sales request,

      11     and some of it could be auditing or new information

      12     received.

      13         Q.    Have you ever had, yourself, direct

      14     correspondence with anybody from the DEA?

      15         A.    Inspections, yes.

      16         Q.    What about as it relates to suspicious order

      17     monitoring?

      18         A.    In an inspection, yes.

      19         Q.    Do you remember when inspections occurred?

      20         A.    This year -- or this past year in the end of

      21     September.

      22         Q.    What about prior to that?

      23         A.    I don't know.      I was not a part of those.

      24         Q.    Were you aware of whether specific orders

      25     needed to be reported to the DEA as suspicious?

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       1               MS. KOSKI:     Object to form.

       2         A.    Suspicious orders?

       3         Q.    Yes.

       4         A.    I'm not aware of a specific order.

       5         Q.    I didn't ask if you were aware of any one

       6     particular suspicious order.          I'm asking if, in

       7     2011, when you started as a DEA compliance analyst

       8     at Anda, were you aware that suspicious orders were

       9     to be reported to the DEA?

      10               MS. KOSKI:     Object to form.

      11         A.    I don't know if I immediately was aware, but

      12     I did become aware within the next year or so, yes.

      13         Q.    That suspicious orders were to be reported

      14     to the DEA?

      15         A.    Yes.

      16         Q.    You said it was your understanding, however,

      17     that the Anda system was reporting suspicious

      18     customers; is that right?

      19         A.    I know that Anda had always communicated

      20     with the DEA about customers we would not do

      21     business with.

      22         Q.    But you -- at that time, were you also aware

      23     that Anda was not reporting suspicious orders

      24     specifically to the DEA?

      25               MS. KOSKI:     Object to form.

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       1         A.    I was not aware immediately of the order

       2     part of it.      As I said earlier, I wasn't immediately

       3     engaged in the suspicious order monitoring.             When I

       4     became engaged with it, I became more aware of that.

       5         Q.    How did you become aware of the order

       6     monitoring process part of it?

       7               MS. KOSKI:     Object to form; asked and

       8         answered.

       9               Go ahead.

      10         A.    Different literature, conferences attended.

      11         Q.    Do you remember at what point you became --

      12     at what date you became involved in the order

      13     monitoring process?

      14         A.    I don't recall that.

      15         Q.    When you started in the Anda compliance

      16     department, were you aware of customer

      17     questionnaires that were in existence that customers

      18     had to fill out?

      19         A.    Yes.

      20         Q.    Were you a part of developing those customer

      21     questionnaires?

      22               MS. KOSKI:     Object to form.

      23               Go ahead.

      24         A.    I -- I don't remember if at that time I had

      25     input.

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       1         Q.    You said that you have been a part of

       2     communications with the DEA related to specific

       3     reviews or audits?       Is that the word that you used?

       4         A.    If the -- if we determine as a result of an

       5     audit where information was received or reviewed

       6     that we would no longer sell to a customer or we

       7     would not sell to that customer, I was aware

       8     that that was -- I was a part of submitting that

       9     customer to the person who at that time -- because

      10     if we're going back in history, it was -- reporting

      11     it to the DEA.

      12         Q.    You -- so you would submit the name of a

      13     customer to the person within Anda who would submit

      14     it to the person at the DEA?

      15         A.    Correct.

      16         Q.    When is the first time you remember seeing

      17     SOP 40?

      18         A.    I don't remember when the first time was.

      19         Q.    Earlier you said SOP 40.3 is the one that

      20     you follow to deal with suspicious orders?

      21               MS. KOSKI:     Object to form.

      22         A.    That explains a lot of the different facets

      23     of what's in the department and how areas are

      24     reviewed.

      25         Q.    Were you involved in any process to change

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       1     SOPs over different points in time since you've been

       2     in the compliance department?

       3         A.    No.

       4         Q.    Do you remember the first time that you were

       5     given a written copy of SOP 40?

       6         A.    I don't remember that.

       7         Q.    Do you remember SOP 40 being adopted?

       8         A.    Because I was not directly involved with the

       9     creation, I don't remember when it was adopted.

      10         Q.    Do you remember what month you started in

      11     the compliance department?

      12         A.    I believe it was in July of '11.

      13         Q.    In July of '11, you would have started?

      14         A.    I believe so.

      15         Q.    Were you aware of any Anda process --

      16     written process for suspicious order monitoring at

      17     that point?

      18               MS. KOSKI:     Object to form.

      19         A.    I don't -- I'm not aware of that process,

      20     no.

      21         Q.    Were you at that time?

      22         A.    No.

      23         Q.    And you, again, don't remember when you

      24     became aware of it?

      25         A.    Well, because I was not involved in that,

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       1     like, immediately once getting into the department.

       2         Q.    Would it surprise you if I told you that

       3     Anda didn't have a written SOM, written monitoring

       4     process at that time?

       5               MS. KOSKI:     Object to form.

       6         A.    I can't tell you the emotion that I would

       7     feel, but I could say I wasn't aware.

       8         Q.    Would you have expected Anda to have a

       9     written process at that point for suspicious order

      10     monitoring?

      11               MS. KOSKI:     Object to form.

      12         A.    You would expect that you would have a

      13     formalized procedure.

      14         Q.    You would have expected that as an employee

      15     of the compliance department, right?

      16               MS. KOSKI:     Object to form.

      17         A.    You would expect that, if someone said it

      18     should have been authored as an SOP in a procedure,

      19     that it would be there.

      20               (Anda - Solis Exhibit 11 was marked for

      21     identification.)

      22     BY MS. ELLIS:

      23         Q.    I'm handing you what's been marked as

      24     Anda -- I'm sorry, Exhibit 11, Anda Opioids Bates

      25     Number 527936.

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       1               Do you recognize this?

       2         A.    Yes.

       3         Q.    What is it?

       4         A.    SOP 40.

       5         Q.    On the last page of SOP 40, it looks like

       6     this is Version 40.01, adopted or effective April

       7     5th, 2011.

       8               Do you see that?

       9         A.    Yes.

      10         Q.    And above that, you see that there is a

      11     effective date of SOP 40 of 2000 -- December 2011,

      12     right?

      13         A.    Yes.

      14         Q.    This was after you started in the DEA

      15     compliance department, right?

      16         A.    Yes.

      17         Q.    Were you involved in the review between

      18     December 2011 and April 5th, 2012, of this SOP?

      19         A.    I believe that I had input into the review

      20     process that we were following when looking at a

      21     customer.

      22         Q.    Do you -- why do you remember that?

      23         A.    Looking at this.

      24         Q.    What do you remember about it?

      25         A.    That I had input on our review process that

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       1     we were following.

       2         Q.    And where in the SOP is that review process

       3     documented?

       4         A.    The whole thing.       The steps that are taken

       5     once an order has been flagged as an order of

       6     interest.

       7         Q.    So that would be here in the scope.           It says

       8     what is covered or as an interest or captured using

       9     historical sales information with a user-defined

      10     time frame.

      11               Is this the TPS criteria that we were

      12     talking about before that you thought might flag an

      13     order of interest?

      14         A.    Yes.

      15         Q.    What does user-defined time frame mean to

      16     you?

      17         A.    I don't know what that means.

      18         Q.    Do you remember what your specific input was

      19     into this process between December 2011 and April

      20     2012?

      21         A.    With regards to this SOP?

      22         Q.    Yes.

      23         A.    I had input into what we were doing at that

      24     time to review customers as our procedure.

      25         Q.    And what section would that input have gone

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       1     into?

       2         A.    Two, three, four, five, six.

       3         Q.    What input would you have had in Section 2,

       4     refer to TPS?

       5         A.    I had input into that suggestion.

       6         Q.    What was it?

       7         A.    That area.

       8         Q.    That it be included?

       9         A.    Yes.

      10         Q.    And why was that important to you?

      11         A.    Because there were areas of concern.

      12         Q.    What does -- "areas of concern," meaning

      13     what?

      14         A.    Meaning when you audit the entire country

      15     and you look at dispensing data from locations

      16     around the whole entire country, there is areas that

      17     you wanted to focus on.

      18         Q.    Why?

      19         A.    Because you could see particular trends or

      20     patterns.

      21         Q.    What would those trends or patterns indicate

      22     to you?

      23         A.    It would indicate that you needed to know

      24     who you were selling to.

      25         Q.    What about Section 3, what input did you

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       1     have into that area?

       2         A.    I had input into suggesting that we review

       3     those things.

       4         Q.    Previously you had not been reviewing those

       5     things?

       6               MS. KOSKI:     Object to form; mischaracterizes

       7         the testimony.

       8         A.    No.

       9         Q.    Well, if you had input into saying that you

      10     should be referring to those things --

      11         A.    The input was what we were already doing at

      12     this point in time and drawing it out.

      13         Q.    And spelling out what you already were doing

      14     at this point in time --

      15         A.    Right.

      16         Q.    -- is what you're saying?

      17         A.    Yes.

      18         Q.    So from this point in time, you mean from

      19     July of 2011 until April 2012 would have been the

      20     time that you were limited to?

      21               MS. KOSKI:     Object to form.

      22         A.    Sorry, I'm not following.

      23         Q.    You started in compliance in July of 2011,

      24     right?

      25         A.    Yes.

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       1         Q.    So the experience that you had with what

       2     Anda was doing would have been limited to July of

       3     2011 to April of 2012 by this point, right?

       4         A.    Yes.

       5         Q.    So less than a year?

       6         A.    Yes.

       7         Q.    So any of the suggestions that you offered

       8     at this point were based on that few months of

       9     experience?

      10         A.    Yes.

      11         Q.    Are there specific areas or things that you

      12     remember suggesting should be in this SOP that were

      13     not there before?

      14         A.    I'm not aware of a version that was there

      15     before.    My input at the time was to document what

      16     we were doing to review customer requests.

      17         Q.    So you're not aware of the version that was

      18     in effect from December 2011 to April 4th, 2012?

      19         A.    At that point in time, I wasn't reviewing

      20     the SOP itself.      I was just suggesting points that

      21     we were already utilizing while reviewing customers.

      22         Q.    How were you making those suggestions?

      23         A.    Based on what we were doing when we were

      24     reviewing a customer request in Remedy.

      25         Q.    I guess my question is a little more basic

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       1     than that.

       2               Was there a meeting absent this SOP with you

       3     and Michael and Emily and you said this is what

       4     we're doing and this is what needs to be in there?

       5         A.    I don't recall going back this far that

       6     there was a meeting, but I do recall being asked for

       7     input on what we -- the steps we were taking while

       8     reviewing.

       9         Q.    Who do you recall asking you that?

      10         A.    It was either Michael or Emily.

      11         Q.    Do you remember when that was?

      12         A.    No, I do not.

      13         Q.    Do you remember if they told you why they

      14     were asking for that input?

      15         A.    I don't remember.

      16         Q.    Do you remember specific things within this

      17     SOP Version 40.01 that you suggested should be there

      18     that weren't previously there?

      19         A.    I'm not aware of a previous version to know

      20     what was previously there.

      21         Q.    Do you know how that SOP was approved, that

      22     version of it, or who actually made the decision to

      23     put that one into effect?

      24         A.    Michael Cochrane was -- if this happened

      25     when Robert was there, when it went into effect --

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       1     what month was it?       It was --

       2         Q.    Looks like from the last page it was April

       3     of 2012.

       4         A.    So Robert may have been here at this time,

       5     but it seems that Michael's name is on here.

       6         Q.    So Michael's name being there and it saying

       7     effective April 5th, 2012, what does that mean to

       8     you?

       9         A.    Well, one states "original issue" and the

      10     other one states "review."

      11         Q.    So do you understand that to document the

      12     history of this SOP?

      13         A.    Yes.

      14         Q.    So when one was reviewed, does that indicate

      15     that it was voted upon?

      16               MS. KOSKI:     Object to form.

      17         A.    No.

      18         Q.    Does that indicate that just somebody

      19     approved it, Michael Cochrane in this circumstance?

      20         A.    Could be, yes.

      21         Q.    What else could it be?

      22         A.    That seems so because it shows that he --

      23     his name is there for the original issue.

      24         Q.    Do you recall when an SOP such as this was

      25     approved if it was published anywhere?

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       1               MS. KOSKI:     Object to form.

       2         A.    I don't recall that.

       3         Q.    Do you remember or do you know how you would

       4     have become aware that that version had become

       5     approved?

       6         A.    No.

       7         Q.    Would you have become aware that the

       8     different -- that the SOP had been changed?

       9         A.    At that point in time, no.

      10         Q.    In April of 2012, when you were in

      11     compliance as an analyst, you would not become aware

      12     that the SOP had changed?

      13               MS. KOSKI:     Object to form.

      14         A.    Not that I recall.

      15               (Anda - Solis Exhibit 12 was marked for

      16     identification.)

      17     BY MS. ELLIS:

      18         Q.    I'm now handing you Bates numbered page Anda

      19     Opioids 84445.

      20               This -- is this a document that you

      21     recognize?

      22         A.    Is this the same thing with different

      23     reviews?

      24         Q.    I'm asking you.

      25         A.    It looks like that's the case.

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       1         Q.    That this would have been a later version of

       2     SOP 40?

       3         A.    It looks like it was reviewed at a later

       4     time.

       5         Q.    What does review mean to you when -- in the

       6     context of SOPs?

       7         A.    Reviewing the procedures that are outlined

       8     as being the guidelines for the department.

       9         Q.    Are you aware if that was done on a regular

      10     basis?

      11         A.    I'm not aware.

      12         Q.    Did you understand that to have been done on

      13     a regular basis?

      14         A.    At that point in time, I was not directly

      15     involved with the SOPs.

      16         Q.    But you were -- you still had to abide by

      17     them, right?

      18               MS. KOSKI:     Object to form.

      19         A.    That's ideal.      Like it's a guideline, yes.

      20         Q.    Was it ever the case that you did not abide

      21     by the SOPs?

      22         A.    I don't know.

      23         Q.    Were you ever aware of any consequences of

      24     not abiding by SOPs?

      25         A.    I don't know.

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       1         Q.    Have you had performance reviews in any of

       2     your roles in the Anda compliance department?

       3         A.    Yes.    You have one every year.

       4         Q.    Are those written?

       5         A.    Yes.

       6         Q.    Is it your understanding that those become

       7     part of your personnel file?

       8         A.    I believe that has to do with your

       9     employment, yes.

      10         Q.    Do you remember offering input into this

      11     specific version of this SOP?

      12         A.    I haven't noticed a difference yet.

      13         Q.    Would you have become aware of any

      14     differences as they were adopted in SOPs?

      15         A.    Only if the review process was different.

      16         Q.    What do you mean?

      17         A.    Meaning that if something was done

      18     differently and it was determined that the team

      19     should do it differently, then I would have been

      20     aware of that.

      21         Q.    How would you have become aware of that?

      22         A.    I can't presume how, but I'm sure it would

      23     have been communicated to me, we're going to do this

      24     differently.

      25         Q.    By whom?

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       1         A.    Management.

       2         Q.    Would that be Jay Spellman?

       3         A.    No, because at this point in time it was

       4     Robert Brown.

       5         Q.    And how would he have communicated that to

       6     you?

       7         A.    If he wanted something done differently, he

       8     would tell the team that.

       9         Q.    Would he put it in writing?

      10         A.    I'm not sure what he would have done.

      11         Q.    Well, do you remember him ever telling you

      12     to do things differently in writing?

      13         A.    I mean, him being the director of the

      14     department, it could be that he sent out e-mails or

      15     he could have had a meeting with us in our team

      16     meeting indicating that.

      17         Q.    But there was no standard process by which

      18     Mr. Brown would tell you to do things differently?

      19               MS. KOSKI:     Object to form.

      20         A.    Not that I can recall.

      21         Q.    Did that frustrate you?

      22         A.    What?

      23         Q.    If you were told to do things differently

      24     but you didn't know when to expect those sorts of

      25     changes.

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       1               MS. KOSKI:     Object to form.

       2         A.    Say that again, please.

       3         Q.    I'll strike that.       I'll just move on.

       4               You said earlier that you occasionally would

       5     take place in trainings for salespeople in Anda; is

       6     that right?

       7               MS. KOSKI:     Object to form.

       8         A.    What time frame are we talking about?

       9         Q.    From 2011 to 2015.

      10         A.    I would participate in a lot of national

      11     account communication, chain communication, and it

      12     could be that I was invited to different sales

      13     meetings, yes.

      14         Q.    Why would you be invited to a sales meeting?

      15         A.    Because if someone is directing the

      16     department and they wanted me to be there, I would

      17     go.

      18         Q.    But it was at that person's invitation,

      19     right?

      20         A.    Correct.

      21         Q.    It was never sort of part of the -- any

      22     standardized process, that compliance would do

      23     training for salespeople?

      24               MS. KOSKI:     Object to form.

      25         A.    No, that's not what I was saying.

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       1               Robert Brown, like being the director at

       2     this point in time, it's possible that he had

       3     engagement with the sales floor.

       4         Q.    Did you have direct correspondence with

       5     salespeople at that time, from 2011 to 2015?

       6         A.    Yes.

       7         Q.    On what occasions?

       8         A.    It's possible that a salesperson could

       9     e-mail.

      10         Q.    Why would a salesperson e-mail you?

      11         A.    For a variety of different reasons, they can

      12     e-mail you.

      13         Q.    Like what?

      14         A.    You could request information from them,

      15     from their customer, and they provide it to you or

      16     they could have a question.

      17         Q.    Would you ever rely on salespeople for your

      18     input -- for their input into whether a customer was

      19     allowed to buy controls or not?

      20               MS. KOSKI:     Object to form.

      21         A.    Would they sway my decision?

      22         Q.    Yes.

      23         A.    I don't believe that they would sway my

      24     decision.     Salespeople, though, could provide

      25     information that would help us understand the

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       1     pharmacy better, if it was a specialty pharmacy or

       2     if there was something that we needed to know.

       3         Q.    Were you ever aware of any tension between

       4     the salespeople of Anda and compliance?

       5               MS. KOSKI:     Object to form.

       6         A.    Can you explain tension?

       7         Q.    Well, what do you understand tension to

       8     mean?

       9         A.    Well, compliance is considered sales

      10     prevention, so I think there is like a normal

      11     tension.

      12         Q.    Compliance is considered sales prevention?

      13     Is that what you said?

      14         A.    In a lot of ways, yes.

      15         Q.    Where does that understanding come from?

      16         A.    Well, we are always making determinations to

      17     not do business with someone or collect information

      18     or we say no a lot.

      19         Q.    Is that a term that you became familiar with

      20     at Anda?

      21         A.    That's a term that we know -- we are always

      22     saying no.

      23         Q.    So there's a natural tension, you think,

      24     between sales and compliance?

      25         A.    I don't know if there is a natural tension,

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       1     but you're -- you're not on the same team.

       2         Q.    When you say you're not on the same team, do

       3     you mean the goals are different?

       4         A.    I don't know what their goals are, but our

       5     goals are not sales.        So our goals are knowing who

       6     we're selling to and if we feel comfortable selling

       7     to them so that we can continue to operate.

       8         Q.    Do you share any goals with the sales team?

       9         A.    No.

      10         Q.    No goals with the sales team?

      11         A.    We don't have anything to do with sales.

      12         Q.    At any time in your time with Anda

      13     compliance did you become aware of salespeople that

      14     were more aggressive than others in the sale of

      15     controlled substance products?

      16               MS. KOSKI:     Object to form.

      17         A.    I don't know if it's a salesperson being

      18     more aggressive with relation to controlled

      19     substances.     There are salespeople that are

      20     successful because of their level of -- whatever you

      21     would call it, they're aggressive.

      22         Q.    Well, what would you call it?

      23         A.    There are salespeople that you can see how

      24     they're successful because they are consistently

      25     trying.

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       1         Q.    Trying to do what?

       2         A.    Sell.

       3         Q.    Did you come into contact with certain

       4     salespeople more than others?

       5         A.    I don't recall there being a person that I

       6     was in contact more or less.

       7         Q.    Do you recall ever having to admonish

       8     anybody in sales about contacting you?

       9               MS. KOSKI:     Object to form.

      10         A.    We have had instances over the course of

      11     time where we felt it was inappropriate for them to

      12     contact us, like if we made a decision and they

      13     wanted us to revisit a decision or they just wanted

      14     to vent.     Those types of things, we considered

      15     inappropriate contact.

      16         Q.    Who is "we"?

      17         A.    The compliance department.

      18         Q.    Were there any written policies in place

      19     that you're aware of related to sales correspondence

      20     with compliance?

      21         A.    Not written policies, no.

      22         Q.    How would a salesperson know what their

      23     responsibilities were for communicating with

      24     compliance?

      25               MS. KOSKI:     Object to form.

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       1         A.    There were discussions with the heads of the

       2     compliance department, with the heads of the sales

       3     floor, and the department managers within the sales

       4     floor.

       5         Q.    Were any of those your primary contact as a

       6     DEA analyst?

       7               MS. KOSKI:     Object to form.

       8         A.    Sorry, I'm not following.

       9         Q.    Would you talk to salespeople directly or

      10     were there certain people within sales as a

      11     compliance analyst you corresponded with more

      12     frequently?

      13         A.    We tried to funnel requests that reached

      14     compliance through their managers.           And that is why

      15     the Remedy task management system was created, so

      16     that there was less communication verbally or

      17     through e-mail with a rep and that it was through

      18     that queue.

      19         Q.    Were there certain managers that you worked

      20     with more frequently than others?

      21         A.    When I became a senior analyst, I worked a

      22     lot on corporate accounts.         And other than that, if

      23     I was involved with pharmacy, we asked to be dealing

      24     with management.

      25         Q.    And why would you ask to be dealing with

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       1     management?

       2         A.    So that they can funnel what was coming to

       3     us.

       4         Q.    What do you mean by funnel?

       5         A.    Is it something that compliance needs to be

       6     looking at.

       7               (Anda - Solis Exhibit 13 was marked for

       8     identification.)

       9     BY MS. ELLIS:

      10         Q.    I'm handing you what's been marked as

      11     Exhibit 13, Anda Opioids Bates Number 423540.              This

      12     looks like an e-mail exchange from July 3rd, 2012.

      13               Who is Pat Williams?

      14         A.    At that point in time she was one of the

      15     senior people over the sales floor.

      16         Q.    Is she one of the managers that you would

      17     try to funnel things to?

      18         A.    Yes.

      19         Q.    Do you recall this exchange?

      20         A.    I don't recall the exchange, but I see the

      21     e-mail.

      22         Q.    Do you know who Kristina Sentence is?

      23         A.    She was a sales rep at the time.

      24         Q.    And you say to Patricia Williams and Wayne

      25     Tischler:     "Can someone please inform Kristina

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       1     Sentence that we will not be reinstating controls to

       2     the account in reference."

       3               Do you know why you would have said that?

       4         A.    I can't assume without seeing prior to this

       5     e-mail, but it sounds like the rep could have been

       6     persistent about the decision we made.            I don't know

       7     if she applied again in Remedy and asked us to

       8     review it again or I don't know -- if she e-mailed

       9     us, I don't know what transpired before the e-mail.

      10         Q.    So when she would apply in Remedy, you mean

      11     the sales rep would have put a customer -- a request

      12     in Remedy for something to be reviewed, right?

      13         A.    It could be that she did that or it could be

      14     that we made a determination and then she

      15     immediately submitted something for another review

      16     or it could be that she sent an e-mail questioning

      17     the decision.

      18         Q.    And you have another section there that says

      19     "internal information only."          What does that mean to

      20     you?

      21         A.    That you don't want these sales managers to

      22     talk about this information externally.

      23         Q.    Why?

      24         A.    Because that was a part of our

      25     decision-making process where we arrived to do

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       1     business with this customer.

       2         Q.    Did you tell customers when they were cut

       3     off from purchasing controls?

       4         A.    We had the sales reps tell the customers

       5     that they were cut off for controls.

       6         Q.    Would you tell them why?

       7         A.    No.

       8         Q.    Why not?

       9         A.    I don't think that they should know why we

      10     made a decision or not.

      11         Q.    Why not?

      12         A.    Because that's compliance.

      13         Q.    What does that have to do with anything?

      14         A.    Why should they know why we decide not to do

      15     business with them?

      16               MS. KOSKI:     If you get to a natural break,

      17         we've been going about two hours, I think, if we

      18         wanted to take a break.

      19               MS. ELLIS:     We can break.

      20               MS. KOSKI:     I don't want to interrupt your

      21         flow.

      22               MS. ELLIS:     No, we can break.       That's fine.

      23               THE VIDEOGRAPHER:       The time is 4:50 p.m.

      24         We're going off the record.

      25              (Recess from 4:50 p.m. until 5:05 p.m.)

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       1               THE VIDEOGRAPHER:       The time is 5:05 p.m.

       2         We're now back on the record.

       3     BY MS. ELLIS:

       4         Q.    A moment ago you used the word preallocation

       5     in talking about chain stores.

       6               What does that mean?

       7         A.    It's not relating to chain stores.           Are you

       8     referring to the SOM system and the programming?

       9         Q.    I don't know.      I guess that's what I'm

      10     asking for clarification on is what does

      11     preallocation mean to you?

      12         A.    It has to do with the, like, logistics in

      13     the warehouse.      So if an order is flagged in SOMs as

      14     an order of interest, it's possible that something

      15     is ordered preallocation which means it hasn't

      16     allocated to be actually picked and shipped.              And at

      17     that point in time, preallocated, it was being

      18     reviewed by compliance.

      19               Should it have been -- had gone through --

      20     past the preallocation portion, we could have seen

      21     that there was no inventory on the item that was

      22     appearing in the ordering bucket.

      23         Q.    So it's a way of saving inventory for orders

      24     that you know are going to come in?

      25         A.    No.   No.    This is something that is more of

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       1     a warehouse -- it was -- it was something that was

       2     related to the warehouse, and I don't know why the

       3     legacy SOMs was programmed in that way.

       4               So where items that were preallocated or

       5     orders that were preallocated were actually

       6     appearing to be reviewed by suspicious order

       7     monitoring.     Had they gone the next step past

       8     preallocation in the warehouse, it would be

       9     determined that there was no inventory or it was a

      10     bad item, yet it was still appearing as if it was a

      11     legitimate order in the suspicious order monitoring

      12     queue.

      13         Q.    So are orders set -- this is apart from the

      14     topic of preallocation for a minute.

      15               Are orders -- or, pardon me -- limits for

      16     particular stores or customers set automatically on

      17     any occasions?

      18         A.    Like automatically, meaning?

      19         Q.    I mean, are there certain occasions where

      20     you just know that a customer's limit is going to be

      21     a certain amount?

      22               MS. KOSKI:     Object to form.

      23         A.    It's not that you know that it's going to be

      24     a certain amount, but if you're familiar -- for

      25     example, with a chain customer who is coming to you

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       1     specifically for certain items, specifically for a

       2     certain reason, and you understand that those stores

       3     are coming to you for those items and that reasons,

       4     after you've reviewed the group, then you know

       5     what -- where you would set your limit for those

       6     items should they be approved.

       7               (Anda - Solis Exhibit 14 was marked for

       8     identification.)

       9     BY MS. ELLIS:

      10         Q.    I'm handing you what's been marked as

      11     Exhibit 14.

      12               MS. ELLIS:     I'll represent to counsel that

      13         the Bates number for some reason didn't print on

      14         the bottom, but it is Anda_Opioids_MDL 711769 and

      15         we will supplement the record with the court

      16         reporter to ensure that they get the correct

      17         version that has the Bates number on it.

      18               MS. KOSKI:     711769?

      19               MS. ELLIS:     Yes.

      20               MS. KOSKI:     Okay.    And it's an Anda

      21         obviously?

      22               MS. ELLIS:     It is an Anda document, correct.

      23     BY MS. ELLIS:

      24         Q.    Is this a circumstance similar to the one

      25     that you just mentioned where a chain's limit would

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       1     be set at a certain amount?

       2         A.    This is an example of a customer that was

       3     reviewed and we had an understanding of what they

       4     were going to be utilizing Anda for, and this is a

       5     discussion of where we would be setting the limits

       6     after that review.




      24         Q.    And 1,000 is a standard for other chains?

      25         A.    Standard for other customers that are

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       1     prescreened and approved for controls, yes.

       2         Q.    And that's the front end that you were

       3     talking about earlier in the deposition?

       4         A.    Correct.

       5         Q.    What does good faith dispensing mean to you?

       6         A.    I know that there was a customer who had a

       7     policy or procedure that mentioned that, and it

       8     wasn't anything that was ours.          That was some

       9     customer, and I don't recall who the customer was.

      10         Q.    What does it mean?

      11         A.    I can interpret what that -- those words

      12     mean, good faith dispensing.

      13         Q.    What do you understand it to mean, please?

      14         A.    I would assume that someone has good faith

      15     that what is being dispensed is for legitimate

      16     purposes.

      17         Q.    Are there -- is that a term that you've

      18     heard in your position at Anda?

      19         A.    I've heard that, yes.

      20         Q.    And has anybody explained it to you in that

      21     way, the way that you just explained it?

      22         A.    No.

      23         Q.    At some point in your time in Anda

      24     compliance, were you in charge of a program called

      25     CQDD project?

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       1         A.     Yes.   That's what we were speaking about

       2     earlier, which was auditing.

       3         Q.     And was that an ongoing project?

       4         A.     Yes.

       5         Q.     What was the goal of that project?

       6         A.     To collect updated data on our customer

       7     base.

       8         Q.     Was there a number of customers that you did

       9     not have updated data for?

      10         A.     There was a number of customers that were

      11     targeted as we needed updated data, yes.

      12         Q.     But they were still eligible to purchase

      13     controls; is that right?

      14         A.     Yes.

      15                (Anda - Solis Exhibit 15 was marked for

      16     identification.)

      17     BY MS. ELLIS:

      18         Q.     I'm handing you what's been marked as

      19     Exhibit 15.

      20                MS. KOSKI:    You can just make a pile.         Thank

      21         you.

      22         Q.     And this is Anda Opioids 418852.

      23                Do you recall when this project started?

      24         A.     I don't recall when it started, but I know

      25     that those Cognos reports were created in 2012, I

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       1     believe.

       2         Q.    Were these reports that you created?

       3         A.    Yes.    I created them in that new reporting

       4     environment.

       5         Q.    What was the goal of this project?

       6         A.    To collect updated questionnaires and

       7     dispensing data on all of our customer base.

       8         Q.    Up until that point, had customers been

       9     allowed to purchase controls despite not having

      10     updated data?

      11         A.    I don't know.      If you had data on file and

      12     they were reviewed and there was no indication that

      13     there was anything happening with what they were

      14     purchasing, that was an issue.          It's possible that

      15     they continue to buy and you were just wanting to

      16     review them again with newer data.

      17         Q.    Was this -- how long did this project go on?

      18         A.    I can only estimate that it was a couple of

      19     years.

      20         Q.    Were you responsible for this project and

      21     the outcomes of it?

      22               MS. KOSKI:     Object to form.

      23     BY MS. ELLIS:

      24         Q.    Who was in charge of the project?

      25         A.    I would assume it's our department,

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       1     compliance, and who I reported to.

       2         Q.    All right.     You don't know for sure?

       3         A.    I mean it was the responsibility of the

       4     department to collect updated data for our customer

       5     base.

       6         Q.    And what would happen if a customer -- you

       7     did not have updated data for a customer?

       8         A.    So because our order monitoring is many

       9     facets, we would then monitor their orders.             And if

      10     something stuck out to us in their ordering pattern,

      11     it would also require that we collect updated data.

      12               (Anda - Solis Exhibit 16 was marked for

      13     identification.)

      14     BY MS. ELLIS:

      15         Q.    I'm handing you what's been marked as

      16     Exhibit 16.      This is an e-mail from yourself to

      17     Robert Brown dated July 18th, 2013.

      18               Do you recognize that?

      19         A.    Yes.

      20         Q.    What is it?

      21         A.    It's explaining the -- what we had talked

      22     about earlier, if a customer was active at Anda and

      23     eligible for controls but they were not an active

      24     customer at Anda.       We took the approach -- actively

      25     buying -- that we would remove controlled substances

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       1     and force updated data.        Because should they want to

       2     purchase controls from Anda, again, they would have

       3     to go through the Remedy review process.

       4         Q.    So up until this point, people had been

       5     listed in Remedy as able to buy controls, right?

       6               MS. KOSKI:     Object to form.

       7         A.    No, because Remedy is the task management

       8     system.    The customer could have been made eligible

       9     for controls at Anda yet they were not buying

      10     anything from Anda at that point in time that we

      11     were reviewing the customer.

      12         Q.    So they would have been eligible for

      13     controls in TPS then?

      14         A.    Correct.

      15         Q.    And when -- so what that meant is when a

      16     customer wanted to purchase controls, and the sales

      17     rep perhaps submitted the opportunity through

      18     Remedy, that the compliance would look at TPS and it

      19     would say the customer was eligible, yes?

      20         A.    If I'm following, because in this specific

      21     situation, it wasn't specific to, like, a Remedy

      22     request.     This was specific to, like, an auditing of

      23     our department where we were reviewing who was

      24     act -- an active customer with Anda and yet they

      25     were eligible for controls.         So they were an active

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       1     customer and they had the potential to buy yet they

       2     were not actively buying from Anda at all.

       3               So what we did was removed the controlled

       4     substance eligibility from that customer so that

       5     when they came back to Anda and became an active

       6     customer, they would have to go through a new review

       7     process.

       8         Q.    So in this paragraph, you said -- and I have

       9     it highlighted right here on this copy.            I'll put it

      10     up on the screen.

      11               That you had customers that had not

      12     purchased controls in more than six months; there

      13     were a couple reviewed with another project and

      14     there is no CQ or DD, so controls were removed with

      15     first phase.

      16               And then you said you have questionnaires

      17     for many of them; however, most have never been

      18     reviewed or provided DD.         Right?

      19         A.    Yeah, I would have to see what the accounts

      20     were I was looking at.        That's what it says.

      21         Q.    So it was something that happened fairly

      22     regularly that, quote, most questionnaires for some

      23     accounts had not been reviewed by compliance?

      24               MS. KOSKI:     Object to form; mischaracterizes

      25         the document.

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       1         A.    This is a tricky -- there is a tricky way to

       2     respond to this, because at the time we were trying

       3     to figure out a way that we were able to correlate

       4     data that we've received and showing that we had

       5     received that data.

       6               So I don't know -- I'm saying here that it

       7     has never been reviewed or they've never provided

       8     dispensing data.       So it could be that we didn't have

       9     anything on file or it could have been that we had

      10     it on file and maybe it hadn't been reviewed at that

      11     period of time.

      12         Q.    Why wouldn't that be in TPS?

      13               MS. KOSKI:     Object to form.

      14         A.    The -- the fact that we had the data?

      15         Q.    Yeah.

      16         A.    That was an ongoing project for us to update

      17     our system with the most recent data received.

      18         Q.    So when data was received, what was the

      19     process of putting it into the system?

      20         A.    If the data was received, like that previous

      21     e-mail with the compliance clerk, we received it

      22     into our department.        And then it would be saved,

      23     and then a lot of the times, like I had mentioned

      24     before, we weren't aware of why we were receiving

      25     the information directly from the customer.

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       1               So sometimes we would wait for the

       2     customer -- depending on the circumstance, the sales

       3     rep to tell us what the customer is wanting, if it

       4     was an increase, if they wanted to be reviewed for

       5     controls.

       6               So a lot of times a sales rep can have a

       7     conversation with a customer and tell the customer

       8     to submit the information to compliance.             We

       9     received something and we don't know where the

      10     request originated.

      11         Q.    So you don't know why you would be getting a

      12     customer questionnaire from a customer?

      13               MS. KOSKI:     Object to form.

      14         A.    We would know why we're getting a customer

      15     questionnaire, but with regards to dispensing data,

      16     it could be provided to you and you may not know

      17     where the request was initiated.

      18         Q.    And you were cutting these customers off

      19     from purchasing, as you said before, so that you

      20     could trigger the submission of new data, right?

      21         A.    Correct.

      22         Q.    But you said that was a process that was

      23     compliance concentric, correct?          It's a compliance

      24     decision?

      25         A.    Yes.    That was what our department was

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       1     doing.    It was an initiative.

       2         Q.    Client compliance is in charge of

       3     determining whether you can buy controls or not,

       4     right?

       5         A.    Yes.

       6         Q.    Except here you have a list from Renee Mort.

       7               Who is that?

       8         A.    That's a sales rep.

       9         Q.    It says right here:       Attached to that list,

      10     the customers the reps would like to keep "yes" in

      11     the system.

      12         A.    Yeah, that's not surprising because as part

      13     of this review process we were requesting data and

      14     phases with deadlines.        So all of this seems to

      15     indicate to me is if I were to research this

      16     further, we were giving extensions sometimes, and we

      17     were communicating with sales because this was very

      18     large initiative of data collection, and we removed

      19     a substantial amount of control eligibility.

      20               So in this situation, it just indicates to

      21     me that we did have communication back and forth and

      22     who had asked for an extension, because maybe this

      23     pharmacy needed more time to pull the data or

      24     whatever the case is.

      25               MS. KOSKI:     Just for the record, you have an

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       1         attachment that just says it was produced in

       2         native, but you didn't include the substance of

       3         the attachment, right?        Is that what you meant to

       4         do?   It just says --

       5               MS. ELLIS:     Yes.    The attachments that are

       6         included in native format -- and we will

       7         supplement the record as we have done in previous

       8         depositions -- with the actual Excel spreadsheet,

       9         and we can send those to you afterward but

      10         they're not printable.

      11               MS. KOSKI:     Sure.

      12               MS. ELLIS:     Because they're very large.

      13               MS. KOSKI:     Yeah, I just figured you just

      14         haven't shown it to her.        I just want to make

      15         sure it's clear on the record she doesn't have

      16         the spreadsheet attached, so she can't look at it

      17         to refer to it.

      18     BY MS. ELLIS:

      19         Q.    You were able to provide without your

      20     attorney's commentary there your explanation without

      21     having looked at the spreadsheet, right?

      22         A.    I'm familiar with the different processes

      23     that happened during this time of auditing.

      24         Q.    So you didn't need the spreadsheet to

      25     provide that explanation, right?

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       1         A.    It would be helpful to see what this e-mail

       2     is referring to.

       3         Q.    You know what a list of not actively

       4     purchasing controls January through June '13 is,

       5     though, right?

       6         A.    I know what would be included in the report.

       7     I don't know who the customers were.

       8         Q.    I wasn't asking you about specific

       9     customers, though, did I?

      10         A.    No.

      11         Q.    Right.

      12               I was asking you in general, right?

      13         A.    Yes.

      14         Q.    Okay.    You said a moment ago that there was

      15     a substantial amount of -- let me go back and read

      16     it so I get it right.

      17               You said you were giving an extension

      18     sometimes and communicating with sales because this

      19     is a very large initiative of data collection.

      20               Is it fair -- is it fair to say that that

      21     means that there was a fair amount of accounts

      22     that -- or a large amount of accounts, to use your

      23     words, that you needed up-to-date data for?

      24         A.    There was a large amount of customers that

      25     we were going after for various reasons to collect

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       1     updated data for.       So I don't know how many of them

       2     exactly didn't have data, but we were going after

       3     customers for a variety of different reasons.

       4         Q.    And you were collecting a substantial amount

       5     of information that you did not previously have in

       6     the system; is that right?

       7               MS. KOSKI:     Object to form.

       8         A.    That's not necessarily the case, but when we

       9     were going after different segments of our customer

      10     base, we were collecting and bringing in a large

      11     amount of data due to that initiative.

      12         Q.    Was this called the customer questionnaire

      13     project?

      14         A.    Yes.

      15               (Anda - Solis Exhibit 17 was marked for

      16     identification.)

      17     BY MS. ELLIS:

      18         Q.    I'm handing you what's been marked

      19     Exhibit 17.      That's Anda Opioids 351076.

      20               This appears to be an e-mail from yourself

      21     to Latoya Samuels with background on the customer

      22     questionnaire project; is that right?

      23         A.    Yes.

      24         Q.    And you were sending this -- why were you

      25     sending this to Latoya at this point?

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       1         A.    We worked in the same department, and so she

       2     was aware of the ongoing project.

       3         Q.    Was there ownership of this project with any

       4     one person in your department?

       5         A.    I was primarily responsible for all of the

       6     reporting and the organization of the project, but

       7     the department was responsible for wanting the data.

       8         Q.    Where did the idea for this project come

       9     from?

      10         A.    When I was brought into the department, I

      11     was brought in with the expectation that I would

      12     help the department with certain standards that they

      13     were wanting to meet.

      14         Q.    That they were wanting to meet better?

      15         A.    To keep -- to do as far as it's what we

      16     wanted to do.

      17         Q.    So let's look at the second page of the

      18     attachment on this.

      19               Did you draft this attachment?

      20         A.    Did I draft this?       Yes.

      21         Q.    It's the customer questionnaire project,

      22     right?

      23         A.    Yes.

      24         Q.    Originated in 2011, right?

      25         A.    Yes.

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       1         Q.    So at that time it says:         9,624 customers

       2     that no questionnaire yet were flagged as yes for

       3     being able to purchase controls; is that right?

       4         A.    Yes.

       5         Q.    So it's your testimony today that that's the

       6     standard that the Anda leadership wanted to keep

       7     once they brought you into compliance?

       8         A.    Yes.

       9         Q.    They wanted to keep that large number of

      10     customers as being flagged for yes yet not having

      11     customer questionnaires on file?

      12         A.    No, that's not what I was saying.           I'm

      13     saying the department wanted to collect updated

      14     questionnaires on the customer base.

      15         Q.    Because at that time there were nearly

      16     10,000 customers that were allowed to buy controls

      17     within TPS, yet there was no customer questionnaire

      18     on file for them?

      19         A.    They were eligible to buy controls, but as

      20     we talked about, previous to this e-mail, a lot of

      21     them were not even actively buying from Anda.

      22         Q.    But if a -- if they attempted to purchase a

      23     control from Anda and a compliance analyst went into

      24     the TPS program and looked at whether they were

      25     eligible for it, they would see the flag as yes,

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       1     correct?

       2         A.    Yes.

       3         Q.    And that would, as we discussed before,

       4     potentially shorten the time that they would take to

       5     review an order for controls to be approved or not?

       6               MS. KOSKI:     Object to form.

       7         A.    No.    We don't ever look at the control flag

       8     and make a determination that it's going to take a

       9     shorter amount of time because they are flagged Y.

      10     And that's why we delve into the other procedures

      11     where our review process kicks in and we look at

      12     what is the item the customer is ordering, who is

      13     the customer, and what is the quantity they are

      14     ordering.

      15         Q.    That 9,624 number did not even include

      16     chains, did it?

      17         A.    No.

      18         Q.    So there were, in fact, more than 9,624

      19     customers in October of -- I guess that was in 2011

      20     that were eligible for controls but there was none

      21     of the -- no questionnaire on file for them?

      22               MS. KOSKI:     Object to form.

      23               Go ahead.

      24     BY MS. ELLIS:

      25         Q.    Go ahead.

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       1         A.    Even to date, chains don't have the same

       2     sort of a questionnaire.         If it is a corporate-owned

       3     entity, they give us a corporate questionnaire.

       4               So that's just indicating a individual

       5     customer questionnaire for an individual location

       6     that requires it.       That's not to say we didn't have

       7     a folder on file with background for a chain

       8     relationship that we had.

       9         Q.    If a customer was eligible to purchase

      10     controls and placed an order for controls in TPS --

      11     let me ask that a different way.

      12               If a customer was not eligible to purchase

      13     controls but purchased or placed an order for

      14     controls, that would make it an order of interest,

      15     correct?

      16               MS. KOSKI:     Object to form.

      17         A.    They wouldn't be able to place an order if

      18     they are not eligible for controls.

      19         Q.    So unless the flag was yes, they would not

      20     be able to place the order is what you're saying?

      21         A.    Correct.

      22         Q.    So this allowed customers to -- the yes flag

      23     within TPS allowed the customer to be able to place

      24     the order in the first place?

      25         A.    They could place the order and then most --

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       1     that would go then to another process of reviewing

       2     an order if it was flagged an order of interest.

       3         Q.    And it would be flagged an order of interest

       4     according to the things in SOP 40 that we talked

       5     about before, as well as the other things that you

       6     were not aware of?

       7         A.    It would be flagged if -- through the

       8     suspicious order monitoring system, in that

       9     criteria.

      10         Q.    And so presumably if there are more

      11     people -- or more customers that are flagged yes for

      12     controls and able to place orders for controlled

      13     substances, that might lead to more orders of

      14     interest being generated in the TPS program.

      15               Is that fair?

      16         A.    No, because just -- even though they are

      17     flagged Y, that doesn't necessarily indicate that

      18     should they buy from us and we didn't have data,

      19     that what they would buy would stand out to us as

      20     being an order of interest.

      21         Q.    Then why would you want to cut them down?

      22         A.    Simply because we were trying to collect

      23     updated data on these customers.

      24         Q.    So what you're saying is that even though

      25     you didn't have the updated data, because their flag

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       1     was yes, an order would not necessarily be

       2     determined by the system to be an order of interest?

       3         A.    No.

       4               I was saying that if they were flagged Y,

       5     regardless of any information that we had on file,

       6     the order would still go through the regular process

       7     of review, and then we would still be reviewing what

       8     was consistent -- what the order consisted of.

       9         Q.    Okay.    So they were flagged yes, correct, in

      10     the system, in TPS?

      11         A.    That's -- yes.      That line is saying that.

      12         Q.    But you had determined by this point, at

      13     least in 2011, that 9,624 of those people,

      14     customers, did not have questionnaires on file,

      15     right?

      16         A.    Yes.

      17         Q.    And your testimony a moment ago was

      18     regardless of what their status was with the

      19     customer questionnaire, that any order placed

      20     through TPS would not have necessarily been deemed

      21     by the system to be an order of interest?

      22         A.    Correct, because it's based on the criteria

      23     that was in the programming.

      24         Q.    So a customer could have a yes flag,

      25     correct?

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       1         A.    Yes.

       2         Q.    And not have a current -- not have a

       3     customer questionnaire on file at all, right?

       4         A.    Going back in to this point in time, yes.

       5         Q.    And still place an order and have that order

       6     not be flagged by the system as an order of

       7     interest, right?

       8         A.    It's a possibility if it didn't meet the

       9     criteria of the program.

      10         Q.    So unless it was one of the criteria of the

      11     program that you were not familiar with earlier --

      12         A.    Right.

      13         Q.    -- it could still have happened, right?

      14         A.    Potentially.

      15         Q.    And, again, you don't know whether those

      16     orders were suspicious or not without having done

      17     the review, correct?

      18               MS. KOSKI:     Object to form.

      19         A.    I'm not following the question.

      20         Q.    Well, you mentioned earlier that orders of

      21     interest were different than suspicious orders,

      22     correct?

      23         A.    Yes.

      24         Q.    So if the system did not flag it as an order

      25     of interest, then an analyst would not have deemed

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       1     it to be suspicious, right?

       2         A.    Correct, because there would be no review

       3     process.

       4         Q.    Right.    So if the system for some reason

       5     didn't flag the order of interest according to its

       6     criteria, then the review would never have been done

       7     for whether it was suspicious?

       8         A.    Correct.

       9         Q.    And that was the case for any of these 9,624

      10     customers that did not have current customer

      11     questionnaires on file up until 2011?

      12         A.    That's the case, assuming that they were

      13     purchasing.

      14         Q.    And this project continued for a number of

      15     years, didn't it?

      16         A.    Yes.

      17         Q.    It was an ongoing effort to collect that

      18     information, right?

      19         A.    Yes.

      20               (Anda - Solis Exhibit 18 was marked for

      21     identification.)

      22     BY MS. ELLIS:

      23         Q.    I'm handing you what's been marked as

      24     Exhibit 18.      This is another e-mail from yourself to

      25     Latoya Samuels, and the Bates Number 350910.

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       1               It seems that you're circulating the same

       2     attachment to her again five years later.

       3               Is that fair?

       4         A.    Yes, it looks to be so.

       5         Q.    Was the project still going on at this

       6     point?

       7         A.    I don't remember why I sent this to her in

       8     2016.

       9         Q.    You would have had a reason to send it to

      10     her at that point, though, wouldn't you?

      11         A.    I assume so, yes.

      12         Q.    Would that be because you were still trying

      13     to get updated questionnaire information for

      14     customers?

      15         A.    Anda is always trying to get updated

      16     information from our customers.

      17         Q.    And sitting here today you can't say that by

      18     this point in time, in October of 2016, updated

      19     information had been received from all of the 9,624

      20     customers that had no customer questionnaire on file

      21     in 2011, right?

      22               MS. KOSKI:     Object to form.

      23         A.    I can't speculate.       I can pretty confidently

      24     say that at that point in time we had a lot of

      25     success with the project and we had received updated

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       1     information.

       2         Q.    But you haven't -- you don't know sitting

       3     here at this moment for how many of those?

       4         A.    Well, you remember I wasn't in that area of

       5     the department at that time, so I don't know why I

       6     forwarded it to Latoya.        I was working in

       7     regulatory, so I don't know what happened.

       8         Q.    Did you ever do a comparison of your SOM --

       9     I'm sorry, Anda's SOM processes to any of your

      10     competitors' or other people in the controlled

      11     substance distribution or manufacturing space?

      12         A.    That wasn't something that I was involved in

      13     if it happened.

      14         Q.    Is it something you would take an interest

      15     in if you became aware of it?

      16               MS. KOSKI:     Object to form.

      17         A.    I always think it's possible for the entry

      18     to work together.

      19               (Anda - Solis Exhibit 19 was marked for

      20     identification.)

      21     BY MS. ELLIS:

      22         Q.    I'm handing you what's been marked as

      23     Exhibit 19.     This is Anda Opioids Bates Number

      24     ending in 89620.

      25               This is an e-mail from you to Michael

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       1     Cochrane, Robert Brown, and Emily Schultz on

       2     April 16th, 2013, regarding Cardinal's SOM program.

       3               Do you remember this e-mail?

       4         A.    Yes.    This was the result of -- he was a

       5     speaker at the conference.

       6         Q.    Who was?

       7         A.    Gilberto Quintero.

       8         Q.    And you were sending these notes to

       9     Mr. Cochrane, Mr. Brown, and Ms. Schultz why?

      10         A.    It was notetaking from his presentation at

      11     the conference.

      12         Q.    Was his presentation broader than this?

      13               MS. KOSKI:     Object to form.

      14         A.    I assume.     He spoke for an hour, and this is

      15     a couple of bullets.

      16         Q.    Do you know why he would have just included

      17     these bullets as opposed to anything else he might

      18     have said in that hour?

      19         A.    I guess I thought that they were worth

      20     looking at.

      21         Q.    Do you know why you would have thought that

      22     they were worth looking at?

      23         A.    I don't know why at that point in time.

      24         Q.    At this point in time, do you recall any

      25     internal meetings related to Anda's SOM process and

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       1     potential changes to it?

       2               MS. KOSKI:     Object to form.

       3         A.    Our department is always looking for ways of

       4     enhancing processes.

       5         Q.    You don't remember specifically at this

       6     point any conversations related to changing the SOM

       7     process?

       8               MS. KOSKI:     Object to form.

       9         A.    I know that there was always discussions

      10     about enhancing.       I don't know when they took place.

      11               (Anda - Solis Exhibit 20 was marked for

      12     identification.)

      13     BY MS. ELLIS:

      14         Q.    I'm handing you what's been marked as

      15     Exhibit 20.      This is Anda Bates Number 485846.          This

      16     is an e-mail that you sent to Jay Spellman, Emily

      17     Schultz, Johnny Kincaide, Latoya Samuels, and James

      18     Gatto on June 15th, 2017.

      19               This is -- it looks like you're forwarding

      20     some news on to them; is that right?

      21         A.    Yes.

      22         Q.    Is this something that you have done

      23     throughout your time in the Anda compliance

      24     department?

      25         A.    Yes.

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       1         Q.    Why would you forward news along to these

       2     other folks in your department?

       3         A.    We discussed this earlier today, that we

       4     monitor news events pertinent to the industry.

       5         Q.    And in this particular article, the second

       6     one mentioned is related to McKesson and SOMs.              It

       7     seems you pulled out a portion of the article

       8     talking about McKesson's monitoring program, right?

       9         A.    Yes.

      10         Q.    And there it describes assigning customers a

      11     monthly threshold for controlled substances, and it

      12     says it was geared more towards reporting suspicious

      13     customers than isolated suspicious orders, right?

      14         A.    Yes.

      15         Q.    Is that your -- is that your understanding,

      16     that that's what Anda's system was also doing at

      17     that point?

      18         A.    No.

      19         Q.    You testified earlier that Anda was

      20     providing historically suspicious customer names to

      21     the DEA and not suspicious orders; isn't that right?

      22         A.    Yes.

      23         Q.    And so that's different than what this says,

      24     recording suspicious customers rather than isolated

      25     suspicious orders?

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       1               MS. KOSKI:     Object to form.

       2         A.    You're asking me to -- if -- or you're

       3     insinuating that the reason I copied and pasted this

       4     was because I believed that to be true about Anda.

       5     And so I'm saying that that's not necessarily true.

       6               I'm saying that when you're in the space

       7     that we're in, there is so much emphasis on

       8     suspicious order monitoring.          And when you are in

       9     our world, you are doing so much monitoring of

      10     customers.

      11               And like I said, the three-phased approach

      12     are looking at customers, you're determining the

      13     limits that they are allowed to have, and you're

      14     looking at the orders that are leaving the building.

      15     So this was just something specific to our industry

      16     and the world we're living in.

      17         Q.    You would agree that at least in 2017 you

      18     were aware that there was an obligation to report

      19     the specific orders to the DEA and not just

      20     customers, right?

      21               MS. KOSKI:     Object to form.

      22         A.    Yes, I know that there was an ask to report

      23     orders.

      24         Q.    And you knew that that was an ask previous

      25     in time to that point, right?

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       1         A.    Yes.

       2         Q.    And you know that Anda had not been doing

       3     that, correct?

       4               MS. KOSKI:     Object to form.

       5         A.    I don't know --

       6               MS. KOSKI:     Time period.

       7         A.    -- the specifics of what took place all

       8     throughout the period of time.          I know that we were

       9     always in communication with the DEA about our

      10     customer reviews.

      11         Q.    You were on e-mails that were sent to the

      12     DEA with suspicious customers, right?

      13         A.    Yes.    Oh, no.    I would, at that point in

      14     time, submit customers to be reported.            I don't

      15     believe at this period in time I was the one that

      16     was communicating and doing the reporting.

      17         Q.    But you were at least cc'd or on the e-mails

      18     throughout your period or throughout your time in

      19     the Anda compliance department on e-mails that were

      20     sent to the DEA, right?

      21         A.    There was a period of time where I was not

      22     cc'd on the communication.         Today, I am.

      23         Q.    There was a period of time up until 2017

      24     where you were cc'd on the communication, right?

      25         A.    There is a possibility that I was, but there

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       1     is also -- I don't know the date ranges.             There was

       2     a time period where I was not cc'd on it.

       3               (Anda - Solis Exhibit 21 was marked for

       4     identification.)

       5     BY MS. ELLIS:

       6         Q.    I'm handing you what's been marked as Anda

       7     Exhibit 21, and this is an e-mail from yourself to

       8     Christine Leon-Laurent, and entitled:            All Controls

       9     Y Customer Questionnaire No Master Combined.

      10               You say:     "For meeting."

      11               Do you have any recollection of what this --

      12     what this is?

      13         A.    I can assume that -- Christine worked in the

      14     corporate chain area and that I was asking her to

      15     help coordinate data that we were wanting to

      16     collect.

      17         Q.    And was this part of the customer

      18     questionnaire project?

      19         A.    Yes.

      20         Q.    We're going to go ahead and switch and show

      21     you the attachment to that.         It's been produced

      22     in -- the page saver has been produced in paper

      23     format here for the record, but we will also

      24     distribute it to defense counsel as well as the --

      25     as well as Golkow for the record.

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       1               And what we have pulled up on this screen

       2     I'll represent is what's been produced in native

       3     format as Anda_Opioids_MDL 850139, the subsequent

       4     Bates number from the e-mail that we just referenced

       5     as attached as Exhibit 21.

       6               Is this the spreadsheet that is attached to

       7     that e-mail that you sent to Christine?

       8         A.    I don't -- I don't know what was attached

       9     but if you're saying that this is the attachment,

      10     yes.

      11         Q.    Does it look like this is what a list of

      12     that sort would look like?

      13         A.    Yes.

      14         Q.    So what is this spreadsheet or what is your

      15     understanding of what an "all controls yes CQ no"

      16     spreadsheet is?

      17         A.    You're showing who you are wanting to

      18     collect a questionnaire from.

      19         Q.    So these would be the customers that had

      20     their ability to purchase controls flagged as yes in

      21     TPS, correct?

      22         A.    Correct.

      23         Q.    And had the customer -- and Anda did not

      24     have a customer questionnaire on file for them,

      25     correct?

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       1         A.    That can be interpreted a number of

       2     different ways.

       3               So it could be that the individual count

       4     showed a no.      And when you are dealing with these

       5     sort of chain locations, we could have had data on

       6     the O drive related to this customer yet the

       7     customer was not flagged.         Either way, we were

       8     wanting to collect data, new data, and flag these

       9     customers.

      10         Q.    So is it fair to say in 2012 there was not

      11     one place that you could go to determine if you had

      12     up-to-date due diligence information on a customer

      13     before making a determination of whether you should

      14     allow them to buy controls?

      15         A.    I'm sorry.     So could the information that we

      16     collected be in more than one place?

      17         Q.    Yes.

      18         A.    Yes.

      19         Q.    And it wasn't an easy way to determine

      20     whether the information was up-to-date?

      21         A.    They were saved in different places,

      22     depending on the customer or group, yes.

      23         Q.    Is it fair to say that this was an attempt

      24     to put safeguards in place to prevent the

      25     fulfillment of suspicious orders?

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       1         A.     I don't think that this was necessarily

       2     related to -- directly related to the fulfillment of

       3     suspicious orders.       I believe that this was more

       4     targeting us collecting new information on our

       5     customers to know our customers.

       6         Q.     And it's your understanding, per your

       7     testimony earlier today, that that's one of the

       8     requirements of federal law, that you know your

       9     customers, right?

      10                MS. KOSKI:    Object to form; mischaracterize

      11         her testimony.

      12         A.     It's one of the asks, yes.

      13         Q.     It's one of the asks and it's one of the

      14     responsibilities of Anda's compliance department,

      15     right?

      16         A.     Yes.

      17         Q.     If we could just sort this spreadsheet here,

      18     I think you can hit the filter button there at the

      19     top.     And pardon me as I roll over.

      20                Can we scroll over to the right there in the

      21     spreadsheet.

      22                So in column AV, that's the customer

      23     questionnaire received, let's go ahead and filter

      24     that.     Select "no" and take the blank off.

      25                And then customers controls in column AD,

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       1     filter that to say "yes," it is.           And can we tell

       2     how many people are on this spreadsheet at this

       3     point?

       4               MS. ELLIS:     I'm going to take a minute here

       5         to take a quick break.        And we'll probably wrap

       6         up after the next break, but I just want to get a

       7         couple of things organized first.

       8               MS. KOSKI:     Okay.

       9               THE VIDEOGRAPHER:       The time is 5:50 p.m.

      10         We're going off the record.

      11              (Recess from 5:50 p.m. until 6:04 p.m.)

      12               THE VIDEOGRAPHER:       The time is 6:04 p.m.

      13         We're now back on the record.

      14     BY MS. ELLIS:

      15         Q.    A moment ago I was asking you about the

      16     spreadsheet 850139.       Was that the spreadsheet from

      17     where you would have derived the number of customers

      18     that had control flags on but did not have customer

      19     questionnaires on file?

      20               MS. KOSKI:     Object to form.

      21         A.    That was based on a report on the -- what

      22     the flags indicated in the customer master at that

      23     time.

      24         Q.    So that's the customer questionnaire info

      25     sheet that you sent to Latoya twice that we talked

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       1     about a minute ago?       It would have been based on a

       2     report like that?

       3               MS. KOSKI:     Object to form.

       4         A.    I'm not following.       The flags that the

       5     questionnaire flagged with Y or no and the

       6     dispensing data flagged Y or no would be based on a

       7     report that we were pulling based on what the flag

       8     indicated.

       9         Q.    So is that different -- a report was not the

      10     spreadsheet that we were looking at a moment ago?

      11         A.    No.    That spreadsheet is a report.

      12         Q.    It is a report?

      13         A.    Yes.

      14         Q.    So is that a report from where you would get

      15     this 9,624 number that we're looking at here?

      16         A.    That report was specific to a segment of our

      17     business.     That report was specific to the chain

      18     area, and this seems to be a reflection of the

      19     entire business trade class.          But you would use a

      20     similar report.

      21         Q.    Similar to the one that we just looked at?

      22         A.    Yes.

      23         Q.    And you would pull it in the same way, just

      24     with different numbers -- or different fields?              I'm

      25     sorry.

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       1         A.    We could pull it with whatever criteria we

       2     wanted to use.

       3         Q.    Throughout your time in the compliance

       4     department, were you -- how were you made aware of

       5     what was being reported to the DEA at what time?

       6               MS. KOSKI:     Object to form.

       7         Q.    If at all.

       8         A.    I'm not following how I was made aware.            I

       9     know that it was -- if an analyst reviewed a

      10     customer at any point in time and we determined that

      11     we would not sell to them or we would discontinue

      12     selling to them, we notified the DEA.

      13         Q.    And sometimes you were on that list and

      14     sometimes you were not, right?

      15         A.    There was a period of time that I was not on

      16     the list.     I am today.

      17         Q.    There was a period of time when you were on

      18     the list, right?

      19         A.    Yes.

      20         Q.    Have you seen the list before?

      21         A.    That we report to the DEA?

      22         Q.    Yes?

      23         A.    Yes.

      24         Q.    Do you know where that list was in the Anda

      25     systems?

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       1               MS. KOSKI:     Object to form.

       2         A.    Not at all times during the time I've worked

       3     at Anda.     I do today, yes.

       4         Q.    Is it your understanding that up until 2017

       5     it was a running spreadsheet that included all

       6     customers that had been reported at any point in

       7     time between, say, 2011 to 2017?

       8         A.    Yes.

       9         Q.    And that that same spreadsheet would be sent

      10     over and over to the DEA, just with additional

      11     information, right?

      12         A.    Yes.

      13         Q.    So if you were to look at the last version

      14     of the spreadsheet, you could see all reports that

      15     had been made prior to that point to the DEA on that

      16     spreadsheet, right?

      17         A.    Up to a certain time frame today, yes.

      18         Q.    And that process, of course, changed when

      19     Buzzeo came into effect; is that right?

      20               MS. KOSKI:     Object to form.

      21         A.    No.    We still notified the DEA with a

      22     similar spreadsheet.

      23         Q.    But it's a different spreadsheet?           It

      24     changed at some point?

      25         A.    It changes with updates, yes.

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       1         Q.    Would you recognize that spreadsheet if I

       2     showed it to you?

       3         A.    Yes.

       4         Q.    Would you say -- is it fair to say that

       5     there was some confusion in the compliance

       6     department about who was to be reported or what

       7     customers were to be reported to the DEA at what

       8     point in time?

       9               MS. KOSKI:     Object to form.

      10         A.    I wouldn't use the word confusion.           I think

      11     that there has been discussions about who should be

      12     reported.

      13         Q.    Would you agree that it has not been

      14     consistent throughout your time in the compliance

      15     department about who was report -- or what customers

      16     were reported at what time?

      17               MS. KOSKI:     Object to form.

      18         A.    I don't know if it's consistency because

      19     it's due to who is reviewing the customer and what

      20     they determine should be reported.

      21               So, for example, if you're reviewing a

      22     customer and you deny them controls at this period

      23     of time because you don't have enough information to

      24     make a conclusion, would you notify the DEA that

      25     you're not selling to them just because you wanted

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       1     more time, or are you going to notify the DEA of

       2     someone that as of this moment you would not sell

       3     to?

       4               That's the type of conversations we've had.

       5               (Anda - Solis Exhibit 22 was marked for

       6     identification.)

       7     BY MS. ELLIS:

       8         Q.    I'm handing you what's been marked as

       9     Exhibit 22.

      10               Is that right?

      11               MS. ELLIS:     Is that right?

      12               MS. KOSKI:     Yes.

      13         A.    Yes.

      14         Q.    Thank you.

      15               Anda Bates Number 493634.         This is an e-mail

      16     from Robert Brown to yourself and Tasha Campbell as

      17     well as some others in the compliance department; is

      18     that right?

      19         A.    Yes.

      20         Q.    Is this one of those discussions that just

      21     referenced about when a customer is to be reported

      22     versus not?

      23         A.    Yes.    This is another example of what would

      24     be discussed.

      25         Q.    And so in this situation you're asking

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       1     Mr. Brown, who was your boss at this point in

       2     November of 2013; is that right?

       3         A.    Correct.

       4         Q.    You're asking him:       So you're on the same

       5     page going forward, do we report this order?

       6               Right?

       7         A.    I think what I'm asking is at what point in

       8     time would an order that is being reviewed be

       9     determined as suspicious, yes.

      10         Q.    And so it's fair to say that on November

      11     5th, 2013, you were not clear on what a suspicious

      12     order was?

      13               MS. KOSKI:     Object to form.

      14         A.    No, that's not correct.

      15               In our world, when you're reviewing an order

      16     and you're asking for more information from a

      17     customer, if an order is held based on a lot of

      18     different criteria and you want information and the

      19     customer doesn't respond in enough time, you may

      20     have to cancel the order because the customer hasn't

      21     responded.

      22               But that doesn't necessarily indicate that

      23     it was suspicious altogether.          It could be that the

      24     order was held, an analyst determined they wanted to

      25     get updated data, the customer didn't respond in

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       1     time.

       2         Q.    And so would that order be reported as

       3     suspicious or not?

       4         A.    Currently, today, it would be, yes.

       5         Q.    At that point would it have been?

       6         A.    I think I was asking for clarification here.

       7         Q.    Did this e-mail give you clarification as to

       8     whether that order would be reported or not?

       9         A.    Yes.    I think he was making clear to my

      10     question, and he was along the lines of what I was

      11     saying.    He was saying that it can be reported if we

      12     inquire and we get data and we do determine it is

      13     suspicious after review; or, number two, we don't

      14     get data and we find the order in and of itself

      15     suspicious without the data we're requesting.

      16         Q.    So the answer would be yes, you would report

      17     an order at that point as suspicious?

      18         A.    Yes, if we find the order to be suspicious.

      19               In our world, everything that holds to us is

      20     not suspicious.      There is a lot of things that hold.

      21     If we look at what is held and we say this is

      22     suspicious, we would report it.

      23         Q.    So what you're saying is at this point in

      24     time, in 2013, an order could be held because it was

      25     flagged by TPS according to SOM 40 and the criteria

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       1     that you said you weren't really completely familiar

       2     with before, right?

       3         A.    The programming aspect of it I was not

       4     involved in, yes.

       5         Q.    So an order could be held by TPS, right?

       6         A.    Yes.

       7         Q.    You could ask the customer for more

       8     information and they could not give it to you?

       9         A.    In our time frame, yes.

      10         Q.    And you would not have necessarily reported

      11     it to the DEA at that point?

      12         A.    It's a possibility.

      13         Q.    And so is it fair to say that it depended at

      14     that point on the judgment of the analyst or whoever

      15     was making the report to the DEA?

      16         A.    It depends on what the customer was

      17     ordering.     So if a customer is ordering something

      18     for the first time and in today's world they are

      19     ordering Viberzi for irritable bowel and they are

      20     getting 100 pills of that, it's going to flag

      21     because they haven't ordered that product.

      22               Whether or not we would consider that

      23     suspicious, I don't know if we would, and if we

      24     looked at that order and said it's time to get

      25     updated data, we might use that order as an

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       1     opportunity to get updated data because it was

       2     something we were reviewing.

       3         Q.    Was it your understanding but still at this

       4     point that suspicious orders particularly were not

       5     being reported, only suspicious customers?

       6               MS. KOSKI:     Object to form.

       7         A.    I was aware that we were reporting

       8     suspicious orders to the DEA -- or customers, yes.

       9         Q.    Just to be clear for the record, you were

      10     aware in 2013 that suspicious customers were being

      11     reported to the DEA but not suspicious orders?

      12         A.    I was aware that I was suggesting to report

      13     customers that I had reviewed, yes.

      14         Q.    You were suggesting customers to be

      15     reported, correct?

      16         A.    Yes.

      17         Q.    But not specific orders?

      18         A.    I don't know if I was.        There was another

      19     e-mail somewhere else that I thought I had asked for

      20     clarification, so -- and someone had said I'm going

      21     to report this.      I don't know.      I'd have to see an

      22     example.

      23               (Anda - Solis Exhibit 23 was marked for

      24     identification.)

      25     BY MS. ELLIS:

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       1         Q.    I'm handing you what's been marked as

       2     Exhibit 23, and this is Bates Number Anda Opioids

       3     493357.    This seems to be an e-mail exchange between

       4     yourself and Isaac Pizaro and some others in the

       5     compliance department regarding Wake Forest Drug; is

       6     that right?

       7         A.    Yes.

       8         Q.    Who is Isaac Pizaro?

       9         A.    I believe he was a sales rep.

      10         Q.    And here you say that this came through with

      11     the suspicious orders, data was received, and

      12     controls were removed, right?

      13         A.    Yes.

      14         Q.    So at this point in time, November 5th,

      15     2013, this is about a week after the last e-mail

      16     that we just discussed.

      17               Was it your understanding that this order

      18     would have been reported to the DEA?

      19         A.    That's what the e-mail is indicating.            Emily

      20     used to be the person who reported to the DEA.

      21         Q.    So you thought the order was going to be

      22     reported, right?

      23         A.    Yes.

      24         Q.    And what Emily says here:         Anytime there is

      25     an order associated with a customer we cut, please

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       1     supply cut in the e-mail so I can report it as a

       2     suspicious order.

       3               Right?

       4         A.    Yes.

       5         Q.    Did you have any reason to believe that the

       6     orders themselves were not being reported?

       7               MS. KOSKI:     Object to form.

       8         A.    I think that in the area of business that we

       9     do, we're scrutinizing customers on the front end,

      10     we're setting conservative limits, and we're looking

      11     for ways to report because when you're not even

      12     allowing a customer to purchase from you based on

      13     your front-end review, you're not leaving room for a

      14     suspicious order.

      15         Q.    I'll ask my question again.         And I do

      16     appreciate that explanation, and I have some

      17     questions about it.

      18               But my question was:        Do you have any -- did

      19     you have any reason at this point to believe that

      20     the orders themselves were not being reported?

      21               MS. KOSKI:     Object to form.

      22         A.    This e-mail doesn't indicate that I had a

      23     reason to believe that.        I was communicating with

      24     the person as an analyst who was reporting to the

      25     DEA that this should be reported.

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       1         Q.    So as an analyst, you thought this should be

       2     reported to the DEA?

       3         A.    Correct.

       4         Q.    You weren't doing the reports at this point?

       5         A.    Emily was the person communicating directly

       6     with the DEA.

       7               (Anda - Solis Exhibit 24 was marked for

       8     identification.)

       9     BY MS. ELLIS:

      10         Q.    I'm handing you what's been marked as

      11     Exhibit 24.      This is Anda Bates Number 419725.          This

      12     is an e-mail from yourself to Robert Brown on April

      13     25th, 2013 that -- do you recall this?

      14         A.    No, I don't recall.       I'm reading through it.

      15         Q.    Take a moment.

      16         A.    Okay.

      17         Q.    And here, this was an order that had been

      18     placed; is that fair?

      19         A.    Yes.

      20         Q.    That you're debating whether you will be

      21     deleting the order or you would be fulfilling it,

      22     correct?

      23               MS. KOSKI:     Object to form.

      24         A.    Correct.

      25         Q.    Do you recall what happened with this order?

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       1         A.    I don't recall what happened.

       2         Q.    If you had a computer in front of you today

       3     and you were able to access your system, would you

       4     know where to go to look?

       5         A.    If I had the order number, I could find out

       6     what happened to that order, yes.

       7         Q.    And how would you do that?

       8         A.    I would have to know the order number, but

       9     yes, I could locate what happened if I knew that.

      10         Q.    This number in front of Prescription Center

      11     Pharmacies there, what number is that?

      12         A.    Their customer number.

      13         Q.    Is that not their customer DEA number?

      14         A.    No.   That's the Anda customer number.

      15         Q.    Is the Anda customer number the most

      16     consistent number that you would use to look at a

      17     customer?

      18               MS. KOSKI:     Object to form.

      19         A.    There's a number of different ways to

      20     identify a customer, but we use the customer number

      21     primarily.

      22         Q.    So after sending an e-mail like this to

      23     Mr. Brown, what was your understanding of what would

      24     happen next when it came to reporting a suspicious

      25     customer or order to the DEA?

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       1               MS. KOSKI:     Object to form.

       2         A.    So what this is indicating is that this is a

       3     large customer, which doesn't mean anything, but it

       4     means that most likely their control percentages

       5     with Anda were pretty good and that their control to

       6     noncontrol ratio at Anda was pretty good.             And we're

       7     seeing an increase of ordering with those items.

       8     And if it's a large volume customer, that doesn't

       9     necessarily indicate that anything is wrong.

      10               And what we're saying is this appeared, I

      11     reviewed it, and I believe that updated data is

      12     needed.    Because we have their order history and

      13     because this customer is most likely in balance,

      14     control to noncontrol ratio -- that's what we say

      15     when we say large customer -- do we cancel this as

      16     suspicious or do we ask for updated data.

      17         Q.    And your inclination at this point was to

      18     not fill the order; is that fair?

      19         A.    My inclination was that I wanted to ask for

      20     updated data after seeing the order, yes, because of

      21     the age of the data.

      22         Q.    But sitting here today you don't know if you

      23     were able to do that?

      24         A.    Today, I don't know if this order was

      25     released.     I don't recall.

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       1               (Anda - Solis Exhibit 25 was marked for

       2     identification.)

       3     BY MS. ELLIS:

       4         Q.    All right.     I'm handing you what's been

       5     marked as Exhibit 25, and this is a native format

       6     document that we're going to pull up on the screen

       7     in just a moment.       And we will also produce to

       8     defense counsel and the court reporting service.

       9               This is Bates Number Anda_Opioids_MDL 18604,

      10     and this is -- if you can look at it on the computer

      11     monitor in front of you.

      12               Can you see that?

      13         A.    Yes.

      14         Q.    Is this the spreadsheet that we -- you

      15     mentioned before was a cumulative spreadsheet that

      16     was sent to the DEA?

      17         A.    Yeah.    It's a version of a spreadsheet that

      18     has been sent to the DEA.

      19         Q.    On this version, it looks like there are

      20     four tabs on it, correct?

      21         A.    Yes.

      22         Q.    There is customer cutoff, controls denied,

      23     controls reinstated, and suspicious orders, right?

      24         A.    Correct.

      25         Q.    Let's go ahead and look at the suspicious

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       1     order tab, please.

       2               On this tab, the first suspicious order date

       3     in Row 2 seems to be 5/27/15; is that right?

       4         A.    Yeah, that's what the spreadsheet says.

       5         Q.    If you could just scroll down a little bit,

       6     it looks like there is five orders on that tab,

       7     correct?

       8         A.    Correct.

       9         Q.    And the last one is dated 7/19/16, correct?

      10         A.    On this version, yes.

      11         Q.    And that span -- those suspicious orders

      12     span a period of time, I guess, from 5/27/15 to

      13     7/19/16, which would be about 17 -- I guess 14

      14     months, right?

      15         A.    Yes.

      16         Q.    Is it your understanding that orders were

      17     not specifically being reported on a tab prior to

      18     this 5/27/15 date?

      19         A.    It's my understanding, if we go through the

      20     other tabs and find out how many were denied and cut

      21     off, that they could have quite possibly fallen into

      22     a similar category.

      23         Q.    Okay.    Well, let's go ahead and look at the

      24     other tabs.      Let's start with customer cutoff and

      25     let's just scroll across from Column A over.

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       1               The first column is the date, right?

       2         A.    Right.

       3         Q.    Anda account is the second one, correct?

       4         A.    Yes.

       5         Q.    And the third column is additional accounts

       6     number.

       7               What is that?

       8         A.    We used to have a separate account number

       9     for our New York distribution facility.            That's not

      10     something we use anymore.

      11         Q.    The next one is the customer's DEA number,

      12     right?

      13         A.    Yes.

      14         Q.    The customer name is in Column E?

      15         A.    Yes.

      16         Q.    Customer address in Column F, right?

      17         A.    Yes.

      18         Q.    Column G is the city of the customer,

      19     correct?

      20         A.    Yes.

      21         Q.    Column H is the state of the customer?

      22         A.    Yes.

      23         Q.    And then Column I is Anda comments, right?

      24         A.    Right.

      25         Q.    Nowhere on that tab is there a place for a

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       1     specific order number, is there?

       2         A.    No.

       3         Q.    Let's go ahead and look at the controls

       4     denied tab on the next sheet and again scroll

       5     through those columns at the top.

       6               They include date, Anda account, additional

       7     account number, customer's DEA, name, address, city,

       8     state, and then Anda comments.

       9               The same categories as the previous tab,

      10     right?

      11         A.    Yes.

      12         Q.    And nowhere on that tab is there an area for

      13     an order number, is there?

      14         A.    No.

      15         Q.    And then we'll look at controls reinstated.

      16     There is the same columns again across the top,

      17     right?    Account, additional account information, DEA

      18     number, name, address, city, state, and Anda

      19     comments, right?

      20         A.    Yes.

      21         Q.    So nowhere on that controls reinstated tab

      22     is there anyplace for an order number to be

      23     specified, is there?

      24         A.    Correct, unless it was entered in comments.

      25         Q.    So unless it was entered in comments, that's

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       1     your impression that those -- the order number would

       2     not have been specified in this sheet sent to the

       3     DEA, right?

       4         A.    Correct.

       5         Q.    And it's your understanding that this

       6     spreadsheet was cumulative in time and included all

       7     things that were reported to the DEA up to a certain

       8     point in time, right?

       9         A.    Yes.

      10         Q.    Let's go to the customer cutoff tab and

      11     scroll down to column -- let's go ahead and sort

      12     Column A by date, if we can, and we'll sort oldest

      13     to newest, if you could scroll up to the top.

      14               So it looks like 10/6 of '10 is the first

      15     customer cutoff that's reported there?

      16         A.    On this spreadsheet.        But accounts were

      17     reported to the DEA previous to that in other ways.

      18         Q.    But you were not involved in that process,

      19     right?

      20         A.    I was not involved in that.

      21         Q.    So you have no personal knowledge of that?

      22         A.    I have knowledge that they were reported

      23     because they were reported when accounts were cut

      24     off, but this spreadsheet was adopted in 2010.

      25         Q.    But you weren't involved in that process?

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       1         A.    Correct.

       2         Q.    Right?

       3               In fact, even after 2011, when you started

       4     in compliance, you were not involved, right?

       5               MS. KOSKI:     Object to form.

       6         A.    I did not report directly to the DEA, but I

       7     was involved with suggesting who should be reported

       8     to the DEA.

       9         Q.    So were you considered the owner of this

      10     document?

      11         A.    No.

      12               MS. KOSKI:     Object to form.

      13     BY MS. ELLIS:

      14         Q.    Who would have been considered the owner of

      15     this document?

      16         A.    There -- there was no owner of the document

      17     because all of the team members had input into what

      18     was added to the document.

      19               So, for example, when you mentioned the

      20     amount of suspicious orders, if a customer is cut

      21     off, that indicates that there was a review of some

      22     sort that was triggered in some way, if it was an

      23     audit, if it was an order, whatever it was.             And at

      24     that point, due diligence was conducted and the

      25     customer was cut off.

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       1         Q.    Let's scroll down, I think, to Row

       2     Number 892.

       3               MS. KOSKI:     892?

       4               MS. ELLIS:     Yes.

       5     BY MS. ELLIS:

       6         Q.    It looks like there is one out of place

       7     there, but the last one on this spreadsheet is

       8     November 16th, 2016, right?

       9         A.    The last date?

      10         Q.    Yes.

      11         A.    Ours is the 14th of --

      12         Q.    The last one seems to be out of place, but

      13     subsequently chronologically, November 16th, 2016?

      14         A.    Yes.

      15         Q.    Yes.    Let's go to the controls denied tab.

      16     And again, sort this by Column A, oldest to newest,

      17     and scroll down to the bottom.

      18               It looks like chronologically there at the

      19     bottom the last date on this is 6/20/17, right?

      20         A.    Yes.

      21         Q.    And then when we look at the controls

      22     reinstated tab, there's no date in this field,

      23     right?

      24         A.    I don't see a date.

      25         Q.    Okay.    So this is a spreadsheet that you

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       1     testified you are familiar with, right?

       2         A.    Yes, I'm familiar.       This is an older

       3     version, yes.

       4         Q.    An older version than what?

       5         A.    Than what we use today.

       6         Q.    But this is what was used up to a certain

       7     point in time, right?

       8         A.    Yes.

       9         Q.    Do you know when they stopped using this

      10     version?

      11         A.    I think that this is going back further in

      12     time, and the version we have today records from one

      13     point to another, not quite going back that far.

      14         Q.    Do you know when this spreadsheet stopped

      15     being used?

      16         A.    No.    It's still used today.       We just don't

      17     have all of the -- those same historic entries are

      18     not continuing to be sent to the DEA.

      19         Q.    You've just taken those historic entries

      20     off?

      21         A.    Up to a certain time frame, yes.

      22         Q.    When was that decision made, do you know?

      23         A.    I don't know.      It was prior to me being

      24     where I am today.

      25         Q.    Do you know who made that decision?

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       1         A.    I do not.

       2         Q.    Do you know why that decision was made?

       3         A.    I do not.     Probably, if I had to guess, it's

       4     because there's a lot of entries that are older.

       5         Q.    If I told you that this was from June 23rd,

       6     2017, does that seem like about the time that this

       7     would have been still in use?

       8               MS. KOSKI:     The spreadsheet that's marked?

       9               MS. ELLIS:     Yes.

      10               MS. KOSKI:     Because that's the date of it?

      11               MS. ELLIS:     Yes, that's the date according

      12         to the documents produced in relativity by the

      13         defendant.

      14         A.    It's possible, yes.

      15               (Anda - Solis Exhibit 26 was marked for

      16     identification.)

      17     BY MS. ELLIS:

      18         Q.    I'll hand you Exhibit 26.         This is a -- this

      19     is actually the e-mail it was attached to.             And I

      20     realize you're not on this e-mail, but I'm just

      21     going to offer it as an exhibit for purposes of

      22     dating this spreadsheet.

      23               This is Exhibit Number 26, Bates Number

      24     18603, and this is an e-mail from Jay Spellman to

      25     the DOJ with the attached Anda customers to be

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       1     reported document, June 2017.

       2               Is it your understanding this is the

       3     spreadsheet that would have been reported along with

       4     an e-mail like this?

       5         A.    If this was the version at that time, yes.

       6         Q.    And you were on these e-mails sometimes but

       7     not at other times?

       8         A.    There was a certain point of time when I

       9     became added again.       I came back into the department

      10     in December of '17, so I would have to see when I

      11     started to be added again.

      12         Q.    You were previously -- you were previously

      13     on them?

      14               MS. KOSKI:     Object to form.

      15         A.    I don't recall.      I know that I am today.         I

      16     know that it existed, but I was never a part of

      17     reporting directly.       I don't know if I was copied.

      18         Q.    So you don't remember?

      19         A.    I don't remember.

      20         Q.    But you have no reason to believe that this

      21     spreadsheet is inaccurate, though, that was reported

      22     to the DEA, right?

      23         A.    I have no reason to believe that, no.

      24         Q.    You have no reason to believe that it didn't

      25     include everybody that had been reported to the DEA

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       1     at that point in time, right?

       2               MS. KOSKI:     Object to form.

       3         A.    No, I'm not saying that because I know that

       4     other customers previous to this were reported in

       5     some way, shape, or form, but as of that time frame

       6     that this started to be used, that's when we used

       7     the spreadsheet form.

       8         Q.    So you have no reason to believe that there

       9     are customers besides those within the 2010 to 2017

      10     dates that we looked at on the spreadsheets that

      11     were reported to the DEA that wouldn't be on this?

      12         A.    No, well -- the spreadsheet -- it's

      13     possible.     There is a possibility that they were

      14     reported in another way.         There were various things

      15     reported.     But if we were using specifically the

      16     spreadsheet in that time frame, it should be on

      17     there.

      18         Q.    Is there anyplace I would go besides a

      19     spreadsheet like this to understand who would be

      20     reported to the DEA between 2010 and 2017?

      21         A.    Not that I'm aware of.        I believe that from

      22     this time frame, you will see that.

      23         Q.    Are there other places besides this that I

      24     could pull that information from?

      25         A.    Not --

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       1               MS. KOSKI:     Object to form.

       2         A.    Not that I'm aware of.

       3         Q.    You testified earlier that within the

       4     compliance -- or within the -- pardon me, the notes

       5     field of TPS that it would include the customer

       6     reported to the DEA, right?

       7         A.    If a person did make that entry, yes, it

       8     would be found there.

       9         Q.    So is it possible that it could be made in

      10     the notes field but not on this spreadsheet?

      11         A.    There's always a possibility for error.

      12         Q.    So there is not one place that we could look

      13     to determine whether a customer had been reported in

      14     that time frame without checking all of those

      15     places, right?

      16         A.    You could assume that there is a possibility

      17     for error, but it should be on the spreadsheet.

      18         Q.    Why don't you go to the first tab again,

      19     please, and I'll direct you back to the previous

      20     exhibit, which was Prescription Center Pharmacies.

      21               MS. ELLIS:     Could you do a search for that?

      22     BY MS. ELLIS:

      23         Q.    Now, the exhibit prior to this was

      24     Prescription Center Pharmacies from April 25th,

      25     2013, correct?

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       1         A.    Yes.

       2         Q.    And in that exhibit, as we discussed, there

       3     was an order, right?

       4         A.    Yes.

       5         Q.    And there was a question of the order,

       6     whether the order should be released or deleted,

       7     right?

       8         A.    Yes.

       9         Q.    It's fair to say that this order and this

      10     customer is not on this spreadsheet, right?

      11               MS. KOSKI:     Object to form.

      12         A.    I cannot say that without researching the

      13     whole transaction and the order number.

      14         Q.    You can't say based on the search that we

      15     just did on the screen in front of you that that

      16     customer is not on the spreadsheet?

      17         A.    In the tab that you're in, customer cutoff,

      18     they are not located there.

      19               MS. ELLIS:     Let's go ahead and go to the

      20         next one and do that search again.

      21     BY MS. ELLIS:

      22         Q.    Is it fair to say that you're not on the

      23     controls denied tab either?

      24         A.    Yes.    That's for an up-front review of a new

      25     customer.

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       1               MS. ELLIS:     Let's go ahead to the control

       2         reinstated tab and do the search there.

       3     BY MS. ELLIS:

       4         Q.    Is it fair to say they're not located there?

       5         A.    Yes.

       6               MS. ELLIS:     Let's go ahead to the suspicious

       7         order tab there and do a search.

       8     BY MS. ELLIS:

       9         Q.    Is it fair to say that they are not located

      10     there either?

      11         A.    Yes.

      12               MS. ELLIS:     I just want to take a quick

      13         break.

      14               THE VIDEOGRAPHER:       Off the record at 6:42.

      15              (Recess from 6:42 p.m. until 6:46 p.m.)

      16               THE VIDEOGRAPHER:       The time is 6:46 p.m.

      17         We're now back on the record.

      18     BY MS. ELLIS:

      19         Q.    Can you go back to Exhibit 1, Sabrina,

      20     please.

      21               Is it fair to say you did nothing to prepare

      22     to access your TPS or Remedy accounts from this

      23     deposition here today?

      24               MS. KOSKI:     Object to form.

      25         A.    I'm not understanding the question.

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       1         Q.    Did you do anything prior to coming to

       2     today's deposition so that you could access TPS or

       3     Remedy from the deposition today?

       4         A.    No.    I don't know, other than working.          I

       5     don't understand.

       6         Q.    You didn't bring a laptop with you?

       7         A.    No.

       8         Q.    You didn't make sure that you had the

       9     website address that you could go to so you could

      10     log into the system?

      11         A.    I don't have that with me, no.

      12         Q.    You didn't bring anything like that with

      13     you, right?

      14         A.    No.

      15         Q.    Do you see in the deposition notice where it

      16     says that you're requested to produce access to

      17     Anda's Turning Point system and Remedy system there?

      18         A.    As mentioned, when you first gave it to me,

      19     it was my first time seeing it.

      20         Q.    But you do see that that's there now, right?

      21         A.    Yes.

      22               (Anda - Solis Exhibit 27 was marked for

      23     identification.)

      24     BY MS. ELLIS:

      25         Q.    Let me hand you what's been marked as

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       1     Exhibit 27.      This is Anda Bates Number 493332.          This

       2     is an article that you sent on May 13th, 2013 to

       3     members of the compliance team.

       4               Is that accurate?

       5         A.    Yes.

       6         Q.    And this is one of the articles that you

       7     mentioned before you would send around because it

       8     would help inform you in your job duties?

       9         A.    Yes.

      10         Q.    And the subject of this article is Pills to

      11     Heroin South Florida, right?

      12         A.    Correct.

      13         Q.    You also say here that you saw the same in a

      14     documentary on TV about new trends with drugs,

      15     right?

      16         A.    New York Trends, yes.

      17         Q.    New York Trends.

      18               So you're essentially saying what they're

      19     talking about in South Florida, you also saw in a

      20     documentary about New York, right?

      21         A.    Correct.

      22         Q.    Let's go ahead to the article itself.            This

      23     is an article from May 11th, 2013 from the Miami

      24     Herald.

      25               And would you agree that the point of this

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       1     article is discussing people who were hooked on

       2     oxycodone becoming addicted to heroin afterwards?

       3               MS. KOSKI:     Object to form;

       4         mischaracterize -- to the extent it characterizes

       5         the document, it speaks for itself.

       6     BY MS. ELLIS:

       7         Q.    Go ahead and take a moment to review that

       8     article, and why don't you tell me what it's about?

       9               This is an article you read at the time,

      10     right?

      11         A.    Yes.

      12         Q.    You thought it was important to your

      13     compliance team to send around?

      14         A.    I think it's important for us to stay up to

      15     date with anything that has to do with controlled

      16     substances in the news.

      17         Q.    So was it based -- your understanding based

      18     on this article that an oxycodone addiction could

      19     lead to heroin use?

      20         A.    It is indicating that people were getting

      21     away from pills for something that's cheaper.

      22         Q.    So an oxycodone addiction could lead to

      23     heroin abuse?

      24         A.    It's possible.

      25         Q.    And that's part of why you sent it to your

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       1     compliance team?

       2         A.    Yes.

       3               MS. ELLIS:     I have no further questions.

       4               MS. KOSKI:     Good news.     I don't have any

       5         questions.     This is Katy.

       6               Anyone in the room have further questions?

       7               Anyone on the phone have any questions for

       8         the witness?

       9               Hearing none, we're adjourned.

      10               THE VIDEOGRAPHER:       The time is 6:51 p.m.

      11         This marks the end of the deposition.

      12               (Whereupon, the deposition concluded at

      13     6:51 p.m.)

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       1                         C E R T I F I C A T E

       2               I, SUSAN D. WASILEWSKI, Registered

       3     Professional Reporter, Certified Realtime Reporter

       4     and Certified Realtime Captioner, do hereby certify

       5     that, pursuant to notice, the deposition of SABRINA

       6     SOLIS was duly taken on Thursday, January 10, 2019,

       7     at 10:27 a.m. before me.

       8               The said SABRINA SOLIS was duly sworn by me

       9     according to law to tell the truth, the whole truth

      10     and nothing but the truth and thereupon did testify

      11     as set forth in the above transcript of testimony.

      12     The testimony was taken down stenographically by me.

      13     I do further certify that the above deposition is

      14     full, complete, and a true record of all the

      15     testimony given by the said witness, and that a

      16     review of the transcript was requested.

      17

      18     ______________________________________________________

      19     Susan D. Wasilewski, RPR, CRR, CCP

      20     (The foregoing certification of this transcript does

      21     not apply to any reproduction of the same by any

      22     means, unless under the direct control and/or

      23     supervision of the certifying reporter.)

      24

      25

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       1                        INSTRUCTIONS TO WITNESS

       2

       3

       4               Please read your deposition over carefully

       5     and make any necessary corrections.           You should

       6     state the reason in the appropriate space on the

       7     errata sheet for any corrections that are made.

       8

       9               After doing so, please sign the errata sheet

      10     and date it.      It will be attached to your

      11     deposition.

      12

      13               It is imperative that you return the

      14     original errata sheet to the deposing attorney

      15     within thirty (30) days of receipt of the deposition

      16     transcript by you.       If you fail to do so, the

      17     deposition transcript may be deemed to be accurate

      18     and may be used in court.

      19

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       1                               - - - - - -

       2                               E R R A T A

       3                               - - - - - -

       4    PAGE     LINE    CHANGE

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       6      REASON: _____________________________________________

       7    ____     ____    _________________________________________

       8      REASON: _____________________________________________

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      10      REASON: _____________________________________________

      11    ____     ____    _________________________________________

      12      REASON: _____________________________________________

      13    ____     ____    _________________________________________

      14      REASON: _____________________________________________

      15    ____     ____    _________________________________________

      16      REASON: _____________________________________________

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      18      REASON: _____________________________________________

      19    ____     ____    _________________________________________

      20      REASON: _____________________________________________

      21    ____     ____    _________________________________________

      22      REASON: _____________________________________________

      23    ____     ____    _________________________________________

      24      REASON: _____________________________________________

      25

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       1                     ACKNOWLEDGMENT OF DEPONENT

       2

       3               I, ______________________________, do hereby

       4     acknowledge that I have read the foregoing pages, 1

       5     through 362, and that the same is a correct

       6     transcription of the answers given by me to the

       7     questions therein propounded, except for the

       8     corrections or changes in form or substance, if any,

       9     noted in the attached Errata Sheet.

      10

      11

      12    ________________________________                  ________________

      13    SABRINA SOLIS                                                    DATE

      14

      15

      16

      17

      18     Subscribed and sworn to before me this

      19     ____ day of ______________, 20___.

      20     My Commission expires: _________________

      21

      22     ________________________________________

             Notary Public

      23

      24

      25

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       1                              LAWYER'S NOTES

       2    PAGE     LINE

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       4    _____    _____   _____________________________________

       5    _____    _____   _____________________________________

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